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15
                               UNITED STATES DISTRICT COURT
16
                            NORTHERN DISTRICT OF CALIFORNIA
17
   EVANSTON POLICE PENSION FUND,             ) Case No. 3:18-cv-06525-CRB
18 Individually and on Behalf of All Others  )
   Similarly Situated,                       ) CLASS ACTION
19                                           )
                                 Plaintiff,  ) CONSOLIDATED CLASS ACTION
20                                           ) COMPLAINT FOR VIOLATIONS OF THE
           vs.                               ) FEDERAL SECURITIES LAWS
21                                           )
   MCKESSON CORPORATION, et al.,             )
22                                           )
                                 Defendants. )
23                                           ) DEMAND FOR JURY TRIAL

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            1         This is a class action on behalf of persons and entities that purchased or otherwise acquired

            2 McKesson Corporation (“McKesson” or the “Company”) common stock between October 24, 2013

            3 and January 25, 2017, inclusive (the “Class Period”), and were damaged thereby, against:

            4 (i) McKesson; (ii) Chief Executive Officer John H. Hammergren (“CEO” or “Hammergren”); and

            5 (iii) former Chief Financial Officer James Beer (“CFO” or “Beer”) (collectively “Defendants”),

            6 under the Securities Exchange Act of 1934 (the “Exchange Act”).

            7         Lead Plaintiff Pension Trust Fund for Operating Engineers (“Plaintiff”), by and through its

            8 counsel Robbins Geller Rudman & Dowd LLP (“RGRD” or “Counsel”), alleges the following upon

            9 personal knowledge as to itself and its own acts, and upon information and belief as to all other

       10 matters. Plaintiff’s information and belief are based on, among other things, the independent

       11 investigation of Counsel. This investigation includes, but is not limited to, a review and analysis of:

       12 (i) public filings by McKesson with the Securities and Exchange Commission (“SEC”);

       13 (ii) transcripts of McKesson senior management’s conferences with investors and analysts;

       14 (iii) consultation with industry experts; (iv) drug pricing, market share and supply information from

       15 proprietary databases; (v) press releases and media reports issued about and disseminated by the

       16 Company; (vi) analyst reports issued about McKesson; and (vii) other public information and data

       17 regarding the Company. Plaintiff believes that substantial evidentiary support will exist for the

       18 allegations set forth herein after a reasonable opportunity for discovery.

       19 I.          NATURE OF THE ACTION AND OVERVIEW
       20             1.      This securities class action arises from the difference between what the Defendants

       21 told investors was driving McKesson’s financial success and the truth behind McKesson’s

       22 performance. In particular, during the Class Period, Defendants made materially false and

       23 misleading statements and omissions about McKesson’s financial performance and its generics

       24 business. Defendants: (1) falsely attributed generic drug price inflation – a significant driver of

       25 McKesson profitability growth – to nonexistent supply disruptions; (2) falsely represented that

       26 McKesson was negotiating competitive prices for its customers, particularly the independent

       27 pharmacies; (3) concealed that the Company’s generic manufacturing subsidiary, NorthStar Rx

       28 (“NorthStar”) was part of an overarching generic pharmaceutical price-fixing conspiracy that is the

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            1 focus of investigations by Congress, the U.S. Department of Justice Antitrust Division (“DOJ”), and

            2 several state Attorneys General; and (4) failed to disclose that the Company’s Class Period financial

            3 results were positively impacted by, and heavily reliant upon, collusive profits. As a result of

            4 Defendants’ false and misleading statements and omissions, McKesson stock traded at artificially

            5 inflated prices throughout the Class Period.

            6          2.     McKesson delivers pharmaceutical and medical products and business services to

            7 retail pharmacies and institutional healthcare providers such as hospitals and health systems

            8 throughout North America and internationally. The majority of its income is derived from its

            9 business as a pharmaceutical wholesaler in which it purchases drugs in bulk directly from

       10 manufacturers and then sells and distributes those drugs to pharmacy networks, hospitals and

       11 independent pharmacies. McKesson is one of three wholesalers that control over 85% of the market.

       12 A material part of the Company’s profitability was also driven by the profits from its NorthStar

       13 subsidiary, which was a manufacturer of generic drugs.

       14              3.     Prior to the Class Period, McKesson embarked on an acquisition binge, snapping up

       15 more than 44 companies between 2006 and 2013. But McKesson’s growth-by-acquisition strategy

       16 failed. In the years leading up to the Class Period, the Company reported subpar results and between

       17 2010 and 2013, McKesson’s growth rate stagnated at 3%. Under pressure to turn the Company

       18 around, Defendants resorted to fraud.

       19              4.     On October 24, 2013, the first day of the Class Period, McKesson reported financial

       20 results for its second quarter of fiscal year 2014,1 announcing unexpected positive results for the

       21 second quarter in a row and raising its full year guidance. During the October 24, 2013 conference

       22 call, Defendants acknowledged that increases in generic drug pricing had driven McKesson’s

       23 outperformance for the first half of fiscal 2014, but falsely claimed that those increases were due to

       24 supply disruptions. Throughout the remainder of the Class Period, Defendants repeated this

       25 misrepresentation, frequently telling investors the generic inflation fueling McKesson’s growth was

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       27     McKesson’s fiscal year (or “FY”) begins on April 1 of the prior calendar year. For example,
          fiscal year 2014 (or “FY14”) began on April 1, 2013. The second quarter of fiscal year 2014 (or
       28 “2Q14”) covered the period from July 1, 2013 to September 31, 2013.

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            1 caused by supply disruptions involving a small number of drugs and a small subset of manufacturers.

            2 In truth, the outsized profit growth was driven by widespread anticompetitive activity.

            3          5.     Investigations into suspicious price increases by 49 state Attorneys General (or

            4 “AGs”), Congress and the DOJ have begun to reveal a broad, well-coordinated and long-running

            5 series of schemes to fix prices for a number of generic drugs. As a result of their years-long

            6 investigation, which involved the collection of numerous documents and phone and text records, the

            7 state Attorneys General have described a wide-ranging and illegal conspiracy through which generic

            8 drug manufacturers communicated – either in person, by telephone or by text message – and agreed

            9 to collectively raise and/or maintain prices for generic drugs. The overarching conspiracy rested on

       10 “general rules of the road,” whereby manufacturers did not take advantage of competitors’ price

       11 increases by lowering prices to gain market share, but instead allowed each competitor to have a

       12 certain percentage of market share “based on the number of competitors in the particular drug

       13 market, with a potential adjustment based on the timing of their entry.” Plaintiff States’ Amended

       14 Complaint, In re Generic Pharms. Pricing Antitrust Litig., No. 17-3786 (16-MD-2724) (E.D. Pa.

       15 Jun. 18, 2018) (ECF No. 15) (“AG Complaint” or “AG Cpt.”), ¶¶90-91. Although McKesson is not

       16 yet named as a defendant in the AG Complaint, the collusion could not have succeeded without the

       17 major wholesalers’ acquiescence to the scheme. Indeed, the state Attorneys General implicated the

       18 wholesalers in their allegations and in an October 31, 2017 press release that states in relevant part:

       19 “[T]he states’ investigation involves allegations of conspiracy and collusion within the entirety of the

       20 generic drug industry, and wholesalers, distributors and other customers are certainly players within

       21 the industry.” In a December 9, 2018 Washington Post article, a Connecticut Assistant Attorney

       22 General noted that the investigation was expanding, stating: “‘This is most likely the largest cartel in

       23 the history of the United States.’” The AG Complaint includes evidence of collusive behavior by

       24 manufacturers Heritage Pharmaceuticals, Inc. (“Heritage”), Mayne and Mylan and details

       25 McKesson’s involvement in and knowledge of that behavior leading to collusive drug price inflation.

       26 See ¶¶73-77, herein. The AG Complaint also sets forth detailed allegations of price-fixing and

       27 allocation of market share for the drug leflunomide, which was manufactured by NorthStar. See ¶97,

       28 herein. The AGs’ findings, along with empirical data and statistical analysis, provide substantial

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            1 evidence that NorthStar entered into collusive agreements to fix the prices of and allocate the market

            2 for at least six generic drugs with the defendants named in the AG Complaint.

            3          6.      As the chart below shows, as a result of the collusive activity, the Company’s income

            4 skyrocketed during the Class Period:

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       16              7.      McKesson benefited from the wide-ranging generic drug price inflation in at least
       17 four ways: (1) collusive price-fixing profits from its subsidiary NorthStar; (2) increased profits from

       18 the collusive price increases by the manufacturers in the form of higher “discount” payments;

       19 (3) markups on the collusive drugs; and (4) through the sale of inventory purchased at lower prices.

       20 These collusive profits contributed substantially to McKesson’s profitability and inflated its stock

       21 price.

       22              8.      Defendants used McKesson’s generic manufacturing subsidiary NorthStar as a source
       23 of collusive revenue. Defendants publicly touted NorthStar as a material contributor to McKesson’s

       24 financial outperformance, but misled investors about the reasons for its success. Beginning in early

       25 2015, NorthStar began to collude with its competitors to increase generic drug prices and allocate

       26 markets in order to decrease competition and artificially inflate revenues. In particular, NorthStar

       27 entered into agreements to fix the prices of, or allocate the market for, at least six generic drugs.

       28 There is no non-collusive explanation for these sudden, synchronized price increases – there was no

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            1 supply shortage, production problem, or sudden increase in demand for these drugs during this

            2 period, and no competitor left the market. Moreover, the markets for these drugs are highly

            3 susceptible to collusion – they are dominated by only a few companies, and this high level of market

            4 concentration makes collusion easy. The market for each of the drugs featured several other

            5 characteristics that facilitated collusion: demand for the drugs was inelastic, with increases or

            6 miniscule reductions in the quantities sold even after massive and sudden price hikes; all of the drugs

            7 were commodity-like products – generic drugs whose only distinguishing factor for purchasers was

            8 price; none of the drugs had a viable substitute; all of the drugs had high barriers to entry; and

            9 information sharing and price discovery were common.

       10              9.      While artificially inflating prices through NorthStar, Defendants also falsely touted

       11 McKesson’s role as a zealous negotiator of generic drug prices on behalf of its wholesale business

       12 customers, particularly independent pharmacies. Defendants equated McKesson to the “corporate

       13 office” of independent pharmacies – purporting to advocate on behalf of these small community-

       14 based businesses by aggregating purchasing scale for them so they could “buy competitively and

       15 remain competitive in their marketplace.” Defendants falsely assured investors that McKesson

       16 leveraged its ability to deliver market share to generics manufacturers to “buy at scale in an

       17 extremely efficient way and . . . pass through the benefits of those drug prices to those independent

       18 stores who are obviously competing locally against much bigger chains.” But rather than use its

       19 massive market power to negotiate for lower prices, McKesson acquiesced to the higher prices for its

       20 own benefit. As prices rose, McKesson’s profits rose with them because as a wholesaler, the

       21 Company was paid a “markup” on the higher list price by the pharmacies and a “discount” or

       22 payment by the manufacturers as a percentage of the list price of the drug – the higher the price, the

       23 higher the “discount” and “markup” McKesson would pocket. Thus, although the Company publicly

       24 asserted that it worked for its customers to drive down prices, the Company was incentivized to do –

       25 and in fact did – precisely the opposite.

       26              10.     For example, the AG Complaint describes a collusive scheme between two generic

       27 drug manufacturers, Heritage and Mayne, to allocate the market for the drug doxycycline hyclate

       28 (“Doxy DR”). AG Cpt., ¶225. The evidence shows that after Mayne submitted a bid for

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            1 McKesson’s business, Mayne was informed that Heritage was strategically aligned with McKesson

            2 and that McKesson would not move its business from Heritage. Id., ¶¶226-228, 236. Still, Mayne

            3 pursued its bid for McKesson’s Doxy DR business in April 2014, but McKesson refused to shift

            4 even part of its business away from Heritage. Id., ¶228. Mayne continued to pursue McKesson’s

            5 Doxy DR business through subsequent bids but never won McKesson’s business. Instead, as part of

            6 the overarching “rules of the road” governing the conspiracy, Heritage ceded Doxy DR market share

            7 to Mayne by walking away from another customer in exchange for Mayne’s removal of its new

            8 Doxy DR bid to McKesson. The scheme to prop up prices for Doxy DR could not have worked

            9 without McKesson’s support – rather than use its market power to drive prices down by soliciting

       10 and accepting competing bids, McKesson kept its business with Heritage and maintained higher

       11 pricing. As a result of Heritage’s collusive activities, including those relating to Doxy DR, its CEO

       12 Jeffrey Glazer and President Jason Malek pleaded guilty to price-fixing and market allocation

       13 charges on January 9, 2017 and January 10, 2017, respectively. They also entered into settlement

       14 agreements with the AGs on May 24, 2017 to cooperate with the states’ investigations, including

       15 providing “all pre-existing information, documents or other tangible evidence,” market data and

       16 information, and all facts relating to the investigations without the service of subpoena.

       17             11.     The reduced bidding, or dropping of lower price bids by manufacturers for

       18 McKesson’s coveted business, was a major red flag that anti-competitive behavior was the reason for

       19 high drug prices. As the Connecticut Assistant Attorney General, Michael E. Cole, stated: “‘Rather

       20 than the wholesalers being the gatekeeper, it was the fox guarding the henhouse . . . . The

       21 wholesalers should be the sentinel here.’” McKesson had the market power to force manufacturers

       22 into rational pricing, it had the obligation to its customers to do so, and Defendants repeatedly told

       23 investors that McKesson’s focus was on lowering costs for its core customers – the independent

       24 pharmacies. But McKesson’s conflicts of interest drove it to facilitate, or at the very least,

       25 knowingly permit, the massive price increases, despite repeatedly telling investors the Company’s

       26 strategy was to drive down prices for its customers’ benefit.

       27             12.     Defendants knew that McKesson’s growth during the Class Period was due to

       28 unsustainable collusive behavior that inflated generic drug prices. In fact, Defendants acknowledged

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            1 throughout the Class Period that the increase in generic drug prices was material to McKesson’s

            2 financial performance. Defendants’ statements to investors and their access to industry-wide generic

            3 pricing information establishes that the Individual Defendants possessed direct personal knowledge

            4 of the generic drug pricing environment and the true reasons for the higher pricing, including the

            5 highly unusual coordinated NorthStar price hikes alleged herein. For example, Beer told investors

            6 during McKesson’s June 25, 2014 investor day that in projecting generics sales growth, he

            7 “extensively analyze[d] both the inflationary elements in the market place, plus the brand to generic

            8 conversion that are taking place, usage and demand. And we obviously analyzed all of the

            9 information.” Defendants had continuous access to detailed drug-by-drug data gathered from both

       10 customers’ purchases and manufacturers’ pricing to track profits from the collusive price increases.

       11 Defendants often touted the “huge data analytics machine within McKesson where we provide data

       12 and analytics to products, market share, customer bases that is extremely valuable to the

       13 manufacturer.” In return, all manufacturers were required to submit data using the electronic data

       14 interchange’s standardized format. McKesson’s data exchange module was set up to be compatible

       15 to the enterprise planning system commonly used by manufacturers. Through its module, McKesson

       16 collected data submitted by manufacturers, which included drug-by-drug information such as

       17 pricing, quantity and sales. List prices were loaded into McKesson’s OneStop platform, with price

       18 change notifications required to be sent to McKesson at least one day prior to the effective date of

       19 the price change. As described in a recent February 1, 2019 Washington Post article:

       20                      With generics making up about 90 percent of all prescriptions filed in the
                       United States, the scope of anti-competitive activity would be hard for wholesalers to
       21              miss, say economists.

       22                     “If they’re looking carefully, it ought to raise a flag,” said Karen Van Nuys, a
                       professor at the University of Southern California Schaeffer Center for Health Policy
       23              and Economics. “I think they are conflicted if they are profiting from it, and that
                       makes it more complicated . . . for them to blow the whistle.”
       24
                       13.    Moreover, when specifically asked by securities analysts about the causes and
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               sustainability of the generic price increases driving McKesson’s rebound, Defendants provided false
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               exculpatory explanations – attributing them to a non-existent materials shortages and/or a loss of
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               competitors. These false excuses provide further evidence of Defendants’ consciousness of guilt – if
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            1 the price increases truly had been for non-collusive, legitimate and independent reasons, Defendants

            2 would have had no reason to invent reasons for why they were done.

            3          14.     Defendants had to conceal that collusive generic drug price increases were the

            4 primary contributor to McKesson’s massive boost in Class Period profits, so they repeatedly

            5 attributed the massive price hikes driving the Company’s rebound to normal market forces – in

            6 particular, the effect of supply shortages. This lie was critical because even the appearance of price

            7 gouging or collusion could draw public outrage, law enforcement scrutiny, and civil and criminal

            8 liability. Further, market realization that the price increases were not the result of supply disruptions

            9 would have drawn immediate outrage from the independent pharmacies McKesson was supposed to

       10 serve. Had Defendants revealed that the price increases were not the result of supply disruptions,

       11 analysts, investors and the independent pharmacies would have known that McKesson was not, as it

       12 repeatedly represented, operating in the marketplace to reduce costs for its customers, dramatically

       13 increasing the risk of demands by the independent pharmacies for pricing concessions and/or

       14 outright customer defections. Had McKesson disclosed the true facts behind its core business

       15 strategy of capitalizing on ever-increasing prices instead of working to drive them down, investors

       16 would have valued McKesson very differently from a company that was outperforming while at the

       17 same time serving its core function of driving pricing down for its customers.

       18              15.     McKesson’s stock price almost doubled during the Class Period, as Defendants

       19 reported double-digit earnings per share (“EPS”) growth due to collusive generic drug price

       20 increases. When the facts started coming out about McKesson’s true operational and financial

       21 results and its growth rate going forward, McKesson’s stock price collapsed.

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                       16.     Evidence from the AG Complaint shows that the collusive behavior continued
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                through at least the fall of 2015 despite governmental investigations beginning in the fall of 2014.
       22
                With the government closing in, the collusive behavior was curtailed and the generic drug price
       23
                increases began to abate in late 2015/early 2016. However, although the generic price inflation had
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                abated, Defendants told investors that reduced price inflation would not negatively impact
       25
                McKesson’s double-digit EPS growth rates for FY17. In fact, Defendants said that even with
       26
                “nominal” price inflation, McKesson had “de-risked” and had “limited” risk to its FY17 EPS targets.
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            1          17.    Yet, the opposite was true. In October 2016 and January 2017, when McKesson

            2 reported its 2Q17 and 3Q17 results, the impact of the collapse of collusive pricing for generic drugs

            3 crushed McKesson’s financial results. On October 27, 2016, after the market close, McKesson

            4 reported that its EPS would be materially lower by $1.60-$1.90 per share – due primarily to pricing

            5 issues in its generic drug business. McKesson’s stock price declined 22.67% the next day on this

            6 news. On November 3, 2016, the DOJ announced a sweeping investigation into suspected price

            7 collusion, and the price of McKesson stock declined 4.59%. Finally, on January 26, 2017, the price

            8 of McKesson stock collapsed another $12.55 per share, or 8.3% to $138.55 per share on news

            9 released the night before that its financial results were below expectations due to the pressure of

       10 reduced generic drug pricing. In all, McKesson’s stock price declined from a Class Period high of

       11 over $240 per share to $138.55 per share – or 42%.

       12              18.    McKesson’s top executives benefitted from the fraud, selling approximately

       13 $473 million worth of McKesson common stock at inflated prices.                      McKesson’s CEO

       14 (Hammergren) personally dumped $287 million worth of McKesson common stock during the Class

       15 Period at prices inflated by Defendants’ fraud. All of Hammergren’s Class Period sales were made

       16 while in possession of material adverse non-public information and contemporaneously with

       17 Plaintiff’s and/or other Class members’ purchases of McKesson common stock. McKesson

       18 executives also benefitted in the form of increased compensation as a result of the inflated profits

       19 reported by McKesson. After McKesson’s stock price declined to its true value at the end of the

       20 Class Period, both Hammergren and CFO Beer left the Company.

       21              19.    As a result of Defendants’ wrongful acts and omissions, and the precipitous decline in

       22 the value of the Company’s common stock as the true conditions were disclosed, Plaintiff and other

       23 Class members have suffered significant losses and damages.

       24 II.          JURISDICTION AND VENUE
       25              20.    The claims asserted herein arise under §§10(b), 20(a) and 20A of the Exchange Act

       26 (15 U.S.C. §§78j(b), 78t(a) and 78t-1), and Rule 10b-5 promulgated thereunder by the SEC (17

       27 C.F.R. §240.10b-5).

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            1          21.     This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

            2 §1331, and §27 of the Exchange Act (15 U.S.C. §78aa).

            3          22.     Venue is proper in this District pursuant to §27 of the Exchange Act and 28 U.S.C.

            4 §1391(b) because McKesson’s headquarters are currently located within this District and Defendants

            5 conducted substantial economic activity in the District. As such, substantial acts in furtherance of

            6 the alleged fraud have occurred in this District.

            7          23.     In connection with the acts alleged in this complaint, Defendants, directly or

            8 indirectly, used the means and instrumentalities of interstate commerce, including, but not limited to,

            9 the mails, interstate telephone communications, and the facilities of the national securities markets.

       10 III.         PARTIES
       11              24.     Lead Plaintiff Pension Trust Fund for Operating Engineers is a multi-employer

       12 pension plan within the meaning of §3(37) of ERISA, 29 U.S.C. §§1002(37), that provides

       13 retirement benefits to employees such as heavy equipment operators, mechanics and drillers in

       14 Northern California, Northern Nevada, Utah and Hawaii. As detailed in its certification (ECF Nos.

       15 30-2, 30-3) and incorporated herein, Plaintiff purchased McKesson common stock on the NYSE

       16 during the Class Period and suffered damages as a result of the violations of the federal securities

       17 laws alleged herein. Plaintiff maintains its principal place of business at 1600 Harbor Bay Parkway,

       18 Alameda, California 94502.

       19              25.     Defendant McKesson is incorporated in Delaware and its corporate headquarters are

       20 in San Francisco, California. Effective April 1, 2019, the Company will relocate its corporate

       21 headquarters to Las Colinas, Texas. McKesson’s common stock trades on the NYSE under the

       22 ticker symbol “MCK.”

       23              26.     Defendant Hammergren was, at all relevant times, McKesson’s CEO and Chairman,

       24 roles he had served in since 2001 and 2002, respectively. Hammergren resigned on March 31, 2019.

       25              27.     Defendant Beer was McKesson’s Executive Vice President and CFO at all relevant

       26 times from October 9, 2013 until the end of the Class Period. Beer announced his resignation on

       27 December 18, 2017.

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            1          28.     Defendants Hammergren and Beer are collectively referred to hereinafter as the

            2 “Individual Defendants.” The Individual Defendants, because of their positions at McKesson,

            3 possessed the power and authority to control the contents of McKesson’s reports to the SEC, press

            4 releases, and presentations to securities analysts, money and portfolio managers, and institutional

            5 investors.

            6          29.     Each of the Individual Defendants was provided with copies of the Company’s

            7 reports and press releases alleged herein to be misleading prior to, or shortly after, their issuance and

            8 had the ability and opportunity to prevent their issuance or cause them to be corrected. Because of

            9 their positions and access to material non-public information available to them, each of the

       10 Individual Defendants knew that the adverse facts and omissions specified herein had not been

       11 disclosed to, and were being concealed from, the public, and that the positive representations and

       12 omissions that were being made were then materially false and/or misleading.

       13 IV.          FACTUAL ALLEGATIONS
       14              A.      A Brief Overview of the Generic Pharmaceutical Drug Market
       15              30.     Generic pharmaceutical drugs – drugs that are pharmaceutically equivalent in dosage,

       16 form, route of administration, strength or concentration and have the same active ingredients as the

       17 reference-listed brand name drug – save consumers and our healthcare system tens of billions of

       18 dollars annually because they introduce competition into a market where none previously existed.

       19 When a high-priced branded drug comes off patent, generic drugs offer the prospect of lower prices

       20 and greater access to healthcare for all consumers in the United States. In a January 31, 2012 report,

       21 the Government Accounting Office noted that “[o]n average, the retail price of a generic drug is 75

       22 percent lower than the retail price of a brand-name drug.”

       23              31.     Generic drugs have long been referred to as one of the few “bargains” in the U.S.

       24 healthcare system and historically healthcare experts have said that cost savings from the growing

       25 number of generic drugs have gone a long way toward keeping the lid on overall increasing

       26 healthcare costs. This was the way the generic drug market was intended to work, and has generally

       27 worked, since the implementation of the Hatch-Waxman Act in 1984.

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            1          32.    Generic drugs are commodity products – standardized products that wholesalers such

            2 as McKesson can purchase from multiple manufacturers; thereby, driving price competition among

            3 drug makers. In a normally functioning market, the generic drug manufacturers compete for market

            4 share, and if one manufacturer raises prices, the others will lower prices to capture its customers.

            5          33.    Recently, however, that price dynamic changed for a large number of generic drugs.

            6 Prices for dozens of generic drugs have uncharacteristically risen – some have skyrocketed – for no

            7 apparent reason, sparking outrage from public officials, payers and consumers across the country

            8 whose costs have doubled, tripled or in some cases increased up to 1,000% or more. On January 8,

            9 2014, the CEO of the National Community Pharmacist Association wrote a letter to Congress

       10 requesting an oversight hearing to determine the causes of the “huge upswings in generic drug

       11 prices.” The growing outrage and public reports of unexplained price increases caused the State of

       12 Connecticut to commence an investigation in July of 2014, which was followed shortly thereafter by

       13 a Congressional inquiry and a reported criminal grand jury investigation by the DOJ in

       14 November 2014.

       15              34.    As part of its own investigation, Congress requested that the U.S. Government

       16 Accountability Office (“GAO”) undertake an independent audit of the generic drugs that the federal

       17 government purchased by means of the Medicare Part D program. The GAO performed its audit

       18 from June 2015 through August 2016 in accordance with generally accepted government auditing

       19 standards, requiring that the “evidence obtained provide[d] a reasonable basis for [the GAO’s]

       20 findings and conclusions based on [its] audit objectives.”2 Publicly released on September 12, 2016,

       21 the GAO’s conclusions were significant, finding hundreds of unexplained “extraordinary price

       22 increases” – defined as a particular drug increasing over 100% within a 12-month period – and

       23 finding that some drug prices increased more than 1000%. Similarly, the AGs alleged that “the

       24 prices for a large number of generic pharmaceutical drugs skyrocketed throughout at least 2013 and

       25 2014. According to one report, “[t]he prices of more than 1,200 generic medications increased an

       26 average of 448 percent between July 2013 and July 2014.”” AG Cpt., ¶110.

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                2
              GAO, Report to Congressional Requesters: Generic Drugs Under Medicare (Aug. 2016),
       28 https://www.gao.gov/assets/680/679022.pdf

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            1          35.    McKesson and the generic drug manufacturers have argued publicly that the

            2 significant price increases were due to a myriad of benign factors, such as supply disruptions, FDA-

            3 mandated plant closures, or elimination of unprofitable generic drug product lines. What regulators

            4 have found through their investigations, however, is that “the reason underlying many of these price

            5 increases is much more straightforward, and sinister – collusion among generic drug market

            6 participants. Prices of many generic pharmaceuticals were and remain artificially inflated through

            7 collusive bid rigging and market allocation agreements designed to prevent price wars from

            8 occurring when key competitive opportunities arise in the marketplace.” AG Cpt., ¶8.

            9          36.    As detailed in the AG Complaint – filed by the Attorneys General of 47 states and the

       10 District of Columbia and Puerto Rico following a lengthy investigation into generic drug price

       11 increases – wholesalers, distributors and generic drug manufacturers operate through their respective

       12 senior leadership and marketing and sales executives in a manner that fosters and promotes collusion

       13 through routine and direct interaction. Manufacturers exploit their interactions at various and

       14 frequent industry trade shows, customer conferences and other similar events, to develop

       15 relationships and sow the seeds for their illegal agreements. AG Cpt., ¶¶77-88. McKesson routinely

       16 held conferences each year and invited generic manufacturers to attend. Id., ¶77. The overarching

       17 conspiracy rested on “general rules of the road,” whereby manufacturers did not take advantage of

       18 another competitor’s price increase by lowering prices to gain market share, but instead allowed each

       19 competitor to have a certain percentage of market share “based on the number of competitors in the

       20 particular drug market, with a potential adjustment based on the timing of their entry.” Id., ¶¶90-91.

       21 The anticompetitive agreements are further refined and coordinated at regular “‘industry dinners,’”

       22 “‘girls nights out,’” lunches, parties, and numerous and frequent telephone calls, emails and text

       23 messages. Id., ¶¶9, 81-88.

       24              37.    According to the AGs’ motion for a separate government track filed on November 14,

       25 2017, the states developed the AG Complaint based on the cooperation of the former CEO and the

       26 former President of Heritage and a review of “a legion of documents, emails, phone records and text

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            1 messages.”3 Heritage’s former CEO Jeffery Glazer (“Glazer”) and former President Jason Malek

            2 (“Malek”) entered into settlement agreements with the state Attorneys General on May 24, 2017 and

            3 agreed to cooperate with the Attorneys General’s investigations, including providing “all pre-

            4 existing information, documents or other tangible evidence,” market data and information, and all

            5 facts relating to the investigations without the service of subpoena. The Attorneys General anticipate

            6 filing additional complaints, and “such future actions will be based on evidence that does not focus

            7 as centrally on Heritage as this complaint does.” Id. at 4 n.6.

            8          38.     Glazer and Malek pleaded guilty to price-fixing charges on January 9, 2017 and

            9 January 10, 2017, respectively. Sentencing is scheduled for September 26, 2019. The DOJ stated

       10 that its “criminal investigation into the generic pharmaceuticals industry is ongoing and broad-

       11 ranging, and it has already implicated numerous corporations and individuals.                    Additional

       12 corporations and individuals may be implicated as the investigation continues to develop.”

       13              39.     Michael Cole, head of the Connecticut AG’s office, further suggested that

       14 wholesalers like McKesson are possible future subjects of the Attorneys General’s probe. As

       15 reported by NPR on March 7, 2018:

       16                     “In a market that has only three or four really large distribution organizations,
                       they are sometimes tempted to maximize their own profits in a way that does not
       17              always 100 percent reflect the best interest of their clients,” [Ronny] Gal says.

       18                      This is what investigators are looking at now. In their complaint, they
                       suggest – but don’t allege – that the price-fixing conspiracy also involved drug
       19              distributors. Prosecutors are sending more subpoenas and planning a new complaint.

       20                    “It could be more generic manufacturers, it could be more drugs, it could
                       be more entities in the distribution chain. It could be all of that,” Cole, of the
       21              Connecticut attorney general’s office, says.

       22              40.     On December 11, 2018, commenting on a Washington Post article about how the

       23 price-fixing investigation had expanded to at least 300 drugs, Connecticut Attorney General George

       24 Jepsen’s spokesperson stated: “‘As Attorney General Jepsen has stated in the past, the current

       25 litigation is just the tip of the iceberg in terms of the scope of the industry wide investigation . . . .

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       27    Memorandum of Law in Support of Motion by the Plaintiff States for a Separate Government
          Track, In re Generic Pharms. Pricing Antitrust Litig., No. 16-MD-02724 (E.D. Pa. Nov. 14, 2017)
       28 (ECF No. 525-2), at 4 n.6, 7.

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            1 While we anticipate further action in the future, we are focused on our investigation and pending

            2 litigation at this time.’”

            3          B.        McKesson Is One of Three Dominant Pharmaceutical Wholesalers in
                                 the United States
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                       41.       Founded in 1833, McKesson is the largest wholesale distributor of prescription drugs
            5
                in the United States. The three leading wholesalers – McKesson, AmerisourceBergen, and Cardinal
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                Health – dominate close to 85% of the market and have maintained stable relative market shares for
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                over a decade:
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                       42.       As a wholesaler, McKesson purchases prescription drugs from manufacturers and
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                sells them to customers such as independent pharmacies, healthcare providers, and national retail
       19
                chains. In the process, it provides distribution services to manufacturers by delivering the products
       20
                to customers.
       21
                       C.        McKesson’s Financial Results Were Lackluster Prior to the Class
       22                        Period

       23              43.       With its market share vis-à-vis the other two big wholesalers relatively constant over

       24 time, McKesson sought to grow profitability through acquisitions, but saw only mediocre results.

       25 For the seven years prior to the Class Period, McKesson embarked on an acquisition spree acquiring

       26 44 companies. But the Company remained stagnant as operating profit growth in the distribution

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            1 solutions segment4 was a meager 3% on a compounded annual growth rate basis in the four years

            2 prior to the Class Period:

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                       44.     During McKesson’s May 7, 2013 4Q13 earnings call, Defendants announced that the
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                Company expected a “significant pivot” in financial performance in the upcoming FY14. Analysts
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                were surprised after seeing years of 3% growth, and sought clarification during the call. One analyst
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                stated “[t]he Street was looking for about 2.6% revenue growth in fiscal ‘14. My sense is that steep
       17
                pivot and significant rebound are more than 3% growth.” In response, Hammergren stated that
       18
                “much of our view on revenue growth is driven just by the growth our customers are going to . . . see
       19
                this year, and the lack of a dilutive effect of significant generic launches.”
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                       45.     Within two months, during its annual investor day, McKesson pre-announced that
       21
                1Q14 earnings would be “unusually strong,” driven by “manufacturing economics.” Indeed, during
       22
                the 1Q14 earnings call on July 25, 2013, Hammergren announced “strong growth across our
       23
                portfolio of generic pharmaceuticals, driven in part by favorable pricing,” resulting in a 25% gross
       24
                profit increase for the quarter. Analysts were again surprised at McKesson’s outperformance and
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                4
       26     McKesson reports financial results for two business segments – the distribution solutions
          segment and the technology solutions segments. During the Class Period, the distribution solutions
       27 segment included pharmaceutical distribution and services and medical-surgical distribution and
          services. The distribution solutions segment, which includes the U.S. pharmaceuticals distribution
       28 business, accounted for close to 98% of McKesson’s revenues during the Class Period.

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            1 asked Hammergren for “a little bit more detail[ ] as to what you’re seeing at the manufacturer level

            2 that is maybe translating into such decent margins for you guys?” Hammergren responded that “we

            3 are [a] little dependent on how . . . those generic manufacturers behave over time. And I think it is

            4 really too early to make an industry call relative to trends.”

            5          D.     Generics Inflation Drove McKesson’s Profitability Rebound
            6          46.    On October 24, 2013, the first day of the Class Period, Hammergren had to provide

            7 investors with an explanation for the “significant [growth] pivot,” as the distribution solutions

            8 segment’s operating profit had spiked again in 2Q14. Hammergren falsely attributed the 18%

            9 increase to generic drug price inflation driven by supply disruption, stating “we continue to

       10 experience favorable pricing on certain products in our generics portfolio, principally driven by a

       11 few products where there has been supply disruption.”

       12              47.    On the same day, Defendants raised McKesson’s full year 2014 guidance with the

       13 expectation that the supply disruptions would continue into the remainder of FY14. Based on the

       14 continuation of generic drug price increases purportedly driven by supply issues, together with

       15 McKesson’s 1Q14 and 2Q14 outperformance, Defendants raised the Company’s full year adjusted

       16 earnings per diluted share from a range of $8.05 to $8.35 to a higher range of $8.40 to $8.70.

       17              48.    Throughout the Class Period, Defendants continued to attribute McKesson’s strong

       18 performance to generic drug price inflation.

       19              49.    On February 25, 2014, Beer announced that, “[o]n the distribution – pharmaceutical

       20 distribution side, the generics business has been particularly strong this past year, seeing benefits out

       21 of both the pricing environment but also the raw volume of the number of our customers who have

       22 taken more of their volume through our channels and so forth.” Gross profit for the distribution

       23 solutions segment grew 27% in 3Q14.

       24              50.    On June 25, 2014, Beer told investors: “In terms of manufacturer economics, both on

       25 the branded side and on the generic side of the business, this translates through into benefits for us

       26 around price increases.” On May 12, 2014, he had announced that 4Q14 “Distribution Solutions

       27 adjusted gross profit increased 30% for the full year on a 13% increase in segment revenues,

       28 resulting in a 31-basis-point improvement in our adjusted gross profit margin year over year.”

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            1          51.     On July 31, 2014, Beer announced 1Q15 results and stated, “as John mentioned, this

            2 quarter we recorded solid growth across our portfolio of generic and branded pharmaceuticals,

            3 driven in part by the timing of certain generic and brand price increases, which came earlier in the

            4 fiscal year than we had originally planned. On a constant-currency basis, revenues increased 15%.”

            5          52.     On September 9, 2014, Beer stated that “[i]t has certainly been an important financial

            6 driver in the last few quarters. What we said at the outset of the year when we gave our annual

            7 guidance was that we expected high single digit growth from generic price increases or importantly,

            8 generics that are beyond their exclusivity period so a little more mature than the brand new brands to

            9 generic conversion drugs. We see this playing out thus far so we are very much speaking to that

       10 view for the full year.”

       11              53.     On March 3, 2015, Beer gave a preview of McKesson’s upcoming guidance: “We

       12 give guidance as to our expectations for the key drivers of our overall business model for the fiscal

       13 year, and one of those drivers will, again, be generic price inflation.”

       14              54.     On May 13, 2015, he repeated that “we talked about a few of the factors in our guide

       15 yesterday. Obviously generic price increases were an increasingly important factor during fiscal

       16 2015 and I think that will be the case again in 2016.”

       17              55.     On September 16, 2015, Beer explained that “generic inflation, as you know, is one

       18 of several assumptions that we define, we list out when we give our guide for each year. And then

       19 we update all of you each quarter as we go along on those assumptions. So anything that’s on that

       20 list is going to be important, obviously.”

       21              56.     During the January 11, 2016 investor conference, Hammergren summed up

       22 McKesson’s performance over the prior several years as driven by generic drugs price inflation: “It’s

       23 one thing to have price inflation in the generic focus, it’s another thing to capture value for our

       24 shareholders when that inflation occurs. And we did a marvelous job of accomplishing that over the

       25 last several years, and benefited from it.” Indeed, from the time of Hammergren’s announcement of

       26 a “significant pivot” in May 2013 to the announcement of 2015 year-end earnings, McKesson’s

       27 stock price more than doubled:

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       12             57.   McKesson’s “significant pivot” in profitability was made possible by massive generic

       13 drug price hikes, and its wholesale business benefited from the price increases in three ways:

       14 (1) selling inventory at inflated list prices; (2) generating revenues with markups tied to the inflated

       15 list prices; and (3) collecting higher discounts from manufacturers based on the inflated list prices.

       16 With inventory purchased before the price hike, McKesson would receive all three benefits. Even if

       17 McKesson purchased the drug at the inflated price, McKesson still benefited from higher markups

       18 and discounts. The Company simply purchased generic drugs from manufacturers at inflated prices

       19 and passed them through to the pharmacies while taking an ever-larger “discount” for itself as prices

       20 rose.

       21             58.   The following illustration of a generic drug whose price was artificially increased by

       22 372% demonstrates how dramatically price hikes impacted McKesson’s gross profit and gross

       23 margin. The illustration assumes McKesson sets it markup to independent pharmacies at 2% and
                                             5
       24 discount at 17% of the list price.

       25

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       27     According to research published by the USC School of Pharmacy, the average wholesaler gross
          margin on generic drugs was approximately 18.5%. See Neeraj Sood, et al., Flow of Money Through
       28 the Pharmaceutical Distribution System, USC Sch. of Pharm. (June 6, 2017).

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       14             59.   In the base case scenario (shown in column two), in which there is no price inflation,
       15 the wholesaler’s gross profit is $18.90, or the difference between McKesson’s $102 revenue and the

       16 wholesaler’s $83.10 cost of sales. McKesson’s gross margin for this generic drug is 18.5%.

       17             60.   When the drug price is artificially increased by 372%, McKesson’s gross profit
       18 dramatically increases. When McKesson sold existing inventory that was purchased at the $100

       19 base case price at the new price inflated by 372% (shown in column 3), McKesson profited in three

       20 ways: (1) $372 from the inflation of the list price; (2) $9.44 from the 2% markup on the inflated list

       21 price; and (3) $16.90 from the 16.9% manufacturer’s discount from the list price. In that scenario,

       22 McKesson’s gross profit increases from $18.90 for the base case to $398.34 – a $379.44 increase in

       23 the gross profit, or 2008%. McKesson’s gross margin also increases from 18.5% for the base case to

       24 82.7%.

       25             61.   In the scenario where McKesson purchased new inventory at the inflated $472 list
       26 price (shown in Column 4), it sold the new inventory purchased from manufacturers at $481.44 with

       27 the 2% markup, generating $9.44 from the markup. McKesson also received a discount of $79.77

       28 from the 16.9% discount on the inflated price of $472. Together, the $9.44 markup and the $79.77

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            1 discount generated gross profit of $89.21. Thus, McKesson’s gross profit increased from $18.90 for

            2 the base case to $89.21 – amounting to a $70.31 increase. The gross profit increased by 372% and

            3 the wholesaler’s gross margin remained at 18.5% for this particular generic drug.

            4          62.     Given the immediate and immense effect of massive price hikes on profitability,

            5 McKesson was highly incentivized to facilitate and/or allow price increases, which drove the

            6 Company’s “significant pivot” in profitability. Indeed, as Beer had acknowledged on January 27,

            7 2016, the generic drugs that were driving McKesson’s profitability were “inflated to a very high

            8 degree.”

            9          E.      Defendants Misled Investors About the Reasons for and Sustainability
                               of McKesson’s Growth
       10
                       63.     Analysts, in an effort to determine the sustainability of McKesson’s financial
       11
                outperformance, sought explanations for the generic drug price inflation, because for commodity
       12
                products such as generic drugs, manufacturers typically compete on price and cannot substantially
       13
                increase prices without losing sales and market share. This is because in a properly functioning
       14
                market, wholesalers like McKesson and other buyers would use that competition to drive prices
       15
                down. However, during the Class Period, McKesson did not use its leverage to reduce prices
       16
                because it was incentivized to increase prices in order to grow its own profits. In order to conceal
       17
                this from investors, customers and other market actors, Defendants continuously misrepresented the
       18
                true source of the Company’s profitability by repeatedly claiming that the generic drug price
       19
                inflation was caused by supply disruptions on a small number of products:
       20
                              Hammergren on October 24, 2013: “In the second quarter, we continue to experience
       21                      favorable pricing on certain products in our generics portfolio, principally driven by
                               a few products where there has been supply disruption.”
       22
                              Hammergren on November 12, 2013, in response to an analyst’s question about
       23                      drivers of “a fantastic fiscal second quarter”: “I might also mention clearly there
                               ha[ve] been some supply issues associated with generics in the market and some of
       24                      those supply issues might have caused more price inflation on certain products than
                               might have otherwise existed in a normal steady state.”
       25
                              Hammergren on January 13, 2014, in response to an investor’s question on drivers of
       26                      generics inflation: “It is not all the manufacturers and it is not all the product. It is in
                               a very small area and we think a lot of that price opportunity has been delivered to
       27                      the manufacturers because of issues associated with the supply.”

       28

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            1                 Beer on September 9, 2014, in response to an analyst’s inquiry of McKesson’s view
                               of generics inflation in the marketplace: “So it is very much supply disruption driven
            2                  in our view and of course, we are seeing that happen in a relatively small proportion
                               of the generic manufacturers and within those manufacturers, a relatively small
            3                  proportion of their molecules, their drugs. Where we do see a price increase
                               occurring around a molecule, it can sometimes be quite high. So that is the situation
            4                  that we are seeing play out around generic price inflation.”

            5                 Beer on June 24, 2015, in response to an analyst’s question on drivers and trends of
                               generics inflation: “[W]e continue to see the underlying drivers as some sort of
            6                  supply disruption whether it’s the FDA backlog, whether it’s the FDA actions around
                               a particular manufacturer’s planned or line, or whether it’s an individual
            7                  manufacturer taking a decision around their own capacity, consistent with our own
                               capital return goals.”
            8
                       64.     Defendants not only claimed that the supply disruption was causing the massive price
            9
                increases, but also assured investors that it would persist:
       10
                              Beer on May 20, 2014, in response to an analyst’s question on whether he was seeing
       11                      resolution of supply disruption: “And we would also continue to expect that those
                               drugs prices would be increasing as a result of some sort of supply disruption. . . .
       12                      But we would continue to expect those supply disruptions to really be the driving
                               force underpinning those expected price increases.”
       13
                              Beer on June 11, 2014, in response to an analyst’s question on drivers and
       14                      sustainability of generics inflation: “I think what has been driving it in this past year,
                               fiscal 2014, and what we are expecting to continue into 2015, is really some measure
       15                      of supply disruption.”

       16                     Beer on January 13, 2015: “So, some sort of driver of supply disruption and as we
                               see things today, we don’t expect that to change.”
       17
                              Beer on March 3, 2015, in response to an analyst’s question on whether he would
       18                      consider manufacturers failing FDA inspections a transitory phenomenon: “I think
                               the FDA has a significant challenge ahead of itself to be able to, in essence, assure
       19                      the quality of the drugs being produced in all the different countries and different
                               plants around the world. So I wouldn’t necessarily say or necessarily assume that the
       20                      FDA issues that I refer to are transitory.”

       21                     Beer on June 9, 2015, in response to an analyst’s question on continuation of an
                               inflation environment: “[W]e’ve talked about there being really three drivers of the
       22                      generic price increases in the last couple of years or so. And at the heart really it’s
                               some sort of supply disruption that has been driving those price increases . . . . And
       23                      we don’t see anything particularly different out into the future in any of those three
                               regards . . . .”
       24
                              Beer on June 24, 2015, in response to an analyst’s question on the driver of generics
       25                      inflation and how it was trending: “[W]e continue to see the underlying drivers as
                               some sort of supply disruption whether it’s the FDA backlog, whether it’s the FDA
       26                      actions around a particular manufacturer’s planned or line, or whether it’s an
                               individual manufacturer taking a decision around their own capacity, consistent with
       27                      our own capital return goals. So we don’t see any change in that dynamic.”

       28

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            1          65.    In truth, as set forth below, it was coordinated price hikes – and not supply

            2 disruption – that caused the generics inflation and drove McKesson’s profit growth. Further, the

            3 number of drugs that had price increases was not “small,” but instead comprised at least 84 high-

            4 volume generic drugs that garnered more than $33.1 billion in sales during the Class Period:6

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       16 McKesson’s market share was 23%. As shown at ¶¶58-62 above, the generic drugs with price

       17 increases that were “quite large in percentage terms” generated multiplier effects on profits.

       18              F.     McKesson Facilitated and/or Allowed the Massive Price Hikes,
                              Abandoning Its Obligation to the Company’s Investors
       19
                       66.    During the Class Period, McKesson wielded significant power in controlling generic
       20
                manufacturers’ access to pharmacies and customers who bought generic drugs. McKesson
       21
                unabashedly touted that power: “[I]f you think about it, when you come to McKesson as a
       22
                manufacturer, we give them access to over 100,000 customer locations.” McKesson was supposed
       23

       24
                6
              Appendix 1, attached hereto, is a non-exhaustive list of high volume generic drugs that had price
       25 increases of 50% or more and/or were artificially inflated through market allocation during the Class
          Period. At the time of the price hike, these drugs had no supply or production issues to justify the
       26 price increase. There were no clinical investigator inspections, no drug safety labelling changes, no
          post-market requirements and commitments studies required by the FDA to assess possible serious
       27 risks associated with the drug, no FDA notification of drug shortages, no change in formulation, and
          no new patents that caused the price inflation. Drug manufacturers are required by the Food and
       28 Drug Administration Safety Innovation Act of 2012 to report potential drug shortages to the FDA.

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            1 to use that power to negotiate lower drug prices for its customers. Hammergren told investors this

            2 was the Company’s strategy around generic drugs – “we can create an opportunity for customers to

            3 benefit from sourcing their generics 100% through McKesson we can bring that market share into

            4 the market with the manufacturers and deliver real value to both our manufacturing partners as well

            5 as our pharmacy customers.”

            6          67.     For customers such as the independent pharmacies – which tend to be small

            7 community-based businesses that are unlikely to directly negotiate with and purchase from generics

            8 manufacturers – McKesson purportedly used its OneStop Generics Program (“OneStop”) to

            9 aggregate their purchase volume and drive prices down. OneStop is an on-line platform developed

       10 by McKesson to enable pharmacies to purchase all forms of generic drugs. On January 13, 2015,

       11 Hammergren described the platform as a driver of McKesson’s success by enabling aggregation of

       12 volume to create combined market share to derive “better value” to customers:

       13              [O]ur one-stop generic portfolio of products, where we take the aggregate value or
                       volumes I should say of our customer’s purchases and go to the marketplace to create
       14              value for the manufacturers has been growing at a very significant rate, in excess of
                       20% since FY03 and this ability for us to bring combined market share to our
       15              manufacturing partners and in turn deliver better value to our retail and hospital
                       customers has been an important aspect of our success in the last ten years.
       16
                       68.     Analysts gave credence to Defendants’ representations that the Company used its
       17
                customers’ market power to drive competition among manufacturers, resulting in cost effective
       18
                generic drugs for its customers. As stated by an analyst on October 16, 2014:
       19
                       Focused on driving pricing synergies from a limited number of competitively
       20              identified suppliers, OneStop provides a cost effective, single source generics option
                       for the company’s institutional and retail distribution clients. Virtually every generic
       21              pharmaceutical option can be purchased at McKesson OneStop by the company’s
                       customers.
       22
                       69.     As a middleman between generic drug manufacturers and the independent
       23
                pharmacies, McKesson purportedly negotiated the list prices, also known as the wholesale
       24
                acquisition costs, on behalf of its customers. It purchased generic drugs from the manufacturers at
       25
                list price and sold them to independent pharmacies at list price plus a markup. Separately,
       26
                McKesson negotiated and extracted discounts from the manufacturers as part of its service. Both the
       27
                discounts and markups were based off of the list prices.
       28

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            1          70.     In practice, McKesson used its access to market share, which came from the

            2 aggregated purchase volumes of its customers, to extract substantial payments from the

            3 manufacturers in the form of discounts set as a percentage of the higher list prices. With the primary

            4 focus of extracting profits for the itself rather than keeping drug prices low, McKesson was

            5 interested in higher pricing combined with higher discounts and markups to boost its own revenues

            6 and profitability.

            7          71.     During the Class Period, manufacturers implemented lockstep increases to the list

            8 prices on a multitude of drugs. Manufacturers also maintained inflated generic drug prices through

            9 various anticompetitive agreements, including market allocation schemes. McKesson knew about

       10 and, in some cases, participated in, the massive price hikes and collusive market allocation schemes.

       11 Although McKesson had the power to slow or altogether prevent the rampant generic drug price

       12 inflation, and despite the fact that Defendants told investors that McKesson was using its customers’

       13 aggregated volume as leverage to reduce prices, the Company failed to do so, and chose instead to

       14 profit from the schemes. Section IV.D. above describes how McKesson benefited from the massive

       15 price hikes.

       16              72.     In the process, McKesson also benefitted from the manufacturers’ allocation of

       17 market share to ensure that the cooperating manufacturers also received their “fair share.” As stated

       18 in the AG Complaint, “‘[f]air share’ is an approximation of how much market share each

       19 [manufacturer] is entitled to, based on the number of competitors in the particular drug market, with

       20 a potential adjustment based on the timing of their entry.” AG Cpt., ¶90. When manufacturers

       21 “‘play[] nice in the sandbox,’” they would be entitled to their “‘fair share.’” Id., ¶104. “‘Fair

       22 share’” and “‘playing nice in the sandbox’” were terms of art within the industry and also used not

       23 only among generics manufacturers “in discussions with each other in order to reach agreement

       24 regarding allocation of market share and pricing, but also with their customers.” Id., ¶105.

       25 McKesson’s own manufacturer, NorthStar, received its “‘fair share,’” as did McKesson as a

       26 wholesale customer.

       27              73.     Without McKesson’s participation, the “‘fair share’” market allocation would not be

       28 possible. For example, as outlined in the AG Complaint, for the generic drug Doxy DR,

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            1 McKesson’s participation in the co-conspirators’ market allocation scheme was crucial to the

            2 manufacturers’ agreements. McKesson had maintained a strong relationship and strategic alliance

            3 with conspirator Heritage since at least 2013. On the basis of that relationship, Heritage became

            4 McKesson’s primary supplier of Doxy DR on June 27, 2013, and maintained that status until at least

            5 June 18, 2018. In the interim five years, at least one of Heritage’s competitors, Mayne, submitted

            6 multiple unsuccessful bids to win McKesson’s business. Heritage told Mayne that McKesson, as

            7 part of its strategic alliance with Heritage, would not move its business. Notwithstanding the

            8 warning, Mayne bid for McKesson’s Doxy DR business in April 2014, but McKesson refused to

            9 shift even part of its business away from Heritage. Ultimately, Heritage’s CEO Jeffrey Glazer and

       10 President Jason Malek were convicted and pleaded guilty to entering into “continuing agreement,

       11 understanding, and concert of action” with co-conspirators “to allocate customers, rig bids, and fix

       12 and maintain prices for doxycycline hyclate sold in the U.S.” The guilty pleas included Glazer’s and

       13 Malek’s illegal agreements used to win and retain McKesson’s business for Doxy DR.

       14             74.     The details of the collusive activity surrounding Doxy DR, and McKesson’s role, are

       15 laid out in the AG Complaint. See Ex. A at 49-61.7 In particular, as detailed in the AG Complaint,

       16 in April 2013, less than two months after obtaining FDA approval for the drug, Heritage took

       17 Mylan’s place as McKesson’s primary supplier of Doxy DR by leveraging its “‘strong business

       18 relationship’” with McKesson and agreeing not to pursue other Mylan accounts. On May 8, 2013,

       19 Heritage’s CEO Glazer called Mylan’s President Rajiv Malik (“Malik”) to agree on a “‘fair share’”

       20 of 30% of the market for Heritage. Glazer told Malik that Heritage could achieve the 30%

       21 “‘significant market penetration’” through its “‘strong business relationship’” with McKesson and

       22 another customer. After Malik agreed to “‘play fair’” and concede the McKesson business in

       23 exchange for an agreement that Heritage would not pursue other Mylan accounts, Heritage’s

       24 President Malek met with a senior executive from McKesson during the June 2, 2013 and June 5,

       25 2013 Healthcare Distribution Management Association conference to discuss Doxy DR and other

       26 potential product opportunities. In less than two weeks, on June 18, 2013, a McKesson senior

       27
               7
       28          Exhibit A is an excerpt from the AG Complaint.

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            1 manager emailed Lance Wyatt of Mylan informing him of an “‘unsolicited bid’” received by

            2 McKesson for Doxy DR and gave Mylan three days to submit a bid to retain its business. Pursuant

            3 to its agreement with Heritage, Mylan did not submit a bid. On June 27, 2013, McKesson signed a

            4 distribution agreement with Heritage that made Heritage McKesson’s primary supplier for Doxy DR.

            5         75.    Less than eight months later, Heritage’s competitor Mayne entered the Doxy DR

            6 market, and desperate to gain market share, submitted competing bids to McKesson without any

            7 success because of McKesson’s strong strategic alliance with Heritage. As alleged in the AG

            8 Complaint, Gloria Peluso-Schmid (“Peluso-Schmid”) – a Director of National Accounts at generics

            9 manufacturer Mayne – attempted to take McKesson’s business from Heritage when Mayne entered

       10 the market for the generics drug Doxy DR in February 2014. AG Cpt., ¶225. On April 9, 2014,

       11 Peluso-Schmid of Mayne informed Heritage’s National Account Manager Anne Sather (“Sather”)

       12 during a three-minute phone call that Mayne had put an offer to McKesson for Doxy DR. Id., ¶226.

       13 Sather, after her conversation with Malek, texted Peluso-Schmid to inform Mayne that her “‘“boss

       14 said since we are strategically aligned with [McKesson and Econdisc] they will probably not

       15 move.”‘“ Id. Peluso-Schmid responded with desperation: “Need volume. Need one Large

       16 account.” But, despite Mayne’s desperate bid for business, McKesson did not accept the competing

       17 bid. Id., ¶228. Despite the fact that there was new competition in the market actively seeking

       18 McKesson’s business, the price of Doxy DR did not move.

       19             76.    Mayne tried for the business again in November 2014. Id., ¶228. Ultimately, in order

       20 to maintain the inflated price, Heritage decided to cede Doxy DR market share to Mayne by walking

       21 away from another customer in exchange for Mayne’s removal of its new Doxy DR bid to

       22 McKesson. CEO Glazer confirmed in an internal email that “Heritage was ‘walking away from one

       23 [customer, Econdisc,] so pricing would stabilize’” and that Heritage “‘wanted to give [Mayne]

       24 market share so they stop eroding’ the price of Doxy DR.” Id., ¶236. Thus, Mayne did not bid for

       25 McKesson’s business based on the understanding that McKesson was with Heritage and would not

       26 move its business. Ultimately, McKesson and another retailer made up 80% of Heritage’s Doxy DR

       27 sales.

       28

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            1         77.     McKesson, Heritage and Mayne all benefited from the scheme in the Doxy DR

            2 market. As the AG Complaint concluded, “[a]s a result of Heritage’s unlawful agreement with

            3 Mayne, pricing for Doxy DR has been substantially higher than it would have been in a competitive

            4 market.” AG Cpt., ¶241. Because McKesson’s profits were largely derived from discounts,

            5 McKesson extracted a larger discount because of the high list prices for Doxy DR than it would have

            6 obtained from the lower list price that would have resulted from a competitive market. Heritage and

            7 Mayne also profited from the higher list prices. Further, as alleged in the AG Complaint, Heritage

            8 also recognized that generics price increases ultimately impacted distributors’ executive

            9 compensation and noted “‘[t]hese increases help customers w/ Annual Incentives.’” Id., ¶75.

       10             78.     While McKesson and the manufacturers propped up prices for their mutual benefit,

       11 the scheme had devastating effects on the Company’s customers, particularly the independent

       12 pharmacies.         Unlike large chains or supermarkets such as CVS, Walgreen and Wal-Mart,

       13 independent pharmacies are smaller entities unlikely to directly negotiate with and purchase from

       14 generics manufacturers. Independent pharmacies purchased generic drugs from wholesalers, such as

       15 McKesson, almost exclusively. As Hammergren acknowledged, “independents became much more

       16 dependent on our assistance in helping them do a good job of sourcing product and delivering it to

       17 their stores,” and such customers were “relying more and more on our generic capabilities and now

       18 depending on us to source the right products at the right price for them.” McKesson and the

       19 manufacturers exploited the independent pharmacies’ dependence and reliance through collusive

       20 pricing.

       21             79.     Nevertheless, Defendants repeatedly, and falsely, represented to investors that the

       22 Company used its leverage to negotiate competitive pricing on behalf of its customers:

       23                    Beer on May 13, 2015: “[W]e buy at scale in an extremely efficient way and are able
                              to pass through the benefits of those drug prices to those independent stores who are
       24                     obviously competing locally against much bigger chains.”

       25                    Walchirk, President of McKesson’s U.S. Pharmaceutical Group, on June 24, 2015:
                              “[W]e continue to drive tremendous growth in our OneStop program, really because
       26                     of a number of different factors. Certainly competitive price position . . . [a]nd
                              certainly, we continue to access a wide range of manufacturers across the generics
       27                     environment, and that flexibility from a sourcing standpoint again allows us to make
                              sure we have a competitive price in the marketplace.”
       28

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            1                  Hammergren on July 29, 2015: “[W]e have to stay extremely disciplined and diligent
                                around making sure that our customers are also benefiting through our action in the
            2                   supply chain. That’s been our priority and will remain our priority.”

            3                  Hammergren on November 10, 2015: “We’ve been working to bring our value to our
                                customer base, our ability to aggregate scale and help our customers buy at a
            4                   competitive rate.”

            5                  Beer on January 27, 2016: “Many of our independent customers have continued to
                                join us in the generic procurement side, and have become more and more reliant on
            6                   McKesson’s ability to help them reduce their cost and improve their performance.”

            7                  Beer on September 13, 2016: “So the reason[s] that Health Mart has grown nicely
                                over recent years, and consistently so, have been many. But I think you can
            8                   summarize them around bringing to the independent pharmacy attractive drug
                                pricing. So that feeds back into the One Stop program, our sourcing volumes, our
            9                   capability to buy drugs at attractive prices and share that pricing with the
                                independent pharmacy.”
       10
                               Hammergren on November 8, 2016: “We have done a really good job, I think of
       11                       evolving our value proposition, particularly to our independent pharmacy customer
                                base as we continue to grow our capabilities and help them perform better as
       12                       independent stores. As you know, we aggregate them together, we help them get
                                into narrow networks, we help them contract with all of the providers or payers, I
       13                       should say, and we help them purchase generics in a very competitive – on a very
                                competitive basis.”
       14
                          80.   Contrary to their statements, Defendants exploited McKesson’s customers and
       15
                patients’ generic drug needs to benefit the Company by collecting higher and higher discounts for
       16
                itself as the list prices increased and/or were prevented from falling. The lockstep price increases
       17
                occurred while market share remained steady. The price increases were not due to a raw material
       18
                shortage, spike in production costs or restrictive regulations, which are often associated with a rise in
       19
                prices.
       20
                          81.   As Connecticut Assistant Attorney General Michael E. Cole stated: “‘Rather than the
       21
                wholesalers being the gatekeeper, it was the fox guarding the henhouse . . . . The wholesalers should
       22
                be the sentinel here.’” Similarly, the Attorneys General announced that “the states’ investigation
       23
                involves allegations of conspiracy and collusion within the entirety of the generic drug industry, and
       24
                wholesalers . . . are certainly players within the industry.”
       25
                          82.   McKesson’s extraction of outsized profits from ever-increasing generic drug prices
       26
                was not sustainable due to increasing political pressure and scrutiny from government authorities and
       27
                market participants (which constrained manufacturers’ ability to increase list prices). This caused
       28

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            1 generic drug prices to stagnate and decline. In addition, as McKesson’s customers realized that sky-

            2 high generic drug prices were due to artificial forces rather than the natural forces (i.e., supply

            3 disruptions) McKesson had attributed them to, they demanded significant price concessions.

            4          83.    While the role of McKesson in the supply chain is well known, the size of the

            5 discounts and other fees it extracted from manufacturers for access to market share are carefully

            6 guarded secrets. Drug manufacturers and McKesson depend on the lack of transparency to conduct

            7 their business. As characterized by former CFO James Campbell: “In our business, our policy is we

            8 don’t talk about specific customers or manufacturing relationships . . . .” Even sales volume is kept

            9 tightly under wraps. As Beer stated on September 30, 2014: “We haven’t spoken about the scale of

       10 generic volumes either from Celesio or from other parts of our business. We don’t disclose that.”

       11 Hammergren told investors that McKesson does not disclose the details of its negotiations with

       12 manufacturers, but assured investors that the Company was highly attuned to the market, stating that

       13 “we are extremely intimate globally to these manufacturers, we understand what they are doing

       14 around the world on a real-time basis.”

       15              84.    The secretive nature of McKesson’s discounts and fees kept its shareholders in the

       16 dark. Defendants’ false statements misled investors about the true nature and sustainability of its

       17 profitability and obscured the risk that the Company would not meet its financial forecasts. Without

       18 knowing the true amount of discounts and the true causes of generic drug price inflation, investors

       19 were not able to determine the likelihood that McKesson would maintain its growth.

       20              G.     McKesson’s NorthStar Subsidiary Colluded in the Generics Market
       21              85.    During the Class Period, McKesson also used its wholly-owned subsidiary,

       22 NorthStar, to drive margin expansion by engaging in collusive activities in the generic drug market.

       23              86.    NorthStar is a private label generic drug manufacturer that has been owned by

       24 McKesson since 2002. The Company designated NorthStar as an entity that could expand its thin

       25 distribution margin by “go[ing] up the chain a little bit if you will, and captur[ing] some of the

       26 manufacturing margin.”

       27              87.    In addition to expanding McKesson’s profit margin, the Company stated that “an

       28 important part” of the NorthStar strategy was to enable to the Company to reach “further back in the

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            1 supply chain to have really . . . more impact and leverage and control” over generic products.

            2 During the Class Period, Hammergren stated that NorthStar had enabled McKesson to gain a “closer

            3 relationship with the [generic] manufacturers” and served as a vehicle through which “all of

            4 McKesson” received reconnaissance on the generics market:

            5                 The visibility we get through Northstar enhances our view of the
                      opportunities that exist globally for us as well as some of the challenges that may
            6         exist, whether it’s plant closures, limited supply of raw materials, or other issues that
                      may come along. That Northstar experience helps inform all of McKesson from a
            7         sourcing perspective in a very positive way.

            8         88.     While the Company did not specifically disclose NorthStar’s financial results,

            9 Defendants frequently discussed the significance of NorthStar and its role in driving McKesson’s

       10 profitability:

       11                    Hammergren on January 13, 2014: NorthStar “has been an important part and a
                              meaningful contributor to our overall profitability.”
       12
                             Mark Walchirk, President of U.S. Pharmaceutical, on June 25, 2014: “We continue
       13                     to invest in NorthStar. We continue to bring and introduce new molecules, new
                              product families to NorthStar. And this has also been I think a very important part of
       14                     our success in the generics space.”

       15                    Paul Julian, Group President of McKesson Distribution Solutions, on June 25, 2014:
                              “NorthStar has been very successful for us in the United States. I would say it has
       16                     succeeded [sic] our expectations.”

       17                    Hammergren on July 31, 2014: “Even our standard RX business has been supported
                              by robust growth really across the board. And the continued uptake of our generic
       18                     portfolio, the strength of NorthStar; our ability to continue to bring market share to
                              our customer base; and the strength of On[e]Stop, our generic program in our
       19                     markets continues to remain very strong. So I really feel like the businesses in North
                              American pharmaceuticals are performing very well.”
       20
                             Walchirk on June 24, 2015: “[W]e are above a decade now of our NorthStar private
       21                     label. That’s been an important growth vehicle for us in generics.”

       22                    Julian on June 25, 2014: “[W]e have 12,000 pharmacies that are virtually looking to
                              McKesson to enable them to be successful . . . they are buying our private label
       23                     offerings, they are on our generics program.”

       24             89.     In fact, NorthStar was so successful and profitable that McKesson duplicated it in

       25 Canada and Europe.

       26             90.     Throughout the Class Period, McKesson represented to investors that NorthStar

       27 operated in a competitive market, and the Company was cognizant of NorthStar’s role as a

       28 competitor to its manufacturing partners:

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            1                 Beer on March 3, 2015: “Where Northstar has tended to develop is around the more
                               mature molecules where you tend to have more players participating in that
            2                  molecule. And, obviously, we are interested in ways in which we can continue to
                               grow the Northstar business, but we are also very cognizant of its relationship vis-a-
            3                  vis the broader relationships that we have with our generic manufacturing partner[s].
                               So I think it’s an important balancing act that we play there between our own internal
            4                  efforts, if you will, and the broader relationships with the general manufacturers
                               where we are using their own names rather than our own.”
            5
                              Beer on September 16, 2015: “[W]e need to be thoughtful about the balance between
            6                  growing that private label set of offerings and the relationships that we have with our
                               various manufacturing partners. So there’s always going to be a certain amount of
            7                  balancing act there. Traditionally, NorthStar has focused on the more mature
                               molecules. We tend to have more competitors.”
            8
                       91.     In truth, NorthStar’s profitability and success were driven by collusive activities.
            9
                Plaintiff’s investigation to-date has revealed that at least six drugs sold by NorthStar have indicia of
       10
                collusion during the Class Period: amitriptyline, baclofen, digoxin, enalapril, fluocinonide, and
       11
                leflunomide.
       12
                       92.     NorthStar implemented extraordinary price hikes on leflunomide and baclofen
       13
                without any meaningful effect on its market share and entered the market following massive
       14
                collusive price increases and gained market share on amitriptyline, digoxin, enalapril and
       15
                fluocinonide without impacting prices. The market participants did not undercut each other’s prices
       16
                to gain market share – as would be expected in a functioning, non-collusive market involving
       17
                commodity-like products. The price hikes were in the competitors’ self-interest only if they all
       18
                agreed to act in tandem.
       19
                       93.     Through their investigations, the Attorneys General found that the conspiratorial
       20
                conduct in the generic drug market was “pervasive and industry-wide and the schemes identified
       21
                herein are part of a larger, overarching understanding about how generic manufacturers fix prices
       22
                and allocate markets to suppress competition.” AG Cpt., ¶11. The overarching understanding
       23
                applied whether the scheme involved allocation of market share or an agreement to fix prices. Id.,
       24
                ¶¶8, 14. According to the AG Complaint, “[t]his overarching agreement is widespread across the
       25
                generic drug industry and is broader than the Defendants named in this Complaint.” Id., ¶92.
       26
                       94.     The overarching conspiracy rested on “general rules of the road” that were put in
       27
                place over a decade ago – that each competitor was entitled to a certain percentage of market share
       28

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            1 “based on the number of competitors in the particular drug market, with a potential adjustment based

            2 on the timing of their entry.” Id., ¶¶90-91. In general, the earlier entrant was entitled to additional

            3 market share. Id. In practice, a generic manufacturer with more than its fair share of the market

            4 would walk away from a customer by instigating a price increase to allow its competitor seeking to

            5 obtain its fair share to bid slightly below the increased pricing. Id., ¶99. After the market reached an

            6 equilibrium, the manufacturers then agreed on not competing on prices or significantly raising prices

            7 in coordination. Id. At the equilibrium state, manufacturers did not take advantage of another

            8 competitor’s price increase by bidding lower prices, as doing so would be “viewed as ‘punishing’ a

            9 competitor for raising prices – which [was] against the rules.” Id., ¶106.

       10              95.     Adherence to the “general rules of the road” by all competitors was crucial to

       11 maintaining high prices, because even a single deviant could lead to competition and lower prices.

       12 Id., ¶107. Even for a new entrant to the market seeking to attain market share, “an underlying code

       13 of conduct,” widespread in the industry, was adhered to that allowed the new entrant and existing

       14 manufacturers to determine “a generally agreed-upon standard of ‘fair share’ in order to avoid

       15 competing and keep prices high.” Id., ¶¶14, 100.

       16              96.     NorthStar and its co-conspirators’ anti-competitive behavior left behind a series of

       17 collusive markers that are consistent with the “general rules of the road.” The uniform price hikes

       18 were marked by high correlation, with low volatility of drug prices post-collusion and high stability

       19 of market share. These characteristics were inconsistent with competitive markets. The correlation

       20 of the manufacturers’ price moves was so high and statistically significant that the probability of

       21 obtaining such heightened correlation by chance is less than 1%. After the price hikes, the volatility

       22 of pricing and market share substantially declined – indicating stability that was uncharacteristic of a

       23 competitive market where manufacturers would compete on pricing to gain market share.

       24              97.     NorthStar’s collusive drug leflunomide, for example, was one of the generic drugs

       25 slated for a “‘big price increase’” during Heritage’s April 22, 2014 “‘Price Increase Discussion’”

       26 teleconference. AG Cpt., ¶¶268-269. As alleged in the AG Complaint (see Ex. A at 90-92), in

       27 implementing the price increase strategy, Heritage’s former President Jason Malek – who recently

       28 pleaded guilty to criminal charges for price fixing – took the lead and contacted Teva to reach an

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            1 agreement to increase prices. Id., ¶382. Nisha Patel of Teva agreed that “if Heritage did raise the

            2 price of Leflunomide . . . , Teva would follow with its own price increase or, at least, would not

            3 challenge Heritage’s price increase by seeking to underbid and take Heritage’s accounts.” Id. When

            4 Teva left the market in May 2014, Malek implemented a strategy to divide the market and decided

            5 that he “‘may give some to [A]potex and follow our strategy as discussed.’” Id., ¶384. Heritage’s

            6 Matthew Edelson placed three phone calls to Debbie Veira of Apotex. By May 2014, Heritage and

            7 Apotex reached an agreement “to avoid competition and increase prices on Leflunomide.” Id., ¶385.

            8 Apotex took a price increase in May 2014, and Heritage took an increase in July 2014. Id., ¶¶387-

            9 388.

       10              98.    A second dramatic price increase on leflunomide was taken by McKesson’s

       11 NorthStar, Heritage and Apotex in 2015. By the end of July 2015, NorthStar implemented a 372%

       12 price increase and took the drug from $1.11 per unit to close to $5.20 per unit. Heritage and Apotex

       13 followed shortly and also brought prices to a similar $5.20 per unit. NorthStar’s and Heritage’s price

       14 increases logged in at a correlation of 84% and were so statistically significant that the probability of

       15 obtaining such heightened correlation by chance is less than 1%.

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                       99.    NorthStar’s massive price hike on leflunomide was against its economic interest and
       26
               irrational in a market dominated by larger players such as Heritage and Apotex. Without an
       27
               overarching agreement among the three co-conspirators, Apotex could lower its price incrementally
       28

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            1 and take NorthStar’s market. Heritage, on the other hand, was unlikely to move against NorthStar

            2 because Heritage was “‘strategically aligned’” with McKesson, with McKesson protecting

            3 Heritage’s market share in Doxy DR from Heritage’s competitor. AG Cpt., ¶226. As such, the only

            4 explanation for the feasibility of NorthStar’s sudden and dramatic price move was collusion.

            5         100.    From June 7, 2015 to June 10, 2015, the Healthcare Distribution Alliance held its

            6 annual Business and Leadership Conference in San Antonio, Texas, providing an opportunity for

            7 McKesson, Heritage and Apotex to collude. All of the co-conspirators that reached agreements to

            8 fix prices and allocate the market for leflunomide were present at the conference. McKesson’s

            9 President of U.S. Pharmaceuticals, Mark Walchirk, served on the board and executive committee of

       10 the alliance. Hammergren attended the conference – along with Malek and Matthew Edelson of

       11 Heritage, Debbie Veira of Apotex, and Nisha Patel of Teva.

       12             101.    After the dramatic price hikes by McKesson’s NorthStar, Heritage and Apotex, price

       13 and market share stabilized for leflunomide, suggesting that the co-conspirators stopped competing

       14 for market share. Price volatility after the hike was virtually non-existent – dropping from an

       15 average of 87% to 0.9% or less for all three companies. The volatility of NorthStar’s market share

       16 dropped from 10.8% pre-collusion to a low 0.3% post-collusion. Similarly, Apotex’s market share

       17 volatility dropped from 11.6% to 4.8%. The significant price and market share stability post-

       18 collusion further evidences the co-conspirators’ agreement “to avoid competition and increase prices

       19 on Leflunomide.” AG Cpt., ¶385.

       20             102.    Similar characteristics of price and market share stability were evident for the other

       21 NorthStar collusive drugs after dramatic price hikes. Baclofen price volatility was 0.5% or less for

       22 all co-conspirators after NorthStar’s November 2015 price increase, with market share volatility

       23 ranging from 0.3% to 9%. Amitriptyline price volatility was 1% or less for all of the co-conspirators

       24 after NorthStar entered the market in April 2015 at a collusive price level, with market share

       25 volatility ranging from 0.3% to 3.2%. Digoxin price volatility was 0.3% to 0.7% for all of the co-

       26 conspirators after NorthStar entered the market in November 2016 at a collusive price level, with

       27 market share volatility ranging from 0.3% to 1.9%. Enalapril price volatility was 0.2% to 4.2% after

       28 NorthStar entered the market in October 2015 at a collusive price level, with market share volatility

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            1 ranging from 0.3% to 1.4%. Fluocinonide price volatility was 0% to 2.1% after NorthStar entered

            2 the market in January 2017 at a collusive price level, with market share volatility ranging from 0.6%

            3 to 3%. All of the drugs had substantially higher price and market share volatility prior to their

            4 collusive price hikes.

            5          103.   As with leflunomide, many of NorthStar’s co-conspirators in its other collusive price

            6 hikes were also named as defendants in the AG Complaint. Among NorthStar’s co-conspirators

            7 were: (1) Teva for baclofen, enalapril and fluocinonide; (2) Par for baclofen; (3) Mylan for

            8 amitriptyline; (4) Sandoz for amitriptyline; (5) Lannett for digoxin; and (6) Sun for enalapril and

            9 fluocinonide.

       10              H.     The Generic Drug Market Structure Facilitated Collusion
       11              104.   The drugs that generated collusive profits for McKesson and NorthStar all had

       12 markets that were highly conducive to anticompetitive activities. Their markets involved: (1) a high

       13 level of market concentration; (2) near perfectly inelastic demand; (3) the commoditized-nature of

       14 generic drugs; (4) no viable substitute; (5) significant barriers to entry; and (6) the ease of

       15 information sharing.

       16                     1.       High Level of Market Concentration
       17              105.   The market for the collusive drugs was vulnerable to coordinated activities because

       18 fewer firms were involved in the negotiation and collusive revenues were high for each firm.

       19              106.   The Herfindahl-Hirschman Index (“HHI”) is a widely accepted market concentration

       20 measurement and is used by antitrust enforcement agencies, such as the FTC and the DOJ, for

       21 assessing market competitiveness. An HHI score of 0 is indicative of perfect competition and an

       22 HHI score of 10,000 is indicative of a monopoly. The DOJ and FTC’s Horizontal Merger

       23 Guidelines classify a market as unconcentrated when HHI is below 1,500, moderately concentrated

       24 when HHI is between 1,500 and 2,500, and highly concentrated when HHI exceeds 2,500.

       25              107.   The HHI score is calculated by squaring the market share of each firm competing in

       26 the market and then summing the resulting numbers. For example, in a market consisting of three

       27 companies with market shares of 10%, 40% and 50%, the HHI is 4,200 (100 + 1,600 + 2,500).

       28

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            1          108.     As indicated in the chart below, the HHI scores for the drugs that have so far been

            2 implicated in the AGs’ investigation and by Plaintiff’s investigation were close to or well exceeded

            3 2,500 prior to the collusive activities and were thus all considered highly concentrated.

            4                                 Collusive Drugs                         HHI
                                              Amitriptyline                           4,298
            5                                 Baclofen                                3,679
                                              Digoxin                                 3,819
            6                                 Enalapril                               2,795
                                              Fluocinonide                            4,796
            7                                 Leflunomide                             4,757
                                              Acetazolamide                           3,555
            8                                 Doxy DR                                 3,187
                                              Doxycycline Monohydrate                 2,496
            9                                 Fosi-HCTZ                               2,427
                                              Glipizide-Metformin                     2,668
       10                                     Glyburide                               5,007
                                              Glyburide-Metformin                     4,945
       11
                                              Meprobamate                             3,334
       12                                     Nimodipine                              5,048
                                              Nystatin                                3,378
       13                                     Paromomycin                             5,333
                                              Theophylline                            6,842
       14                                     Verapamil                               3,602
                                              Zoledronic Acid                         4,280
       15
                                2.       Inelastic Demand
       16
                       109.     Elasticity of demand (“Ed”) is measured by the change in quantity of goods sold
       17
                relative to the change in price. When Ed is zero, demand is perfectly inelastic as there is no change
       18
                in the quantity of goods sold despite a large increase in price. Inelastic demand encourages cartel
       19
                behavior, as a significant increase in price has minimal effect on quantity demanded by consumers.
       20
                As such, the cartel can maximize profit because price increases will directly translate into revenues.
       21
                       110.     At the time of the collusive price fixing, the markets for the drugs were characterized
       22
                by nearly perfect inelastic demand with Ed measured at close to zero. For example:
       23
                                                                               $ Change in
                                                   Elasticity of   % Change
       24                                           Demand          in Price
                                                                                 Quantity        Elasticity
                                                                                Demanded
       25                     Amitriptyline           0.024         268%           6%         Highly Inelastic
                              Baclofen                0.019         197%           4%         Highly Inelastic
       26                     Digoxin                 -0.004        593%           -8%        Highly Inelastic
                              Enalapril               -0.038        106%           -4%        Highly Inelastic
       27                     Fluocinonide            -0.016        395%           -6%        Highly Inelastic
                              Leflunomide             -0.012        117%           -1%        Highly Inelastic
       28                     Doxy DR                 -0.001        3240%          -3%        Highly Inelastic


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            1                Glyburide            -0.137        96%           -13%       Highly Inelastic
                             Nystatin             0.040         88%            3%        Highly Inelastic
            2                Verapamil            -0.126        31%            4%        Highly Inelastic

            3                  3.        Commodity-Like Product
            4         111.     A commodity-like product is a standardized product where price is the only
            5 distinguishing factor for purchasers. During the Class Period, each of the collusive drugs was AB-

            6 rated by the FDA, which indicates each drug is bioequivalent to its respective branded version. In

            7 addition, the FDA’s Orange Book shows that NorthStar’s versions are therapeutically equivalent to

            8 other manufacturers’ generic versions of the same drugs. As stated in its Orange Book, the “FDA

            9 believes that products classified as therapeutically equivalent can be substituted with the full

       10 expectation that the substituted product will produce the same clinical effect and safety profile as the

       11 prescribed product.” As such, pharmacists are able to substitute one manufacturer’s version of a

       12 drug for another.

       13             112.     For commodity-like products such as these, all of the manufacturers must raise prices
       14 for the collusion to be viable. Price hikes by one manufacturer without the co-conspirators’

       15 agreement to join the heightened price levels would enable competitors to take market share away by

       16 simply setting prices below the manufacturer’s price point. Thus, the coordinated massive price

       17 hikes could only be sustainable with the cooperation of an agreement among the co-conspirators.

       18                      4.        No Viable Substitute
       19             113.     The lack of a viable substitute encourages cartel behavior because consumers cannot
       20 replace the product with a cheaper alternative after significant price hikes. For example:

       21                     Baclofen is one of two recognized first-line treatments for spasticity induced by
                               multiple sclerosis according to the U.K. National Institute of Health and Care
       22                      Excellence. Patients who cannot tolerate gabapentin – the alternative first-line
                               treatment – or those for whom gabapentin proves ineffective have little to no viable
       23                      choice.
       24                     Digoxin is the prescription of choice for doctors when it comes to heart medication,
                               as none of the molecules that are comparable to it are prescribed in any significant
       25                      volumes. In addition, since at least 2002, digoxin has been listed as a World Health
                               Organization “essential medicine” that is crucial to “the priority health care needs of
       26                      the population.”
       27                     Fluocinonide .05% is a prominent high potency (Group II) corticosteroid and is one
                               of “the mainstay[s] of therapy for psoriasis.” Jonathan D. Ference, PharmD. and
       28

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            1                Allen R. Last, M.D., Choosing Topical Corticosteroids, 79 American Family
                             Physician 2, at 135 (Jan. 15, 2009).
            2
                            Doxy DR is a protein synthesis inhibitors tetracycline antibiotic used to treat
            3                gonorrhea, periodontitis, intestinal infections, and chlamydia. It is one of the World
                             Health Organization’s “essential medicine” that is crucial to “the priority health care
            4                needs of the population.”

            5               Amitriptyline is an antidepressant that regulates the brain’s natural substances to
                             maintain mental balance. It is one of the World Health Organization’s “essential
            6                medicine” that is crucial to “the priority health care needs of the population.”

            7               Verapamil is used to treat angina, high blood pressure, and various heart disease
                             conditions. It is one of the World Health Organization’s “essential medicine” that is
            8                crucial to “the priority health care needs of the population.”

            9                5.     Barriers to Entry
       10             114.   Collusion is more effective in markets with high barriers to entry because new

       11 competitors cannot easily enter the market and undercut the agreed-upon price.

       12             115.   A competitor attempting to enter the generic drug market faces the barrier of both

       13 time and costs. The generic drug approval process created a significant barrier to entry in the

       14 markets for each of the 20 drugs alleged above. Approval of an Abbreviated New Drug Application

       15 by the FDA takes an average of 36 months. Upon approval, the manufacturing facility is subject to

       16 regulatory oversight and compliance expenses.

       17             116.   A high barrier to entry to the markets for each of the collusive drugs enabled the

       18 anticompetitive activities to be sustained over an extended period.

       19                    6.     Information Sharing
       20             117.   According to the AGs, manufacturers and wholesalers used opportunities at

       21 conferences and trade shows “to discuss and share competitively-sensitive information concerning

       22 upcoming bids, specific generic drug markets, pricing strategies and pricing terms in their contracts.”

       23 AG Cpt., ¶79. In fact, “[m]any customers of the [manufacturers], including but not limited to . . .

       24 large wholesalers or distributors like [Amerisource Bergen], Cardinal, HD Smith, McKesson and

       25 Morris & Dickson . . . hold multi-day conferences throughout the year in various locations

       26 throughout the United States. Generic manufacturers [alleged to be Defendants] from across the

       27 United States are invited to attend.” Id., ¶77.

       28

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            1           118.   In addition, industry associations, such as the Healthcare Distribution Alliance

            2 (“HDA”) (formerly known as the Healthcare Distribution Management Association (“HDMA”)),

            3 which represents wholesalers and distributions like McKesson, also hold regular conferences where

            4 industry participants such as generic drug manufacturers and McKesson meet to discuss industry

            5 issues.

            6           119.   McKesson’s senior executives always held leadership roles in the HDA. Mark

            7 Walchirk – President of McKesson’s U.S. pharmaceuticals business – sat on the board of directors of

            8 the HDA and its executive committee during the Class Period. Prior to Walchirk, Paul Julian –

            9 Executive Vice President and Group President – also held similar roles.           McKesson’s co-

       10 conspirators Mylan and Upsher-Smith attended a June 1, 2014 to June 4, 2014 HDMA Business and

       11 Leadership Conference. Teva, Apotex, Heritage, Impax, Lannett, Mylan, Par, Sandoz, Sun, and

       12 Upsher-Smith attended a June 7, 2015 to June 10, 2015 conference, along with Hammergren and

       13 Julian. These conferences provided opportunities for McKesson and the generic manufacturers to

       14 collude.

       15               120.   Similarly, the Association for Accessible Medicines (formerly known as the GPhA) is

       16 “the nation’s leading trade association for manufacturers and distributors of generic prescription

       17 drugs, manufacturers of bulk active pharmaceutical chemicals, and suppliers of other goods and

       18 services to the generic industry.” The GPhA provides an additional forum for frequent in-person

       19 meetings and opportunities to collude.

       20               121.   Furthermore, as customers of generic manufacturers, Defendants were frequently in

       21 contact with their co-conspirators. Defendants touted to investors their close relationships at the

       22 highest levels of the generic drug companies. For example, Hammergren stated that it was the senior

       23 level executives’ responsibility to build relationships with manufacturers and touted: “Our

       24 management team has done a great job of . . . building our relationships with our manufacturer

       25 partners across the globe.” Hammergren stated on January 11, 2016: “And this team does an

       26 excellent job I think of managing the relationships of the generic manufacturing partners, and also

       27 understanding the lay of the land in terms of what might be happening from a policy perspective

       28 within these manufacturers.” And, on January 30, 2014, he stated that “the real strength is really

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            1 coming still out of our generics business . . . . And clearly, the position we have with those

            2 manufacturers continues to improve. We have really built very positive trusting relationships.” At

            3 the annual investor day in 2015, Defendants noted “the willingness of manufacturers at the most –

            4 the highest levels of the organizations to sit down and talk to us.” Consistent with the AG’s findings

            5 (AG Cpt., ¶10), the widespread industry-wide collusive conduct involved executives at “the highest

            6 levels of the organizations.”

            7          I.      The Schemes Involved Executives at McKesson’s Highest Levels and
                               Were Large in Magnitude
            8
                       122.    During the Class Period, Defendants were in the enviable position of possessing real-
            9
                time and detailed knowledge of every aspect of the generic drug market. Defendants touted their
       10
                “huge analytics machine within McKesson.” This machine captured information relating to generic
       11
                drug pricing, the specific manufacturers, the specific markets for generic drugs, “what goes through
       12
                distribution,” and “what goes through retail.” The tentacles of McKesson’s analytics not only
       13
                reached manufacturers’ and customers’ information, but also extended further and further back the
       14
                supply chain to raw materials and the active pharmaceutical ingredients arena through the
       15
                Company’s subsidiary NorthStar. On January 30, 2014, Hammergren acknowledged his use of
       16
                NorthStar as a reconnaissance vehicle: “The visibility we get through Northstar enhances our view
       17
                of the opportunities that exist globally for us as well as some of the challenges that may exist,
       18
                whether it’s plant closures, limited supply of raw materials, or other issues that may come along.
       19
                That Northstar experience helps inform all of McKesson from a sourcing perspective in a very
       20
                positive way.” Defendants used the analytics to manage pricing and profitability. As stated by
       21
                Hammergren during the January 30, 2014 earnings call, “by managing our pricing carefully,”
       22
                Defendants achieved the “very positive drop” to McKesson’s gross profit line. This was important
       23
                because “margin expansion is a priority.”
       24
                       123.    Using the “analytics machine,” Hammergren maintained laser-like focus on generics
       25
                inflation, its causes and drivers, and the manufacturers’ pricing power. While representing to
       26
                investors on January 13, 2014 that manufacturers had “behaved responsibly” in the generics
       27
                marketplace affected by supply issues, Hammergren further stated that, given that “[g]enerics will
       28

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            1 play a role in” McKesson’s fiscal 2015 performance, “our assessment of the generic pricing power

            2 will continue to be important.” By asserting that drug makers were responsible and highlighting his

            3 ongoing evaluation of generic drugs pricing power, Hammergren assured investors of his diligence

            4 and evaluation of the causes of the price increases.

            5          124.   Indeed, during the Class Period, Hammergren and Beer kept vigilant watch on every

            6 element of the generics market. On October 24, 2013, Hammergren attributed McKesson’s success

            7 in attaining the significant pivot in growth to diligence in diving into the details of the generics

            8 business model. He told investors that he had “been able to look carefully at the generic purchasing

            9 patterns . . . on a country-by-country basis” to quantify “[w]hat goes through distribution, what’s

       10 controlled spend, what goes through retail, etc.” He emphasized that nothing could compare to

       11 “really getting inside the business model, and that’s the magic on how we’ve been able to continue

       12 to grow our program as evidence in the results this quarter.”

       13              125.   On June 29, 2016, Hammergren explained that Defendants’ perspective on pricing

       14 was “very well informed” because “we are extremely intimate globally to these manufacturers, we

       15 understand what they are doing around the world on a real-time basis.” He further touted on

       16 November 8, 2016 that, with McKesson’s sourcing initiative, he was endowed with the ability “to

       17 look at generic manufacturers across the globe” with an “opportunity to see how price is behaving in

       18 various markets, from a generic perspective.”

       19              126.   Using information generated on a real-time basis, Hammergren and Beer assessed

       20 generics pricing in detail through quarterly and annual financial modeling and forecasting. On

       21 June 25, 2014, Beer explained to investors that, in projecting sales growth, he “extensively analyzed

       22 both the inflationary elements in the market place,” along with usage and demand. He emphasized

       23 that he “obviously analyzed all of the information” and assured investors that he “will continue to

       24 monitor pricing trends in the market and will provide updates as we communicate our quarterly

       25 results going forward.” Hammergren further emphasized on July 31, 2014 that “our generic price

       26 inflation models the full fiscal year.” On June 11, 2014, Beer represented that he came up with

       27 financial estimates by “tapping into the sourcing knowledge that we have put as a centerpiece of our

       28

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            1 business strategy. And by that, I mean our knowledge of the specific manufacturers, the specific

            2 markets for those drugs.”

            3          127.   Indeed, Defendants had continuous access to real-time, detailed drug-by-drug data

            4 gathered from both customers’ purchases and manufacturers pricing to track profits from the

            5 collusive price increases. Defendants had at their fingertips, a “huge data analytics machine within

            6 McKesson where we provide data and analytics to products, market share, customer bases that is

            7 extremely valuable to the manufacturer.” In return, all manufacturers were required to submit data

            8 using the electronic data interchange’s standardized format. McKesson’s data exchange module was

            9 set up to be compatible with the enterprise planning system commonly used by manufacturers.

       10 Through its module, McKesson collected data submitted by manufacturers, which included drug-by-

       11 drug information such as pricing, quantity, and sales. List prices were loaded into McKesson’s

       12 OneStop platform, with price change notifications required to be sent to McKesson at least one day

       13 prior to the effective date of the price change.

       14              128.   Defendants told investors that they knew the underlying forces driving the generics

       15 inflation and affirmed that the generic drug manufacturers were behaving responsibly in the face of

       16 supply disruption. Defendants assured investors that the market was competitive and McKesson’s

       17 negotiating power along with Defendants’ continual assessment of generics pricing power ensured

       18 competitive pricing for its customers. Defendants spoke frequently and repeatedly about supply

       19 disruption driving the generic drug price inflation that contributed significantly to McKesson’s

       20 profitability. Defendants repeatedly affirmed that their pricing analyses and forecasts were backed

       21 by McKesson’s data machine. As such, armed with real-time, detailed knowledge of every aspect of

       22 the generics market, Defendants knew, or were reckless in not knowing, that McKesson’s financial

       23 results were driven by unsustainable collusive activities.

       24              J.     Eventually Elevated Pricing Drew Governmental Scrutiny, Attracted
                              Competitors, and Eroded Profits
       25
                       129.   As governmental scrutiny increased on the widespread and dramatic generics price
       26
                hikes, Hammergren falsely affirmed that manufacturers were acting “responsibly” and the generics
       27

       28

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            1 market was “competitive” and dismissed the scrutiny as election-year discourse. He also assured

            2 investors that McKesson did not have to worry about being “attacked directly by regulators”:

            3                Hammergren on January 13, 2014: “They [manufacturers] have behaved responsibly
                              in an environment where there are fewer of them in the marketplace and we have
            4                 been able to optimize our performance in that.”

            5                Hammergren on July 29, 2015: “I think we see, as do you that the question of generic
                              inflation has sometimes been driven by the ability for the price to actually benefit the
            6                 generic manufacturers, or otherwise stick in the marketplace. So to the extent that
                              the consolidation provides some of that opportunity, that would be a positive. I think
            7                 that the market remains competitive. I think these consolidations will help eliminate
                              cost.”
            8
                             Hammergren on October 29, 2015: “Pharmaceutical pricing trends have become the
            9                 frequent subject of news headlines as we get deeper into this presidential election
                              cycle. The observation I would make is that this pharmaceutical pricing discussions
       10                     tend to ebb and flow over time.”

       11                    Hammergren on November 10, 2015: “[C]learly, there’s lot of noise in Washington.
                              The political landscape continues to evolve in front of us. And during these election
       12                     cycles, clearly there’s also lots of noise and concern about where the industry might
                              be positively or negatively impacted, depending on who arrives at the finish line in
       13                     the end.”

       14                    Hammergren on January 27, 2016:
       15                     I would say that political discourse that’s taking place, and the
                              Congressional inquiries relative to pricing practices, I think are
       16                     obviously, going to have people at least pausing perhaps to consider
                              whether now is the right time to take a price increase.
       17
                                      There obviously are other circumstances related to pricing
       18                     associated with a supply disruption availability, new product
                              launches. There’s all kinds of things that probably play into the
       19                     calculus there. I would say that I think the political discussion
                              certainly clearly, and the media discussion probably has some impact;
       20                     but to speculate on how much would be difficult.

       21                    Hammergren on May 4, 2016: “[W]e’re not oblivious to the conversation[] that is
                              going on in the media and with the current political activity, and we’re certainly not
       22                     oblivious to the investigations and conversations that have been going on from a
                              congressional perspective into these areas. I think our assumptions are reasonable
       23                     and they are based on our historical work with the manufacturers and certainly
                              buffered by what we see as the current climate. So I would say as we stated today,
       24                     we believe the assumptions are realistic and are likely to occur in the way we have
                              laid them out in our fiscal 2017 guidance.”
       25
                             Hammergren on June 29, 2016:
       26
                              We think our margin structures are such that we won’t be attacked
       27                     directly by regulators and that our view is that the service and support
                              we provide continues to support the business opportunities that are in
       28                     front of us.

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            1                          We’re also very – we do a lot of work in Washington,
                               obviously these candidates are going to come in with their own
            2                  perspectives. But the people that we believe will be incumbents and
                               returning to the Hill we have a very close working relationship with
            3                  and a trusted relationship over decades that have been built. And to
                               the extent that those people remain in their current positions on both
            4                  sides of the aisle we think we have constructive dialogues about not
                               only how to affect the quality and the cost of healthcare in this
            5                  country but perhaps what next steps need to be taken to change some
                               of the things that are underway that aren’t working as well.
            6
                       130.    In truth, Hammergren knew that the generic drug price inflation was not driven by
            7
                supply disruption and manufacturers were not behaving responsibly in a competitive fashion.
            8
                Hammergren admitted that NorthStar provided him with visibility in the manufacturing landscape,
            9
                including issues stemming from raw materials supply and plant closures. For example, on
       10
                January 30, 2014, he assured investors that “[t]he visibility we get through NorthStar enhances our
       11
                view of the opportunities that exist globally for us as well as some of the challenges that may exist,
       12
                whether it’s plant closures, limited supply of raw materials, or other issues that may come along.
       13
                That Northstar experience helps inform all of McKesson from a sourcing perspective in a very
       14
                positive way.” NorthStar provided Defendants with “a closer relationship with the manufacturers
       15
                and pull the product all the way through to the marketplace.”         Ultimately, NorthStar’s close
       16
                relationship with manufacturers and reconnaissance of the manufacturing landscape were so
       17
                effective that it took part in the anticompetitive activities and helped McKesson “capture some of the
       18
                manufacturing margin” from collusion.
       19
                       131.    As intensified governmental scrutiny slowed pricing inflation, on January 11, 2016,
       20
                Hammergren announced an $0.85 per share negative impact for FY17, largely due to “weakness in
       21
                generic pharmaceutical pricing trends.” Furthermore, Beer announced that “consistent with our
       22
                current experience, we now expect only a nominal benefit from generic pharmaceutical pricing
       23
                trends in FY17.” When analysts asked how to apportion the $0.85 between generics pricing versus
       24
                customer contracts, Beer stated that generics pricing was “a very substantial item.”
       25
                       132.    With the announcement of the $0.85 per share negative impact and assumption of
       26
                “nominal benefit” from generics inflation in FY17, Hammergren falsely proclaimed that he had
       27
                “derisked” McKesson’s earnings from generics inflation: “As it relates to what we expect in FY17,
       28

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            1 included in our guidance, we’ve indicated that we have really a nominal level of generic inflation. So

            2 you should read that as, that even if generic inflation was to drop completely to zero across the

            3 board, that our FY17 assumptions basically include that from a perspective is that we have limited

            4 risk now in that plan preliminarily.” Furthermore, “[h]aving set our FY17 objectives with a nominal

            5 rate of benefit from price trends in generics, we think we have derisked our FY17 thinking in that

            6 area.”

            7          133.     In truth, McKesson’s exposure to generics inflation was not de-risked, the Company

            8 was still heavily reliant on inflated prices that were at high risk, as inflated profitability from inflated

            9 pricing drew increased competition targeting the Company’s independent pharmacy book of

       10 business. During the 2Q17 earnings call on October 27, 2016, Beer announced another $1.60 to

       11 $1.90 per share negative impact to earnings – “[o]ur revised outlook includes the impacts of

       12 competitive customer pricing and softness in brand inflation that John just discussed. We expect

       13 these two headwinds to drive a combined reduction of between approximately $1.60 and $1.90 to

       14 our fiscal 2017 adjusted EPS.” And generics pricing competition represented the bulk of the

       15 reduction.

       16              134.     On January 25, 2017, McKesson announced that 3Q17 gross profit had declined 8%

       17 and operating profit had dropped 23% due to “the increased competitive customer pricing activity

       18 we discussed last quarter, the timing of branded manufacturer inflation, and the expected weaker

       19 profit contribution from generic manufacturer inflation trends.” Beer further indicated that “as John

       20 discussed, while our pricing of generic pharmaceuticals in our independent pharmacy channel has

       21 helped us retain share, our pricing is now set at a level lower than our previous expectations. As a

       22 result, we expect the profit contribution from these customers will be reduced versus our previous

       23 guidance.”

       24

       25

       26

       27

       28

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            1          K.     Materially False and Misleading Statements Issued During the Class
                              Period
            2
                              1.      False and Misleading Statements Relating to Generic Drugs
            3                         Price Inflation
            4          135.   On October 24, 2013, McKesson hosted its 2Q14 earnings call with participation by

            5 Hammergren and Beer. During the call, Hammergren made the following materially false and

            6 misleading statements:

            7          [Hammergren:] Based on our performance for the first half of the fiscal year and
                       our improved outlook for the year, we are raising our full year guidance and now
            8          expect to achieve adjusted earnings per diluted share from continuing operations
                       of $8.40 to $8.70.
            9
                              . . . Distribution solutions revenue grew 11% for the quarter and adjusted
       10              operating profit grew 18%. Within our distribution solutions segment our US
                       pharmaceutical business had another quarter of outstanding results . . . .
       11
                              . . . In the second quarter, we continue to experience favorable pricing on
       12              certain products in our generics portfolio, principally driven by a few products
                       where there has been supply disruption.
       13
                       136.   On November 12, 2013, Hammergren presented at the Credit Suisse Healthcare
       14
                Conference and made the following materially false and misleading statements:
       15
                       [Glen Santangelo, Analyst, Credit Suisse:] You just came off a fantastic fiscal
       16              second quarter, raised guidance again for the second time, the magnitude of the beats
                       has been a little bit startling for folks and everyone’s trying to understand how is
       17              McKesson putting up these big gross margin beats. Maybe if you could talk about
                       some of the underlying drivers of the strength in the core pharmaceutical distribution
       18              business and the question that I get a lot is the sustainability of those underlying
                       trends and how you think about that through the balance of the fiscal year?
       19
                                                         *       *       *
       20
                       [Hammergren:] I think that our ability to not only create that value with our
       21              customers but pull through additional value for them over time remains and that’s
                       part of what was evidenced in the quarter. I might also mention clearly there has
       22              been some supply issues associated with generics in the market and some of those
                       supply issues might have caused more price inflation on certain products than
       23              might have otherwise existed in a normal steady state.
       24              137.   On January 13, 2014, Hammergren presented at the J.P. Morgan Healthcare

       25 Conference and made the following materially false and misleading statements:

       26              [Hammergren:] So the question was drug price inflation, generic drug price inflation,
                       and how do we view the rest of this year and do we see it continuing and what are the
       27              drivers of it.

       28

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            1                  But you should be aware of the fact that this is driven in a very small slice
                       of the generic portfolio.
            2
                              It is not all the manufacturers and it is not all the product. It is in a very
            3          small area and we think a lot of that price opportunity has been delivered to the
                       manufacturers because of issues associated with the supply. They have behaved
            4          responsibly in an environment where there are fewer of them in the marketplace
                       and we have been able to optimize our performance in that.
            5
                       138.   On January 30, 2014, McKesson hosted its 3Q14 earnings call with participation by
            6
                Hammergren and Beer. During the call, Defendants made the following materially false and
            7
                misleading statements:
            8
                       [Hammergren:] Distribution Solutions continues to deliver strong operating
            9          performance. In the third quarter, revenue grew 10%, and adjusted operating
                       profit grew 37%.
       10
                              Within our Distribution Solutions segment, our US Pharmaceutical
       11              business had another quarter of outstanding results. Direct distribution and
                       services revenues increased 11% for the quarter.
       12
                               In the third quarter, we continued to experience price inflation in a
       13              relatively small subset of our generics portfolio. Consistent with the expectations
                       we outlined in the second quarter, inflation in our fiscal third-quarter moderated
       14              from what we had experienced in the second quarter.
       15                                                *       *       *

       16                     [Beer:] Distribution Solutions adjusted gross profit increased 27% for the
                       quarter on 10% revenue growth, resulting in a 65 basis point improvement in our
       17              adjusted gross profit margin. In addition to the PSS acquisition, our third-quarter
                       gross profit in Distribution Solutions benefited from continued favorable
       18              performance within our generics pharmaceutical business.
       19                                                *       *       *

       20              [Hammergren:] [T]he real strength is really coming still out of our generics business.
                       Our One Stop revenues were up nicely. The share of wallet we are getting from our
       21              customers who are relying more and more on our generic capabilities and now
                       depending on us to source the right products at the right price for them, has been
       22              very helpful.

       23                                                *       *       *

       24                      That is what delivers a great business and a great business model. I see no
                       reason to believe that we can’t continue to focus on gross margins as a top priority. I
       25              don’t see any negative mix change occurring in our Business, and generics continue
                       to be a propellant across the board if you think about our sourcing.
       26
                       139.   On May 12, 2014, Hammergren and Beer hosted McKesson’s 4Q14 earnings call.
       27
                During the call, Defendants made the following materially false and misleading statements:
       28

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            1                   [Beer:] Adjusted gross profit increased 35% for the quarter and 26% for the
                        full year, to $8.6 billion, primarily driven by strong execution in our distribution
            2           businesses, market growth8 and our acquisitions of Celesio and PSS.
            3                                             *      *       *

            4                  Overall, this year’s earnings per share benefited significantly from the
                        strong performance in our US pharmaceutical business. Specifically, the
            5           favorable performance across our entire portfolio of generic pharmaceutical
                        offerings.
            6
                        140.    The statements in ¶¶135-139 were materially false and misleading or omitted material
            7
                facts. In particular:
            8
                                (a)     Defendants’ statements above that generic drug price inflation was driven by
            9
                “few” or a “small subset” of products with “supply disruption” and “supply issues” were materially
       10
                false and misleading when made because the price hikes driving McKesson’s financial results were
       11
                implemented on drugs for which no supply disruption had in fact occurred. As described in the AG
       12
                Complaint and confirmed by Plaintiff’s investigation and statistical analysis, dozens of price hikes
       13
                were the result of collusive behavior. In addition, by May 2014, at least 31 drugs had experienced
       14
                price increases of more than 50% without any supply disruption, and at least another three drugs
       15
                were found by the AGs to have been propped up by market allocation schemes. These 34 drugs had
       16
                annual sales of more $4.7 billion.
       17
                                (b)     Defendants’ statements above concerning McKesson creating value and
       18
                sourcing products at “the right price” for its customers in the face of generic drug price inflation
       19
                were materially false and misleading when made because instead of negotiating lower prices for its
       20
                customers, McKesson: (i) participated in or acquiesced to the price hikes instituted by the
       21
                manufacturers; and (ii) used its aggregated customer purchase volume as leverage to collect higher
       22
                discounts from generic drug manufacturers for itself.
       23
                                (c)     Defendants’ statements above concerning McKesson’s revenues and
       24
                profitability were materially false and misleading when made because McKesson’s financial results
       25

       26

       27
                8
              “Market growth” was defined in the 2014 Form 10-K as “reflecting growing drug utilization and
       28 price increases.” See ¶171.

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            1 were materially impacted by unsustainable generic drug price hikes, including price increases driven

            2 by collusive activities.

            3                 (d)        Defendants’ statements above concerning guidance were materially false and

            4 misleading when made because the guidance was unrealistic, lacked a reasonable basis, and failed to

            5 account for the unsustainability of McKesson’s growth.

            6          141.   On May 20, 2014, Beer participated in the UBS Global Healthcare Conference and

            7 made the following materially false and misleading statements:

            8                  [Beer:] Well we would continue, as was the case last year, to expect that the
                       price increases would be driven by a relatively small proportion of the overall
            9          portfolio of generic drugs that we distribute. And we would also continue to expect
                       that those drugs prices would be increasing as a result of some sort of supply
       10              disruption. And there can be different types of those disruptors, whether it’s the
                       FDA going in to a particular plant and shutting it down for some period of time,
       11              whether it is a specific manufacturer deciding to close down a product line within
                       their operation for their own return on investment needs. It can be different
       12              things.
       13                     But we would continue to expect those supply disruptions to really be the
                       driving force underpinning those expected price increases.
       14
                       142.   On June 11, 2014, Beer participated in the Goldman Sachs Healthcare Conference
       15
                and made the following materially false and misleading statements:
       16
                       [Bob Jones, Analyst, Goldman Sachs:] Another big topic that I think people think a
       17              lot about in this environment is price inflation, and specifically generic price
                       inflation. You know, your guidance called for high single digit generic price
       18              inflation. I was just wondering if you could share a little bit.

       19                      What do you think has been driving generic price inflation or even in some
                       cases the lack of deflation relative to what I think we grew accustomed to years ago?
       20              And how sustainable do you think that is, as we not only look out to this year but for
                       the next several years for the industry?
       21
                              [Beer:] I think what has been driving it in this past year, fiscal 2014, and
       22              what we are expecting to continue into 2015, is really some measure of supply
                       disruption. The causes of those supply disruptions can differ. Sometimes they will
       23              be FDA driven where the FDA comes in and shuts down the plant for one reason
                       or another.
       24
                               Other supply disruptions will be driven by where a specific manufacturer
       25              deciding to make a decision about a plant of theirs or a line within a plant for
                       purposes of their own capital return needs. So it can be driven by a variety of
       26              factors. But at the heart of it is our view that it is a supply disruption that is
                       driving the price increase, and we are seeing these price increases on a very small
       27              proportion of the overall set of pharmaceuticals that we distribute.
       28

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            1                 And that was the case again in fiscal 2014, where we saw double-digit type
                       growth in prices year over year. We expect that to continue to be the case in fiscal
            2          2015, where we expect a lesser percentage growth rate, high single digits is what
                       we said. But those you are alluding to, still that is significantly higher than what
            3          we’ve seen in the last several years prior to fiscal 2014.
            4          143.   On June 25, 2014, McKesson hosted its annual investor day with participation by

            5 Hammergren, Beer and senior executives of the Company. During the conference, Defendants made

            6 the following materially false and misleading statements:

            7          [Paul Julian, EVP and MDS Group President, McKesson Corporation:] We had
                       generated significant operating cash flow on our US Pharma business . . . . And as
            8          you’ll hear later on, we continue to expand our operating margins in our largest
                       core business which is US Pharmaceutical.
            9
                                                         *       *       *
       10
                       [Beer:] Well, looking back over the last several years, the distribution segment
       11              team has driven an impressive 5% compound annual growth rate at the top line.
                       And they have been able to leverage that into a 14% CAGR at the operating profit
       12              line.
       13                                                *       *       *

       14                      In terms of manufacturer economics, both on the branded side and on the
                       generic side of the business, this translates through into benefits for us around
       15              price increases.
       16              144.   On July 31, 2014, Hammergren and Beer hosted McKesson’s 1Q15 earnings call and

       17 made the following materially false and misleading statements:

       18                      [Hammergren:] Within our US pharmaceutical business, we also
                       experienced solid growth across our portfolio of generic and brand
       19              pharmaceuticals, driven in part by the timing of certain generic and brand price
                       increases, which came earlier in the fiscal year than we had originally planned. It is
       20              important to note, however, that our full-year expectations for both brand and generic
                       inflation remain unchanged.
       21
                                                         *       *       *
       22
                               [Beer:] In addition, as John mentioned, this quarter we recorded solid growth
       23              across our portfolio of generic and branded pharmaceuticals, driven in part by the
                       timing of certain generic and brand price increases, which came earlier in the
       24              fiscal year than we had originally planned. On a constant-currency basis,
                       revenues increased 15%.
       25
                       145.   On September 9, 2014, Beer participated in the Morgan Stanley Healthcare
       26
                Conference and made the following materially false and misleading statements:
       27
                              [Beer:] It has certainly been an important financial driver in the last few
       28              quarters. What we said at the outset of the year when we gave our annual

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            1          guidance was that we expected high single digit growth from generic price
                       increases or importantly, generics that are beyond their exclusivity period so a little
            2          more mature than the brand new brands to generic conversion drugs. We see this
                       playing out thus far so we are very much speaking to that view for the full year.
            3
                              In Q1 we saw a little bit of acceleration of some of those price increases
            4          both on the brand and the generic side coming a little earlier than we expected but
                       very much reaffirming the full year view of high single digit growth rates year over
            5          year. That is a little bit less than what we saw last year where it was double digit
                       growth rate but still in a broader historical context, quite strong.
            6
                               Our experience continues to be that we are seeing these price increases
            7          where there is some sort of supply disruption occurring in the market for that
                       molecule and that occurring broadly for two reasons. Either the FDA has gone
            8          into a plant, shut it down, shut down a line within a plant for some period of time
                       or alternatively, we are seeing some generic manufacturers making decisions to
            9          shut down a line for one type of a molecule, perhaps switch that capacity into an
                       alternative molecule that they judge can give a better return on their capital
       10              invested for their investors.
       11                     So it is very much supply disruption driven in our view and of course, we
                       are seeing that happen in a relatively small proportion of the generic
       12              manufacturers and within those manufacturers, a relatively small proportion of
                       their molecules, their drugs. Where we do see a price increase occurring around a
       13              molecule, it can sometimes be quite high. So that is the situation that we are
                       seeing play out around generic price inflation.
       14
                       146.   On September 30, 2014, Beer participated in the Leerink Partners Services
       15
                Roundtable and made the following materially false and misleading statements:
       16
                               [Beer:] We continue to see the product inflation being driven by supply
       17              shortages of really a couple of flavors either where the FDA is taking some action
                       around enforcement that is shutting down a line or a plant at a particular
       18              manufacturer. Or the other flavor really being where a manufacturer has for their
                       own financial return reasons, their own resource allocation priorities, elected to do
       19              likewise to shut down a plant, maybe a line, maybe reduce capacity on a line, some
                       flavor of that sort of activity that reduces the overall supply of a drug from that one
       20              source providing opportunity for other sources to raise prices.
       21                     Now it’s important, I think, to note that we continue to see this occurring
                       on a really small minority of the generic pharmaceuticals with which we work. So
       22              a small minority of the manufacturers, and then within that subset, them taking a
                       small minority of the pharmaceuticals that they manufacture.
       23
                              That said, sometimes the price increases that do occur can be quite large in
       24              percentage terms in a particular molecule. So we are continuing to see that play
                       out as we have discussed in recent quarters.
       25
                       147.   On October 28, 2014, McKesson hosted its 2Q15 earnings call with participation by
       26
                Hammergren and Beer. During the call, Defendants made the following materially false and
       27
                misleading statements:
       28

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            1                 [Beer:] Distribution Solutions adjusted gross profit increased 58% for the
                       quarter on 37% revenue growth, resulting in an 80 basis point improvement in our
            2          adjusted gross profit margin, driven by our acquisition of Celesio and market
                       growth.
            3
                                                          *       *       *
            4
                              As a reminder, for the full year our expectations for branded and generic
            5          drug price inflation remain unchanged . . . .
            6                                             *       *       *

            7          [Robert Jones, Analyst, Goldman Sachs:] I guess just my follow up around generic
                       purchasing, there is some chatter or concern in the marketplace that maybe some of
            8          the synergies that were originally mapped out on paper relative to these purchasing
                       consortiums might not be translating at the actual negotiations level with generic
            9          manufacturers. I’m just wondering if you could comment around how your
                       negotiations have progressed as you’ve gone out to the generic manufacturers around
       10              buying better with more scale, and any change relative to the original or previous
                       expectations that you laid out around the procurement benefit?
       11
                                                          *       *       *
       12
                       [Hammergren:] We continue to build our book of business which adds significant
       13              value to the manufacturing partners that are part of our solution going forward,
                       and deliver significant value to the customers that have availed themselves of not
       14              only the price points that are available through McKesson because of our scale, but
                       also to the service offering that we make available to our customers that take them
       15              out of the logistics business that is clearly more superior coming from McKesson.
                       So I would say that we remain extremely optimistic, and the data that we’re seeing
       16              continues to positively reinforce the decisions we’ve made around generic
                       sourcing.
       17
                       148.    On January 13, 2015, Hammergren and Beer participated in the J.P. Morgan
       18
                Healthcare Conference and made the following materially false and misleading statements:
       19
                               [Hammergren:] One of the highlights is our ability to help our customers
       20              do a better job in sourcing generics. . . . [T]he Health Mart independent pharmacy
                       franchise which now numbers in excess of 3,500 stores where they also have
       21              provided us the responsibility for negotiating their product purchases as well as
                       many other aspects of optimizing the performance of the Health Mart pharmacies.
       22
                                                          *       *       *
       23
                               [Beer:] We very much feel as though we’re right on track with the guide
       24              that we offered right at the start of the fiscal year for high single digit generic price
                       inflation for drugs outside of the exclusivity period. And so we’re very much
       25              continuing to see some sort of supply disruption at the root of these price increases,
                       whether it’s from a government related action, whether it’s shutting down a line or
       26              a plant or backlog of approvals or whether it’s a manufacturer taking a decision
                       on their own to reallocate their capital. So, some sort of driver of supply disruption
       27              and as we see things today, we don’t expect that to change.
       28

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            1          149.    On February 5, 2015, McKesson hosted its 3Q15 earnings call, with participation by

            2 Hammergren and Beer. During the call, Defendants made the following materially false and

            3 misleading statements:

            4          [Beer:] Distribution Solutions adjusted gross profit increased 63% for the quarter
                       on 38% revenue growth, resulting in an 87 basis point improvement in our
            5          adjusted gross profit margin, driven by our acquisition of Celesio and to market
                       growth.
            6
                                                          *       *       *
            7
                               [George Hill, Analyst, Deutsche Bank:] I guess, John, noticeably absent from
            8          the commentary this call was thoughts on generic drug price inflation. A few of your
                       peers have talked about motivating generic drug price inflation. I thought you might
            9          give us an update on what the customer’s is saying?

       10                      [Hammergren:] Our view on generic price inflation is basically in line with
                       how we viewed the year as we came into the year. We said that we felt it was going
       11              to be generally flat with last year, perhaps slightly down compared to prior year. I
                       think our view has remained consistent and remains consistent as we think about
       12              what we have accomplished in the first three quarters and what we have in front of
                       us.
       13
                       150.    On March 3, 2015, Beer participated in the Cowen Health Care Conference and made
       14
                the following materially false and misleading statements:
       15
                       [Unidentified Participant:] But maybe the one that’s probably on top of mind a lot of
       16              people is generic inflation. A lot of commentary may be at the start of the earnings
                       season that kind of suggests that things had slowed down, now starting to hear more
       17              commentary on things maybe picking back up. How do you guys see the inflation
                       environment currently, and what are sort of the puts and takes on how could that help
       18              investors think about what to expect going forward?

       19                      [Beer:] Certainly, when we started our fiscal year we indicated that we
                       expected to see generic inflation in the high single-digit percentage growth rate levels
       20              year over year. So a little bit less than what we had seen in fiscal 2014, but fell in
                       advance in the higher levels than we had seen historically down through the years.
       21              And we are now into our fourth quarter of fiscal 2015, and we are generally seeing
                       things track along pretty much as we had expected. We continue to see some sort of
       22              supply disruption at the heart of these increases in generic prices, whether it is as a
                       result of the FDA shutting down the line as a manufacturer, whether it’s the FDA
       23              just being behind on applications, the new generics, or whether it’s a manufacturer
                       taking a decision to shift the way they invest their capital from one line, from one
       24              product, one molecule to another based on their own return-on-capital needs. So
                       that’s a set of points, really, that’s been pretty consistent throughout this fiscal year
       25              for us. So no particular change from what we expected right at the start.
       26                                                 *       *       *

       27              [Beer:] And so I think the FDA has a significant challenge ahead of itself to be able
                       to, in essence, assure the quality of the drugs being produced in all the different
       28

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            1          countries and different plants around the world. So I wouldn’t necessarily say or
                       necessarily assume that the FDA issues that I refer to are transitory.
            2
                       151.   On May 12, 2015, Hammergren and Beer hosted McKesson’s 4Q15 earnings call and
            3
                made the following materially false and misleading statements:
            4
                              [Beer:] For the full year, adjusted gross profit increased 36% to $11.8 billion,
            5          primarily driven by our acquisition of Celesio and market growth, including strong
                       execution in our distribution businesses.
            6
                                                         *       *       *
            7
                               For the full year, adjusted net income from continuing operations totaled $2.7
            8          billion and our adjusted earnings per diluted share from continuing operations was
                       $11.11. Overall, this year’s adjusted earnings per share benefited significantly
            9          from our mix of business, specifically the favorable performance across our entire
                       portfolio of generic pharmaceutical offerings and the contribution from our
       10              acquisition of Celesio.

       11                                                *       *       *

       12                     Let’s now turn to the segment results which can be found on Schedules 3A
                       and 3B. On a constant currency basis, Distribution Solutions total revenues
       13              increased 23% for the quarter and increased 33% for the full year. Revenue growth
                       was driven primarily by our acquisition of Celesio and market growth in our North
       14              America pharmaceutical distribution and services business.
       15                      During FY16, we anticipate Distribution Solutions revenues will increase by
                       a mid single digit percentage over the prior year, driven by expected market growth
       16              and our mix of business. North American distribution business revenues increased
                       18% on a reported basis and 19% on a constant currency basis for the quarter.
       17
                                                         *       *       *
       18
                               As we look ahead to FY16, we expect continued growth in segment-adjusted
       19              operating profit, driven by the contribution from our generic business, specifically
                       from expanded one-stop sales, and the breadth and depth of our global sourcing
       20              efforts. In addition, we expect branded pricing trends to be consistent with the prior
                       year and anticipate generic drug pricing trends slightly below those observed in
       21              FY15.
       22                                                *       *       *

       23                     [Glen Santangelo, Analyst, Credit Suisse:] Thanks and good evening. I also
                       want to follow up with one quick question on the guidance. It seems like one of the
       24              components of your guidance you talk about maybe lower pricing on the generic side
                       in FY16 versus FY15. It’s nice to have a conference call that’s not dominated about
       25              generic price inflation. But, John, I’m curious, could you give us your perspective in
                       terms of what you’re seeing there? And are you actually seeing any changes in the
       26              market or do you just believe it’s prudent to assume some level of normalization?
                       Thanks.
       27
                              [Hammergren:] Glen, I think you hit the same word I was going to use and
       28              that was prudent. I think we’ve seen a very robust cycle of generic inflation, at

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            1           least as we view it, and clearly we expect it to continue. We expect it to moderate
                        slightly as we give our guidance for next year.
            2
                        152.    The statements in ¶¶141-151 were materially false and misleading or omitted material
            3
                facts. In particular:
            4
                                (a)        Defendants’ statements above that generic drug price inflation was driven by
            5
                “small” number of products or molecules with “supply disruption” or “supply shortages” were
            6
                materially false and misleading when made because the price hikes driving McKesson’s financial
            7
                results were implemented on drugs for which no supply disruption had in fact occurred. As
            8
                described in the AG Complaint and confirmed by Plaintiff’s investigation and statistical analysis,
            9
                dozens of price hikes were the result of collusive behavior. In addition, by May 2015, at least 70
       10
                drugs had experienced price increases of more than 50% without any supply disruption, and at least
       11
                another three drugs were found by the AGs to have been propped up by market allocation schemes.
       12
                These 73 drugs had annual sales of more $11.8 billion.
       13
                                (b)        Defendants’ statements above concerning McKesson sourcing products at “the
       14
                right price” for its customers, its ability to help its customers, and its “responsibility for negotiating
       15
                their product purchases” were materially false and misleading when made because instead of
       16
                negotiating lower prices for its customers, McKesson: (i) participated in or acquiesced to the price
       17
                hikes instituted by the manufacturers; and (ii) used its aggregated customer purchase volume as
       18
                leverage to collect higher discounts from generic drug manufacturers for itself.
       19
                                (c)        Defendants’ statements above concerning McKesson’s revenues and
       20
                profitability were materially false and misleading when made because McKesson’s financial results
       21
                were materially impacted by unsustainable generic drug price hikes, including price increases driven
       22
                by collusive activities.
       23
                                (d)        Defendants’ statements above concerning guidance were materially false and
       24
                misleading when made because the guidance was unrealistic, lacked reasonable basis, and failed to
       25
                account for the unsustainability of McKesson’s growth.
       26
                        153.    On May 13, 2015, Beer participated in the Bank of America Merrill Lynch Health
       27
                Care Conference and made the following materially false and misleading statements:
       28

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            1                  [Beer:] Turning to FY2016, we were very pleased to be able to issue full-year
                       guidance – in essence, 12% to 16% EPS growth on a constant currency basis. Again,
            2          coming off already strong FY2015 results; we are calling for continued growth and
                       strength right across the Distribution Solutions business. Again, our generics
            3          business is very important to us and in very good condition.
            4                                             *       *       *

            5                 [Robert Willoughby, Analyst, BofA Merrill Lynch:] In the high end and the
                       low end of the guidance range, what gets you to that high end, what gets you to the
            6          low end of the range?

            7                  [Beer:] Well, we talked about a few of the factors in our guide yesterday.
                       Obviously generic price increases were an increasingly important factor during
            8          fiscal 2015 and I think that will be the case again in 2016. What we’re expecting is
                       generally generic drug pricing – might be price increases might be a little softer
            9          than we experienced in fiscal 2015. To the extent that that’s a conservative guide
                       then I think we can drift towards the north end of the range. To the extent that
       10              that’s too aggressive a guide, and those price increases don’t come through to the
                       same degree, then I would expect to be towards the lower end of that range. So I
       11              think that’s one important factor.
       12                                                 *       *       *

       13                      Well it’s an important component of the overall customer mix and one of the
                       very significant values that we bring to those independent pharmacies that sign up for
       14              the Health Mart banner, if you will, is the one-stop program. And that is our generic
                       formulary which we buy at scale in an extremely efficient way and are able to pass
       15              through the benefits of those drug prices to those independent stores who are
                       obviously competing locally against much bigger chains.
       16
                       154.    On June 9, 2015, Beer participated in the Goldman Sachs Healthcare Conference and
       17
                made the following materially false and misleading statements:
       18
                                [Robert Jones, Analyst, Goldman Sachs:] I guess if we take a step back and
       19              look out longer-term, and I think, again, this probably applies more to the generic
                       inflation, but do you think that we will continue to operate in an inflationary
       20              environment with generics as we think out two, three, five years down the road, or
                       is this eventually a commodity business that, as you guys see it, would revert back
       21              to what it’s done historically, which is deflate?
       22                     [Beer:] Well, we’ve talked about there being, really, three drivers of the
                       generic price increases in the last couple of years or so, and at the heart, really, it’s
       23              some sort of supply disruption that has been driving those price increases.
       24                      And so there’s three themes are really the FDA backlog, which doesn’t
                       appear to be getting shorter. The FDA taking some action that closes down a line
       25              or a plant at a particular manufacturer. Or a generic manufacturer making a
                       decision on their own to shut a line or a plant for their own capital allocation, their
       26              own return needs. And we don’t see anything particularly different out into the
                       future in any of those three regards, but it’s hard to predict.
       27

       28

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            1         155.    On June 24, 2015, McKesson hosted its annual investor day with participation by

            2 Hammergren, Beer and other senior executives. During the conference, Defendants made the

            3 following materially false and misleading statements:

            4                 [Mark Walchirk, President, US Pharmaceutical, McKesson Corporation:]
                      And certainly, we continue to access a wide range of manufacturers across the
            5         generics environment, and that flexibility from a sourcing standpoint again allows
                      us to make sure we have a competitive price in the marketplace, industry-leading
            6         service levels, et cetera.

            7                And finally, it is amazing to think that we are above a decade now of our
                      Northstar private label. That’s been an important growth vehicle for us in
            8         generics. And we continue to launch new molecules, we continue to source new
                      manufacturers to work with us in Northstar, and we certainly have a good
            9         opportunity to continue to grow that in the coming years.
       10                                                 *       *       *

       11                     [Dave Larsen, Analyst, Leerink Partners:] Can you just talk about generic
                      inflation? What is driving it? And how is it trending relative to your expectations?
       12
                                                          *       *       *
       13
                             [Beer:] And we continue to see the underlying drivers as some sort of supply
       14             disruption whether it’s the FDA backlog, whether it’s the FDA actions around a
                      particular manufacturer’s planned or line, or whether it’s an individual
       15             manufacturer taking a decision around their own capacity, consistent with our
                      own capital return goals.
       16
                              So we don’t see any change in that dynamic. As John said, it’s expecting –
       17             directionally it will hold a little bit less of the pricing dynamic this year versus last.
                      And that was a reflection of the fact that we saw a little bit of softening sequentially
       18             in the last couple of quarters of fiscal 2015.
       19             156.    On July 29, 2015, Hammergren and Beer hosted McKesson’s 1Q16 earnings call and

       20 Hammergren made the following materially false and misleading statements:

       21                    [David Larsen, Analyst, Leerink Partners:] Can you comment on the TEVA
                      and Allergan transaction? Is that material or not with respect to generic inflation?
       22             Our checks indicate that as the generic industry consolidates, sometimes
                      manufacturers raise price because they can. Just any thought here would be helpful.
       23             Thanks.

       24                     [Hammergren:] Well, we clearly have a very strong working relationship with
                      both TEVA and Allergan. I think we see, as do you that the question of generic
       25             inflation has sometimes been driven by the ability for the price to actually benefit
                      the generic manufacturers, or otherwise stick in the marketplace. So to the extent
       26             that the consolidation provides some of that opportunity, that would be a positive. I
                      think that the market remains competitive. I think these consolidations will help
       27             eliminate cost. But I also think that McKesson’s position in the market will continue
                      to afford us an opportunity to work with these very large companies in a very
       28             positive way for both parties.

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            1                                            *      *       *

            2                  [George Hill, Analyst, Deutsche Bank:] First a quick one, are there any
                       situations where generic drug prices inflate where you don’t benefit?
            3
                                                         *      *       *
            4
                       [Hammergren:] I think it’s probably better said that we try to optimize our value to
            5          the generic companies in a way where we benefit and they benefit. But at the same
                       time, we have to stay extremely disciplined and diligent around making sure that
            6          our customers are also benefiting through our action in the supply chain. That’s
                       been our priority and will remain our priority.
            7
                       157.   On September 16, 2015, Beer participated in the Morgan Stanley Healthcare
            8
                Conference and made the following materially false and misleading statements:
            9
                               [Beer:] Well, we’ve been very pleased with our progress around NorthStar
       10              and then also have the Sivem equivalent offering up in Canada. So in multiple
                       environments, we’ve been very successful and on the front foot – the leading edge,
       11              if you will, of this dynamic. I think there’s absolutely more opportunity for growth
                       down both the NorthStar and Sivem path.
       12
                              And that said, we need to be thoughtful about the balance between growing
       13              that private label set of offerings and the relationships that we have with our
                       various manufacturing partners. So there’s always going to be a certain amount
       14              of balancing act there. Traditionally, NorthStar has focused on the more mature
                       molecules. We tend to have more competitors. So that’s an important
       15              consideration, as we think how to further progress activity at NorthStar, but very
                       comfortable with their progress and pleased about their growth opportunities.
       16
                       158.   On October 29, 2015, Hammergren and Beer hosted McKesson’s 2Q16 earnings call
       17
                and Beer made the following materially false and misleading statement:
       18
                              [Beer:] Distribution Solutions adjusted gross profit of $2.6 billion decreased
       19              1% on reported basis and increased 4% on a constant currency basis to $2.7 billion.
                       Adjusted gross profit was impacted by growth and demand from our largest
       20              customers and weaker generic pricing trends compared to the prior year . . . .
       21              159.   On November 10, 2015, Hammergren presented at the Credit Suisse Healthcare

       22 Conference and made the following materially false and misleading statements:

       23                     [Hammergren:] Let me talk a little bit about our North American
                       pharmaceutical distribution business in particular. Clearly, our distribution
       24              businesses in the US have grown very strongly . . . .

       25                                                *      *       *

       26                      We have been focused heavily on sourcing in our business for some time,
                       and that sourcing value has been delivered both in terms of our NorthStar private
       27              label in the pharmaceutical side, but also our Medical-Surgical business . . . .
       28

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            1                We’ve been working to bring our value to our customer base, our ability to
                       aggregate scale and help our customers buy at a competitive rate.
            2
                       160.   On January 11, 2016, Hammergren and Beer hosted a conference call to discuss
            3
                McKesson’s preliminary fiscal 2017 outlook and made the following materially false and misleading
            4
                statements:
            5
                              [Hammergren:] As it relates to what we expect in FY17, included in our
            6          guidance, we’ve indicated that we have really a nominal level of generic inflation.
                       So you should read that as, that even if generic inflation was to drop completely to
            7          zero across the board, that our FY17 assumptions basically include that from a
                       perspective is that we have limited risk now in that plan preliminarily.
            8
                                                         *       *       *
            9
                               [Garen Sarafian, Analyst, Citigroup:] Okay, fair enough. And I guess if I
       10              could just have a follow-up to that. Is there any better way to describe your level of
                       conservatism in generic inflation assumptions for next year relative to the past?
       11
                               [Hammergren:] It’s down quite significantly from what we experienced in
       12              FY15, and certainly way down from what we experienced in the first half of FY16.
                       And it’s really consistent with what we are experiencing right now and will
       13              experience in the fourth quarter, which we think is a real – basically a nominal rate
                       of inflation for generics. And, James, you might have something to add.
       14
                               [Beer:] Yes, I’d just add that our assumption around generic price inflation
       15              is actually at a rate lower than what was, if you will, the run rate prior to the more
                       recent years where we’d seen a significant increase in this economic effect.
       16
                              [Hammergren:] To roll back several years ago.
       17
                              [Beer:] Yes.
       18
                                                         *       *       *
       19
                       [Hammergren:] I don’t think there’s any change in the fundamental competitiveness,
       20              structure or attractiveness of McKesson going forward. Other than the fact that we
                       did a superior job I believe in our generic activity, and benefited significantly from
       21              our teams focused on taking advantage of the available opportunities. It’s one
                       thing to have price inflation in the generic focus, it’s another thing to capture
       22              value for our shareholders when that inflation occurs. And we did a marvelous job
                       of accomplishing that over the last several years, and benefited from it. Now that
       23              that opportunity set is waning, it doesn’t matter how good our team is at exercising
                       their skill set against the opportunity. There’s just not enough inflation left in the
       24              system for us to benefit from it, and that’s a big portion of the challenge that we
                       face as we think about next year.
       25
                               Having set our FY17 objectives with a nominal rate of benefit from price
       26              trends in generics, we think we have derisked our FY17 thinking in that area.
       27              161.   On January 27, 2016, Hammergren and Beer hosted McKesson’s 3Q16 earnings call

       28 and Beer made the following materially false and misleading statements:

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            1           [Beer:] Distribution Solutions’ adjusted gross profit of $2.5 billion decreased 3% on
                        a reported basis, and increased 1% on a constant-currency basis, to $2.6 billion.
            2
                               Overall, the third-quarter adjusted gross profit reflected our mix of business,
            3           including a growing proportion of specialty pharmaceuticals, a weaker profit
                        contribution from generic pricing trends when compared to the prior year . . . .
            4
                                                           *       *       *
            5
                        Many of our independent customers have continued to join us in the generic
            6           procurement side, and have become more and more reliant on McKesson’s ability
                        to help them reduce their cost and improve their performance.
            7
                        162.    On May 4, 2016, Hammergren and Beer hosted McKesson’s 4Q16 earnings call and
            8
                Hammergren made the following materially false and misleading statements:
            9
                        [Hammergren:] However, on a small group of generic drugs, as we have in the
       10               past, we expect we will continue to experience price increases.
       11                       When we talk about generic inflation at McKesson, we are specifically
                        referring only to the small subset of generics that experience a price increase. As
       12               we think about fiscal 2017 we expect a nominal contribution from those generic
                        pharmaceuticals that will increase in price.
       13
                                                           *       *       *
       14
                                I know that customer consolidation, which impacted us in fiscal 2016, has
       15               caused some to question the scale and competitiveness of McKesson’s generic
                        pharmaceutical sourcing. To me there is no better proof point than some of the
       16               examples I just walked you through, while we continue to expand our customer
                        relationships, win new customers, deliver strong growth in our one-stop proprietary
       17               generics program, and rapidly expand the number of independent pharmacies who
                        see real value to their bottom line by joining Health Mart.
       18
                        163.    The statements in ¶¶153-162 were materially false and misleading or omitted material
       19
                facts. In particular:
       20
                                (a)     Defendants’ statements above that the generic drug market “remains
       21
                competitive” and that generic drug price inflation was driven by “small group of generic drugs” or
       22
                “supply disruption” were materially false and misleading when made because the price hikes driving
       23
                McKesson’s financial results, including NorthStar’s collusive price hikes, were implemented on
       24
                drugs for which no supply disruption had in fact occurred. As described in the AG Complaint and
       25
                confirmed by Plaintiff’s investigation and statistical analysis, dozens of price hikes were the result of
       26
                collusive behavior. In addition, NorthStar derived collusive profits for McKesson from its collusive
       27
                behavior. Finally, by May 2016, at least 79 drugs had experienced price increases of more than 50%
       28

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            1 without any supply disruption, and at least another four drugs were found by the AGs to have been

            2 propped up by market allocation schemes. These 83 drugs had annual sales of more $14.8 billion.

            3                  (b)    Defendants’ statements above concerning McKesson’s ability to help

            4 customers reduce costs and improve performance and McKesson being “extremely disciplined and

            5 diligent” to ensure its customers were “benefiting through our action in the supply chain,” helping

            6 “customers buy at a competitive rate,” passing through “the benefits of” drug prices to its customers,

            7 and attaining “competitive price in the marketplace” were materially false and misleading when

            8 made because, instead of negotiating lower prices for its customers, McKesson: (i) participated in or

            9 acquiesced to the price hikes instituted by the manufacturers; and (ii) used its aggregated customer

       10 purchase volume as leverage to collect higher discounts from generic drug manufacturers for itself.

       11                      (c)    Defendants’ statements above concerning NorthStar having many competitors

       12 in the market and about its growth and success were materially false and misleading when made

       13 because: (i) NorthStar was in collusive relationships with generics manufacturers to hike prices for

       14 generic drugs; and (ii) NorthStar’s profitability was driven by anticompetitive activities.

       15                      (d)    Defendants’ statements above concerning McKesson’s revenues and

       16 profitability were materially false and misleading when made because McKesson’s financial results

       17 were materially impacted by unsustainable generic drug price hikes, including price increases driven

       18 by collusive activities.

       19                      (e)    Defendants’ statements above concerning guidance, or derisking or having

       20 “limited risk” in the guidance, were materially false and misleading when made because the

       21 guidance and its assumptions were unrealistic, lacked a reasonable basis, and failed to account for

       22 the unsustainability of McKesson’s growth.

       23              164.    On June 29, 2016, McKesson hosted its annual investor day with participation by

       24 Hammergren, Beer and other senior executives. During the call, Defendants made the following

       25 materially false and misleading statements:

       26                      [Hammergren:] So let me talk a little bit about the three big themes that we
                       think are on your minds. Clearly generics continues to be a very important part of
       27              McKesson’s profitability profile and our strategy. I know some of you believe that
                       we’re in the waning phases of generics, but we think we are continuing to see great
       28              opportunities in generics.

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            1                  Our generic strategy is really led through our ability to attract customers
                        into our platform of sourcing. And if we can create an opportunity for customers
            2           to benefit from sourcing their generics 100% through McKesson we can bring that
                        market share into the market with the manufacturers and deliver real value to both
            3           our manufacturing partners as well as our pharmacy customers.
            4                                             *       *       *

            5                  [Mark Walchirk, President, U.S. Pharmaceutical, McKesson Corporation:]
                        NorthStar continues to be a great growth vehicle for us where actually it’s not new
            6           anymore, it’s over 10 years. We continue to grow our NorthStar portfolio.
                        Obviously, the channels that we continue to expand and give us more of an
            7           opportunity to grow this portfolio.
            8                   And so as we think about the generics business going forward, we certainly
                        are confident in our ability to continue to grow our scale and to bring tremendous
            9           value to our customers and certainly also to McKesson and to the manufacturers.
       10                                                 *       *       *

       11                       [Hammergren:] As it relates to our negotiation with manufacturers, I don’t
                        want to get necessarily into the details. But you can imagine that as Paul said
       12               earlier given that we are extremely intimate globally to these manufacturers, we
                        understand what they are doing around the world on a real-time basis, not only in
       13               terms of the negotiating teams we have at a country level but also our global team in
                        London.
       14
                                We have a perspective that I think is very well informed. And one of the
       15               things that we have a responsibility to do on a regular basis is to make sure that the
                        product pricing we’re giving to our customers is extremely competitive.
       16
                        165.    On September 13, 2016, Beer participated in the Morgan Stanley Global Healthcare
       17
                Conference and made the following materially false and misleading statements:
       18
                        [Ricky Goldwasser, Analyst, Morgan Stanley:] I think between your reported
       19               earnings and your analyst day – you’ve already kind of grown Health Mart at double
                        digit rate and above market. So one, what’s driving the growth? Where are you
       20               taking share? And second, is this an example of an asset that you can show the
                        manufacturer as you have these conversations and is this unique for McKesson?
       21
                                                          *       *       *
       22
                        [Beer:] So the reason that Health Mart has grown nicely over recent years, and
       23               consistently so, have been many. But I think you can summarize them around
                        bringing to the independent pharmacy attractive drug pricing. So that feeds back
       24               into the One Stop program, our sourcing volumes, our capability to buy drugs at
                        attractive prices and share that pricing with the independent pharmacy.
       25
                        166.    The statements in ¶¶164-165 were materially false and misleading or omitted material
       26
                facts. In particular:
       27

       28

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            1                 (a)    Defendants’ statements above concerning how McKesson, through its

            2 generics program, provided “real value” to the bottom line of its independent pharmacy customers

            3 and gave customers “extremely competitive” or “attractive” pricing were materially false and

            4 misleading when made because instead of negotiating lower prices for its customers, McKesson: (i)

            5 participated in or acquiesced to the price hikes instituted by the manufacturers; and (ii) used its

            6 aggregated customer purchase volume as leverage to collect higher discounts from generics

            7 manufacturers for itself.

            8                 (b)    Defendants’ statements above concerning NorthStar’s growth and success

            9 were materially false and misleading when made because: (i) NorthStar was in collusive

       10 relationships with generics manufacturers to hike prices for generic drugs; and (ii) NorthStar’s

       11 profitability was driven by anticompetitive activities.

       12                     (c)    Defendants’ statements above concerning McKesson’s revenues and

       13 profitability were materially false and misleading when made because McKesson’s financial results

       14 were materially impacted by unsustainable generic drug price hikes, including price increases driven

       15 by collusive activities.

       16                     2.     False and Misleading Statements Relating to Financial Results
       17             167.    The revenues and profit figures McKesson announced during the Class Period, listed

       18 in the charts in ¶¶168-181 below, were materially false and misleading, as were the Company’s

       19 reasons for the increases in sales and profits. Defendants certified that McKesson’s financial

       20 information was fairly presented in all material respects as to financial condition, results of

       21 operations, and cash flows without disclosing that revenues and profitability were materially

       22 impacted by unsustainable generic drug price hikes, including price increases driven by collusive

       23 activities. In addition, McKesson’s undisclosed inflation of its sales and profit through NorthStar’s

       24 collusive price fixing inflated its financial results below, constituted a violation of U.S. antitrust

       25 laws, and exposed the Company to significant risk of prosecution by state and federal authorities,

       26 along with the attendant negative financial and reputational harm. Moreover, Defendants’ guidance

       27 was unrealistic, lacked reasonable basis, and failed to account for the unsustainability of McKesson’s

       28 growth.

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            1          168.      Each of the Forms 10-Q and Forms 10-K below contained certifications pursuant to

            2 the Sarbanes-Oxley Act of 2002 signed by Hammergren and Beer attesting to the accuracy of

            3 financial reporting, the disclosure of any material changes to the Company’s internal control over

            4 financial reporting, and the disclosure of fraud – or lack thereof.

            5          169.      On October 24, 2013, McKesson reported its 2Q14 financial results in its 2Q14 Form

            6 8-K, signed by Beer, and 2Q14 Form 10-Q, signed and certified by Hammergren and Beer:

            7

            8                                                    Quarter Ended Sept. 30,               Six Months Ended Sept. 30,
                      (Dollars in millions)                      2013             2012                  2013             2012
                      Total Revenues                            $32,954          $29,755               $65,162         $$60,454
            9           Distribution Solutions
                                                                $32,169             $29,026            $63,572             $58,986
                        Revenues
       10                  North America
                           pharmaceutical distribution          $28,069             $25,744            $55,549             $52,392
       11                  and services

                      Gross Profit                              $2,009              $1,683              $3,929              $3,244
       12               Distribution Solutions                  $1,623              $1,339              $3,143              $2,554

       13             Operating Profit                           $798                $713               $1,536              $1,303
                        Distribution Solutions                   $685                $621               $1,304              $1,121
       14             Distribution Solutions Profit
                                                                 2.13%              2.14%               2.05%               1.90%
                      Margin
       15
                                Revenues for 2014 increased compared to the same periods a year ago primarily due to our Distribution
                      Solutions segment, which accounted for approximately 98% of our consolidated revenues.
       16
                                [Distribution Solutions]
       17                       Direct distribution and services revenues increased primarily due to market growth, which includes
                      growing drug utilization and price increases, our mix of business, new customers, a shift of revenues from sales to
       18             customers’ warehouses and one additional sales day. These increases were partially offset by price deflation
                      associated with brand to generic drug conversions.
       19                                                           *         *          *
                              Gross profit and gross profit margin increased for the second quarter and first six months of 2014
       20             compared to the same periods a year ago for both of our segments.
                                [Distribution Solutions]
       21
                                Distribution Solutions segment’s gross profit margin increased primarily due to our acquisition of PSS
       22             World Medical, an increase in buy margin, increased sales of higher margin generic drugs and a lower proportion
                      of revenues within the segment attributed to sales to customers’ warehouses. These increases were partially offset
                      by a decrease in sell margin and a charge related to the LIFO method of accounting for inventories. Buy margin
       23             primarily reflects volume and timing of compensation from branded and generic pharmaceutical manufacturers.
                      Our Distribution Solutions segment’s gross profit margin for the first six months of 2014 was also favorably
       24             affected by the receipt of $7 million and for the second quarter and first six months of 2013 the receipt of
                      $19 million, representing our share of settlements of antitrust class action lawsuits brought against drug
                      manufacturers.
       25
                                                                    *         *          *
       26                       [Segment Operating Profit]
                                Operating profit margin for our Distribution Solutions and Technology Solutions segments benefited for
       27             the second quarter and first six months of 2014 from an increase in gross profit margin, partially offset by higher
                      operating expenses as a percentage of revenues.
       28

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            1
                       170.      On January 30, 2014, McKesson reported its 3Q14 financial results in its 3Q14 Form
            2
                8-K, signed by Beer, and 3Q14 Form 10-Q, signed and certified by Hammergren and Beer:
            3
                                                                  Quarter Ended Dec. 31,                Nine Months Ended Dec. 31,
            4         (Dollars in millions)                      2013              2012                  2013             2012
                      Total Revenues                            $34,306          $31,099                $99,468          $91,553
                        Distribution Solutions
            5           Revenues
                                                                $33,522              $30,361             $97,094             $89,347
                           North America
            6              pharmaceutical distribution          $29,275              $26,854             $84,824             $79,246
                           and services
            7
                      Gross Profit                               $1,840              $1,645              $5,769               $4,889
                        Distribution Solutions                   $1,499              $1,287              $4,642               $3,841
            8
                      Operating Profit                          $589              $617              $2,125               $1,920
            9           Distribution Solutions                  $552              $525              $1,856              $1,646
                      Distribution Solutions Profit
                                                               1.65%             1.73%               1.91%               1.84%
       10             Margin
                                Revenues for 2014 increased compared to the same periods a year ago primarily due to our Distribution
                      Solutions segment, which accounted for approximately 98% of our consolidated revenues.
       11
                                                                     *         *          *
       12                     Gross profit and gross profit margin increased for the third quarter and first nine months of 2014
                      compared to the same periods a year ago primarily as a result of growth in our Distribution Solutions segment.
       13                       [Distribution Solutions]

       14                       Distribution Solutions segment’s gross profit margin increased primarily due to our acquisition of PSS
                      World Medical, increased sales of higher margin generic drugs, an increase in buy margin and a lower proportion
                      of revenues within the segment attributed to sales to customers’ warehouses. These increases were partially offset
       15             by a charge related to the LIFO method of accounting for inventories and a decrease in sell margin. Buy margin
                      primarily reflects volume and timing of compensation from branded and generic pharmaceutical manufacturers.
       16             Our Distribution Solutions segment’s gross profit margin for the third quarter and first nine months of 2014 was
                      also favorably affected by the receipt of $27 million and $34 million and for the third quarter and first nine months
                      of 2013 the receipt of $8 million and $27 million, representing our share of settlements of antitrust class action
       17             lawsuits brought against drug manufacturers.

       18                                                            *         *          *
                                [Segment Operating Profit]
       19                       Operating profit margin for our Distribution Solutions segment decreased for the third quarter of 2014
                      and increased for the first nine months of 2014. Operating profit margin for our Distribution Solutions segment in
       20             2014 was impacted by increased gross profit margin and higher operating expenses as a percentage of revenues
                      associated with our acquisition of PSS.
       21
                       171.      On May 12, 2014, McKesson reported its 4Q14 financial results in its 4Q14 Form 8-
       22
                K, signed by Beer, and on May 14, 2014, in its 2014 Form 10-K, signed and certified by
       23
                Hammergren and Beer:
       24

       25

       26
                                                                 Quarter Ended March. 31,                  Year Ended March 31,
       27             (Dollars in millions)                      2014              2013                   2014            2013
                      Total Revenues                            $38,141          $30,516                $137,609        $122,609
       28               Distribution Solutions                  $37,332          $29,699                $134,426        $119,046


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            1          Revenues
                         North America
                         pharmaceutical distribution           $31,122             $28,638             $123,930            $115,443
            2            and services

            3        Gross Profit                              $2,540               $1,959              $8,309               $6,848
                       Distribution Solutions                  $2,125               $1,594              $6,767               $5,435
            4
                     Operating Profit                           $723                 $583               $2,848               $2,503
                       Distribution Solutions                   $605                 $549               $2,461               $2,195
            5        Distribution Solutions Profit
                                                                1.62%               1.85%               1.83%                1.84%
                     Margin
            6        [From May 12, 2014 Form 8-K]
                              McKesson Corporation (NYSE:MCK) today reported that revenues for the fourth quarter ended March 31,
            7        2014 were $38.1 billion, up 25% compared to $30.5 billion a year ago. On the basis of U.S. generally accepted
                     accounting principles (“GAAP”), fourth-quarter earnings per diluted share from continuing operations was $1.56
            8        compared to $1.11 a year ago.
                             For the fiscal year, McKesson had revenues of $137.6 billion compared to $122.1 billion a year ago. Full-
            9        year GAAP earnings per diluted share from continuing operations was $5.83 compared to $5.62 a year ago.
                                                                   *          *         *
       10
                               Distribution Solutions revenues were up 26% for the fourth quarter and up 13% for the full year
       11            compared to the prior year. North America pharmaceutical distribution and services revenues, which include results
                     from U.S. Pharmaceutical, McKesson Canada and McKesson Specialty Health, were up 9% for the fourth quarter,
                     primarily reflecting market growth and growth from existing customers. For the full year, North America
       12            pharmaceutical distribution and services revenues were up 7% compared to the prior year.
                                                                   *          *         *
       13
                               [Distribution Solutions]
       14                      In the fourth quarter, Distribution Solutions GAAP operating profit was $605 million and GAAP
                     operating margin was 1.62%. Fourth-quarter adjusted operating profit was $905 million and the adjusted operating
       15            margin was 2.42%. For the full year, GAAP operating profit was $2.5 billion and GAAP operating margin was
                     1.83%. For the full year, adjusted operating profit was $3.2 billion, up 30% from the prior year, and the adjusted
                     operating margin was 2.39%, up 31 basis points year-over-year.
       16
                               [Segment Operating Profit]
       17                      “Distribution Solutions had another outstanding year with strong performance across the segment. We
                     continue to deliver tremendous value for our customers through the combination of our industry-leading service,
       18            our depth of experience in the healthcare supply chain and our global sourcing expertise,” said Hammergren.
                                                                   *          *         *
       19
                     Fiscal Year 2015 Outlook
       20
                                “Our Fiscal 2015 guidance reflects solid growth across our broad portfolio of businesses and McKesson’s
       21            share of the results of Celesio. McKesson expects Adjusted Earnings per diluted share between $10.40 and $10.80
                     for the fiscal year ending March 31, 2015,” Hammergren concluded.
       22            Key Assumptions for Fiscal Year 2015 Outlook
                               The Fiscal 2015 outlook is based on the following key assumptions …:
       23
                                                                   *          *         *
       24                               Price trends on generic drugs outside an exclusivity period are expected to be in the high single
                                         digits in Fiscal 2015, a decline from the price trends experienced in Fiscal 2014.
       25
                      [From May 14, 2014 Form 10-K]
       26                     Revenues for 2014 increased 13% to $137.6 billion from 2013 and revenues for 2013 of $122.1 billion
                     approximated 2012. Increases in our revenues were primarily driven by our Distribution Solutions segment, which
       27            accounted for approximately 98% of our consolidated revenues.
                              Distribution Solutions
       28

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            1                  North America pharmaceutical distribution and services revenues increased in 2014 compared to 2013
                     primarily due to market growth, reflecting growing drug utilization and price increases, and our mix of business.
                     These increases were partially offset by price deflation associated with brand to generics drug conversion. North
            2        America revenues for 2013 approximated 2012 primarily due to market growth and our mix of business, partially
                     offset by price deflation associated with brand to generic drug conversions, the loss of customers and fewer sales
            3        days.
                                                                     *          *          *
            4
                               Distribution Solutions segment’s gross profit margin increased in 2014 compared to 2013 primarily due to
                     our business acquisitions, growth in sales of higher margin generic drugs, and an increase in buy margin. Buy margin
            5        primarily reflects volume and timing of compensation we receive from pharmaceutical manufacturers. These
                     increases were partially offset by a decrease in sell margin and charges related to the LIFO method of accounting for
            6        inventories, as further described below. Additionally, gross profit was impacted by a $50 million charge for the
                     reversal of a fair value step-up of inventory acquired as part of the Celesio acquisition. Gross profit margin increased
            7        in 2013 compared to 2012 primarily due to higher sales of generic drugs, business acquisitions, an increase in buy
                     margin and antitrust settlement receipts, and a lower proportion of revenues within the segment attributed to lower-
                     margin sales to customers’ warehouses. These increases were partially offset by a decrease in sell margin.
            8
                                                                     *          *          *
            9                  [Segment Operating Profit]
                     Operating profit margin for our Distribution Solutions segment in 2014 was flat compared to 2013, primarily
       10            reflecting an increase in gross profit margin and the $191 million impairment charge on an equity investment
                     incurred in 2013, partially offset by higher operating expenses as a percentage of revenues, which includes the effects
       11            of our acquisitions. Operating profit margin for our Distribution Solutions segment decreased in 2013 compared to
                     2012 primarily due to the $191 million impairment charge on an equity investment and higher operating expenses as
       12            a percentage of revenues, which included the effects of our acquisitions. These 2013 increases were partially offset
                     by an increase in gross profit margin.

       13                                                            *          *          *

                     2015 Outlook
       14
                               Information regarding the Company’s 2015 outlook is contained in our Form 8-K dated May 13, 2014.
       15

       16             172.      On July 31, 2014, McKesson reported its 1Q15 financial results in its 1Q15 Form 8-

       17 K, signed by Beer, and 1Q15 Form 10-Q, signed and certified by Hammergren and Beer:

       18                                                          Quarter Ended June 30,
                     (Dollars in millions)                        2014              2013
                     Total Revenues                              $44,058           $32,239
       19              Distribution Solutions
                                                                 $43,290             $31,403
                       Revenues
       20                 North America
                          pharmaceutical distribution            $34,304             $32,293
       21                 and services

                     Gross Profit                                $2,797               $1,930
       22              Distribution Solutions                    $2,458               $1,520

       23            Operating Profit                             $816              $746
                       Distribution Solutions                     $748              $619
       24            Distribution Solutions Profit
                                                                 1.73%             1.97%
                     Margin
                               Revenues for the first quarter of 2015 increased 37% to $44.1 billion compared to the same period a year
       25            ago primarily due to our Distribution Solutions segment, which accounted for approximately 98% of our
                     consolidated revenues.
       26
                               [Distribution Solutions]
       27            North America pharmaceutical distribution and services revenues increased in the first quarter of 2015 primarily due
                     to our mix of business and market growth, reflecting growing drug utilization and price increases. These increases
                     were partially offset by price deflation associated with brand to generics drug conversion. International
       28            pharmaceutical distribution and services revenues of $7.6 billion in the first quarter of 2015 represent revenues from


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            1         Celesio, acquired in the fourth quarter of 2014. Medical-Surgical distribution and services revenues increased
                      primarily due to market growth.
                                                                   *        *         *
            2
                                 Gross profit increased 45% to $2.8 billion and as a percentage of revenue, gross profit margin increased
            3         36 bp in the first quarter compared to the same period a year ago. These increases primarily reflect an increase in
                      our Distribution Solutions operating segment, including our acquisition of Celesio.

            4                   Distribution Solutions
                                Distribution Solutions segment’s gross profit margin increased primarily due to our acquisition of Celesio
            5         and growth in our North American distribution and services business which reflects sales of higher margin generic
                      drugs and an increase in buy margin, partially offset by a decrease in sell margin. Buy margin includes volume and
            6         timing of compensation from pharmaceutical manufacturers.
                                                                    *          *         *
            7                   [Segment Operating Profit]

            8         Operating profit margin for our Distribution Solutions segment decreased in the first quarter of 2015 primarily due
                      to higher operating expenses as a percentage of revenues, partially offset by an increase in gross profit margin.
                      Operating profit margin for Technology Solutions segment decreased in the first quarter of 2015 primarily due to a
            9         non-cash pre-tax charge of $34 million recorded in connection with the reclassification of the workforce business
                      within our International Technology business from discontinued operations to continuing operations.
       10
                       173.      On October 28, 2014, McKesson reported its 2Q15 financial results in its 2Q15 Form
       11
                8-K, signed by Beer, and 2Q15 Form 10-Q, signed and certified by Hammergren and Beer:
       12
                                                               Quarter Ended September 30,           Six Months Ended September 30,
       13             (Dollars in millions)                      2014              2013                  2014             2013
                      Total Revenues                            $44,758          $32,985               $88,816          $65,224
                        Distribution Solutions
       14               Revenues
                                                                $43,988             $32,169             $87,278             $63,572
                           North America
       15                  pharmaceutical distribution          $35,148             $30,702             $69,452             $60,748
                           and services
       16
                      Gross Profit                               $2,923              $2,021              $5,720              $3,951
                        Distribution Solutions                   $2,540              $1,624              $4,998              $3,144
       17
                      Operating Profit                          $918             $805               $1,734              $1,551
       18               Distribution Solutions                  $793             $685               $1,541              $1,304
                      Distribution Solutions Profit
                                                               1.80%            2.13%               1.77%               2.05%
       19             Margin
                                Revenues for 2015 increased compared to the same period a year ago primarily due to our Distribution
                      Solutions segment, which accounted for approximately 98% of our consolidated revenues.
       20
                                Distribution Solutions
       21                        North America pharmaceutical distribution and services revenues increased primarily due to our mix of
                      business and market growth. Market growth reflects growing drug utilization, which includes newly launched drugs,
       22             and price and volume increases. In 2015, our revenues benefited from two recently launched drugs for the treatment
                      of Hepatitis C. These increases were partially offset by price deflation associated with brand to generic drug
                      conversion. International pharmaceutical distribution and services revenues represent revenues from Celesio, which
       23             was acquired in the fourth quarter of 2014. Medical-Surgical distribution and services revenues increased primarily
                      due to market growth.
       24
                                                                    *          *         *
       25                       Gross profit and gross profit margin increased for the second quarter and first six months of 2015
                      compared to the same periods a year ago primarily due to an increase in our Distribution Solutions operating
                      segment, including our acquisition of Celesio.
       26
                                Distribution Solutions
       27                       Distribution Solutions segment’s gross profit increased in the second quarter and first six months of 2015
                      primarily due to our acquisition of Celesio and growth in our other Distribution Solutions businesses. These
       28             increases were partially offset by higher LIFO inventory charges. Gross profit margin increased for the second


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            1        quarter and first six months of 2015 primarily due to our acquisition of Celesio, partially offset by our mix of
                     business in our other Distribution Solutions businesses. The segment’s gross profit margin for the second quarter of
                     2015 primarily reflects a decrease in sell margin and higher LIFO charges, partially offset by the sale of higher
            2        margin generic drugs. The segment’s gross profit margin for the first six months of 2014 reflects a decrease in sell
                     margin and higher LIFO charges, partially offset by an increase in buy margin. Buy margin includes volume and
            3        timing of compensation from pharmaceutical manufacturers. The segment’s gross profit margin in 2015 was also
                     negatively impacted by the revenues associated with the recently launched drugs for the treatment of Hepatitis C,
            4        which have lower margins.
                                                                    *         *          *
            5                  [Segment Operating Profit]

            6        Operating profit for our Distribution Solutions segment increased in 2015 due to growth in our businesses and our
                     acquisition of Celesio. Operating profit margin for the segment decreased in 2015 primarily due to our acquisition
                     of Celesio and our mix of business. Operating profit and operating profit margin were also negatively impacted by
            7        higher LIFO related charges in 2015, partially offset by lower charges related to our AWP litigation.

            8         174.      On February 5, 2015, McKesson reported its 3Q15 financial results in its 3Q15 Form
            9 8-K, signed by Beer, and 3Q15 Form 10-Q, signed and certified by Hammergren and Beer:

       10                                                        Quarter Ended Dec. 31,                Nine Months Ended Dec. 31,
                     (Dollars in millions)                      2014              2013                   2014            2013
       11            Total Revenues                            $47,005          $34,336                $135,821         $99,560
                       Distribution Solutions
                                                               $46,250              $33,522            $133,528             $97,094
                       Revenues
       12                 North America
                          pharmaceutical distribution          $37,398              $32,060            $106,850             $92,808
       13                 and services

       14            Gross Profit                               $2,942              $1,850              $8,662               $5,801
                       Distribution Solutions                   $2,571              $1,499              $7,569               $4,642
       15            Operating Profit                          $896             $599               $2,630              $2,150
                       Distribution Solutions                  $785             $552               $2,326              $1,856
       16            Distribution Solutions Profit
                                                              1.70%            1.65%               1.74%               1.91%
                     Margin
       17                      Revenues for 2015 increased compared to the same period a year ago primarily due to our Distribution
                     Solutions segment, which accounted for approximately 98% of our consolidated revenues.
       18                      [Distribution Solutions]
                     North America pharmaceutical distribution and services revenues increased primarily due to market growth and our
       19            mix of businesses. Market growth reflects growing drug utilization, which includes newly launched drugs, and price
                     and volume increases. In 2015, our revenues benefited from recently launched drugs for the treatment of Hepatitis C.
       20            These increases were partially offset by price deflation associated with brand to generic drug conversions.
                     International pharmaceutical distribution and services revenues represent revenues from Celesio, which was acquired
                     in the fourth quarter of 2014. Medical-Surgical distribution and services revenues increased primarily due to market
       21            growth.
                                                                     *         *          *
       22
                               Gross profit and gross profit margin increased for the third quarter and first nine months of 2015
                     primarily due to an increase in our Distribution Solutions segment. Gross profit margin for 2015 also reflects an
       23            increase in gross profit margin from our Technology Solutions segment as further discussed below.
                               Distribution Solutions
       24
                                Distribution Solutions segment’s gross profit increased in the third quarter and first nine months of 2015
       25            primarily due to our acquisition of Celesio and growth in our other Distribution Solutions businesses. Gross profit
                     margin increased in 2015 primarily due to our acquisition of Celesio and higher buy margin reflecting higher
                     volume and price increases of pharmaceutical products. These increases were partially offset by a decrease in sell
       26            margin primarily driven by higher sales volume and the increased sales associated with the recently launched drugs
                     for the treatment of Hepatitis C, which have lower margins. The gross profit margin for the third quarter and first
       27            nine months of 2014 was favorably affected by the receipt of $27 million and $34 million, representing our share of
                     settlements of antitrust class action lawsuits brought against drug manufacturers.
       28

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            1                                                       *          *         *
                               Segment Operating Profit:
            2                   Distribution Solutions: Operating profit for our Distribution Solutions segment increased in 2015
                     primarily reflecting growth in our businesses and our acquisition of Celesio. Operating profit margin for the third
            3        quarter of 2015 increased primarily due to our mix of businesses, partially offset by our acquisition of Celesio.
                     Operating profit margin for the first nine months of 2015 decreased primarily due to our acquisition of Celesio,
            4        partially offset by our mix of businesses.

            5         175.      On May 12, 2015, McKesson reported its 4Q15 financial results in its 4Q15 Form 8-
            6 K, signed by Beer, and 2015 Form 10-K, signed and certified by Hammergren and Beer:

            7                                                    Quarter Ended March 31,                   Year Ended March 31,
                     (Dollars in millions)                       2015             2014                    2015            2014
            8        Total Revenues                             $44,925          $37,832                $179,045        $137,392
                       Distribution Solutions
                                                                $44,149             $36,968             $175,976            $134,062
            9          Revenues
                          North America
                          pharmaceutical distribution           $36,861             $31,121             $143,711            $123,929
       10                 and services

       11            Gross Profit                                $2,917              $2,551             $11,411               $8,352
                       Distribution Solutions                    $2,536              $2,103              $9,937               $6,745
       12
                     Operating Profit                            $847                 $770               $3,485               $2,920
                       Distribution Solutions                    $714                 $616               $3,047               $2,472
       13            Distribution Solutions Profit
                                                                 1.62%               1.67%               1.73%                1.84%
                     Margin
       14            [From May 12, 2015 Form 8-K]
                               McKesson Corporation (NYSE:MCK) today reported that revenues for the fourth quarter ended March 31,
       15            2015 were $44.9 billion, up 19% compared to $37.8 billion a year ago. On the basis of U.S. generally accepted
                     accounting principles (“GAAP”), fourth-quarter earnings per diluted share from continuing operations was $1.69
       16            compared to $1.72 a year ago. Fourth-quarter GAAP earnings from continuing operations include a pre and post-tax
                     charge of $150 million, or 64 cents per diluted share, related to a previously disclosed settlement agreement in
                     principle with the U.S. Drug Enforcement Administration (DEA) and the U.S. Department of Justice (DOJ)
       17            regarding McKesson’s monitoring and reporting of controlled substances orders.

       18                      For the fiscal year, McKesson had revenues of $179.0 billion compared to $137.4 billion a year ago, up
                     30% year-over-year. Full-year GAAP earnings per diluted share from continuing operations was $7.54 compared to
                     $6.08 a year ago, up 24% year-over-year.
       19
                                                                    *          *         *
       20                       Distribution Solutions revenues were up 19% on a reported basis and 23% on a constant currency basis for
                     the fourth quarter. For the full year, Distribution Solutions revenues were up 31% on a reported basis and 33% on a
       21            constant currency basis compared to the prior year.
                                                                    *          *         *
       22
                               [Distribution Solutions]
       23                        In the fourth quarter, Distribution Solutions GAAP operating profit was $714 million and GAAP operating
                     margin was 1.62%. Fourth-quarter adjusted operating profit was $1.1 billion and adjusted operating margin was
       24            2.43%. For the full year, GAAP operating profit was $3.0 billion and GAAP operating margin was 1.73%. For the
                     full year, adjusted operating profit was $4.2 billion, up 30% on a reported basis and 31% on a constant currency basis
                     from the prior year, and adjusted operating margin was 2.38%.
       25
                               [Segment Operating Profit]
       26                      “Distribution Solutions had another outstanding year with strong performance across the segment. We
                     continue to deliver tremendous value for our customers by developing solutions that help drive better business health.
       27            We are proud to be a global leader in healthcare services while remaining grounded in our tradition of operational
                     excellence in everything we do,” said Hammergren.
       28                                                           *          *         *


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            1         Fiscal Year 2016 Outlook

            2                  “Our Fiscal 2016 guidance reflects strong growth across our broad portfolio of businesses. McKesson
                      expects Adjusted Earnings per diluted share of $12.20 to $12.70 for the fiscal year ending March 31, 2016,
                      representing 12% to 16% growth year-over-year on a constant currency basis,” Hammergren concluded.
            3
                      Key Assumptions for Fiscal Year 2016 Outlook
            4                   The Fiscal 2016 outlook is based on the following key assumptions …:

            5                                                        *          *         *

                                          Price trends on generic drugs outside an exclusivity period, in the U.S. market, are expected to
            6                              be slightly below those we experienced in Fiscal 2015.

            7         [From May 12, 2015 Form 10-K]
                                Revenues for 2015 increased 30% to $179.0 billion from 2014 and revenues for 2014 increased 12% to
            8         $137.4 billion from 2013. Increases in our revenues were primarily driven by our Distribution Solutions segment,
                      which accounted for approximately 98% of our consolidated revenues.
            9                   Distribution Solutions
                                 North America pharmaceutical distribution and services revenues increased over the last two years
       10             primarily due to market growth and our mix of business. Market growth reflects growing drug utilization, which
                      includes newly launched drugs and price increases. In particular, our 2015 revenues benefited from newly launched
       11             drugs for the treatment of Hepatitis C. These increases were partially offset by price deflation associated with brand
                      to generic drug conversions.
       12                                                            *          *         *
                                 Distribution Solutions gross profit margin increased over the last two years primarily reflecting our
       13             business acquisitions and higher buy margin within our North American distribution business, partially offset by a
                      decrease in sell margin primarily driven by higher sales volume, and an increase in LIFO-related inventory charges.
       14             Buy margin primarily reflects volume and timing of compensation we receive from pharmaceutical manufacturers.
                      Gross profit margin for 2015 was also unfavorably affected by the increased sales associated with newly launched
       15             drugs for the treatment of Hepatitis C. Gross profit margin for 2014 was also favorably affected by growth in sales of
                      higher margin generic drugs.

       16                                                            *          *         *
                                Segment Operating Profit:
       17
                                . . . Operating profit increased over the last two years primarily reflecting growth in our business and our
                      business acquisitions. Operating profit margin for 2015 decreased from 2014 primarily due to our acquisition of
       18             Celesio and the unfavorable impact from the newly launched drugs for Hepatitis C, partially offset by our other mix
                      of business. Operating profit margin in 2014 was flat compared to 2013 primarily reflecting an increase in gross
       19             profit margin and the $191 million impairment charge on an equity investment incurred in 2013, partially offset by
                      higher operating expenses as a percentage of revenues, which included the effects of our acquisitions. In 2015, 2014
       20             and 2013, operating profit and operating profit margin were also impacted by $150 million, $68 million and
                      $72 million of reserve adjustments for estimated probable losses related to our controlled substance distribution
                      claims and Average Wholesale Price litigation.
       21
                                                                     *          *         *
       22             2016 Outlook

       23                       Information regarding the Company’s 2016 outlook is contained in our Form 8-K dated May 12, 2015.


       24
                       176.      On July 29, 2015, McKesson reported its 1Q16 financial results in its 1Q16 Form 8-
       25
                K, signed by Beer, and 1Q16 Form 10-Q, signed and certified by Hammergren and Beer:
       26
                                                                   Quarter Ended June 30,
                      (Dollars in millions)                       2015              2014
       27             Total Revenues                             $47,546           $43,476
                        Distribution Solutions
       28                                                        $46,810             $42,708
                        Revenues


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            1              North America
                           pharmaceutical distribution          $39,532              $34,304
                           and services
            2
                      Gross Profit                               $2,848              $2,732
            3           Distribution Solutions                   $2,493              $2,393

            4         Operating Profit                            $1,068             $808
                         Distribution Solutions                    $910              $740
                      Distribution Solutions Profit
            5         Margin
                                                                  1.94%             1.73%
                                Revenues for the first quarter of 2016 increased 9% to $47.5 billion compared to the same period a year
            6         ago primarily due to our Distribution Solutions segment, which accounted for approximately 98% of our
                      consolidated revenues. Excluding foreign currency exchange rate fluctuations of approximately 4%, revenues
            7         increased 13%.
                                Distribution Solutions
            8                    North America pharmaceutical distribution and services revenues for the first quarter of 2016 increased
                      primarily due to market growth, which reflects growing drug utilization (price and volume increases, as well as
            9         newly launched drugs), and expanded business with existing customers. These increases were partially offset by
                      price deflation associated with brand to generics drug conversions.
       10                                                            *         *          *

       11                       Gross profit increased 4% for the first quarter of 2016 compared to the prior period. Excluding foreign
                      currency exchange rate fluctuations of approximately 5%, gross profit increased 9% due to an increase in our
                      Distributions Solutions and Technology Solutions operating segments. Gross profit margin decreased due to our
       12             Distribution Solutions segment.
                                Distribution Solutions
       13
                                 Distribution Solutions segment’s gross profit for the first quarter of 2016 increased 4% compared to the
       14             prior year. Excluding foreign currency exchange rate fluctuations of approximately 6%, gross profit increased 10%
                      primarily due to higher revenues from our North America pharmaceutical distribution businesses and $59 million
                      of cash proceeds representing our share of antitrust legal settlements, which were recorded as a reduction to cost of
       15             sales.
                                                                     *         *          *
       16
                                Segment Operating Profit
       17                       Distribution Solutions: Operating profit in the first quarter of 2016 increased primarily due to higher
                      gross profit and lower operating expenses. Results for the first quarter of 2016 include $59 million of cash proceeds
       18             representing our share of antitrust legal settlements. Operating profit margin increased primarily reflecting a
                      decrease in operating expenses as a percentage of revenues, partially offset by a decrease in gross profit margin.
       19
                       177.      On October 29, 2015, McKesson reported its 2Q16 financial results in its 2Q16 Form
       20
                8-K, signed by Beer, and 2Q16 Form 10-Q, signed and certified by Hammergren and Beer:
       21
                                                               Quarter Ended September 30,            Six Months Ended September 30,
       22             (Dollars in millions)                      2015              2014                   2015             2014
                      Total Revenues                            $48,761          $44,160                $96,307          $87,636
       23               Distribution Solutions
                                                                $48,040              $43,390             $94,850             $86,098
                        Revenues
                           North America
       24                  pharmaceutical distribution          $40,603              $35,147             $80,135             $69,451
                           and services
       25
                      Gross Profit                               $2,844              $2,864              $5,692               $5,596
       26               Distribution Solutions                   $2,458              $2,481              $4,951               $4,874

                      Operating Profit                           $1,072               $915               $2,140               $1,723
       27               Distribution Solutions                    $926                $790               $1,836               $1,530
                      Distribution Solutions Profit
                                                                 1.93%                1.82%              1.94%                1.78%
       28             Margin


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            1                   Revenues for the second quarter and first six months of 2016 increased 10% compared to the same periods
                      a year ago. Excluding unfavorable foreign currency effects of 4% and 3%, revenues increased 14% and 13% for the
                      second quarter and first six months of 2016 primarily due to our Distribution Solutions segment, which accounted for
            2         approximately 99% of our consolidated revenues.

            3                   Distribution Solutions
                                 North America pharmaceutical distribution and services revenues for the second quarter and first six
            4         months of 2016 increased primarily due to market growth, which reflects growing drug utilization (price and volume
                      increases, as well as newly launched drugs), and our business mix, which includes increased volume with existing
                      customers. These increases were partially offset by price deflation associated with brand to generics drug
            5         conversions.

            6                                                        *         *          *
                                Gross profit for the second quarter of 2016 decreased 1% and for the first six months of 2016 increased
            7         2% compared to the same periods a year ago. Excluding unfavorable foreign currency effects of 5%, gross profit
                      increased 4% and 7% for the second quarter and first six months of 2016 primarily due to an increase in our
                      Distribution Solutions segment. Gross profit margin for the second quarter and first six months of 2016 decreased
            8         primarily due to a decline within our Distribution Solutions segment.

            9                   Distribution Solutions
                                 Distribution Solutions segment’s gross profit for the second quarter of 2016 decreased 1% and for the
       10             first six months of 2016 increased 2% compared to the same periods a year ago. Excluding unfavorable foreign
                      currency effects of 5%, gross profit increased 4% and 7% for the second quarter and first six months of 2016
                      primarily due to increased sales volume within our North America businesses. Gross profit for the first six months
       11             of 2016 also included $59 million of cash proceeds representing our share of antitrust legal settlements, which were
                      recorded as a reduction to cost of sales.
       12                                                            *         *          *

       13                       Segment Operating Profit
                                 Distribution Solutions: Operating profit margin for the segment increased in 2016 compared to the same
       14             periods a year ago primarily due to lower operating expenses, partially offset by a decline in gross profit margin.
                      Additionally, operating profit margin for 2016 includes a $51 million pre-tax gain from the sale of our ZEE
       15             Medical business and for the first six months of 2016, $59 million of cash proceeds representing our share of
                      antitrust legal settlements.

       16
                       178.      On January 27, 2016, McKesson reported its 3Q16 financial results in its 3Q16 Form
       17
                8-K, signed by Beer, and 3Q16 Form 10-Q, signed and certified by Hammergren and Beer:
       18
                                                               Quarter Ended December 31,            Nine Months Ended December 31,
       19             (Dollars in millions)                      2015             2014                   2015             2014
                      Total Revenues                            $47,899          $46,484               $144,206         $134,120
                        Distribution Solutions
       20               Revenues
                                                                $47,205             $45,729            $142,055             $131,827
                           North America
       21                  pharmaceutical distribution          $39,615             $37,397            $119,750             $106,848
                           and services
       22
                      Gross Profit                               $2,872              $2,898              $8,564               $8,494
                        Distribution Solutions                   $2,511              $2,527              $7,462               $7,401
       23
                      Operating Profit                            $1,028               $915               $3,168              $2,638
       24                Distribution Solutions                    $906                $803               $2,742              $2,333
                      Distribution Solutions Profit
                                                                  1.92%               1.76%                1.93%              1.77%
       25             Margin
                                 Revenues for the third quarter and first nine months of 2016 increased 3% and 8% compared to the same
                      periods a year ago. Excluding unfavorable foreign currency effects of 2%, revenues increased 5% and 10% for the
       26             third quarter and first nine months of 2016 primarily due to our Distribution Solutions segment, which accounted for
                      approximately 99% of our consolidated revenues.
       27
                                Distribution Solutions
       28                       North America pharmaceutical distribution and services revenues for the third quarter and first nine months


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            1        of 2016 increased primarily due to market growth and our mix of business including expanded business with existing
                     customers. These increases were partially offset by customer losses. Market growth includes growing drug
                     utilization, newly launched drugs, price increases and price deflation, including deflation associated with brand to
            2        generic drug conversions.

            3                                                       *         *          *
                                Gross profit for the third quarter and the first nine months of 2016 remained relatively unchanged
            4        compared to the same periods a year ago. Excluding unfavorable foreign currency effects of 3% and 4%, gross
                     profit increased 2% and 5% for the third quarter and first nine months of 2016 primarily due to an increase within
                     our Distribution Solutions segment. Gross profit margin for the third quarter and first nine months of 2016
            5        decreased primarily due to a decline within our Distribution Solutions segment.

            6                  Distribution Solutions
                                Distribution Solutions segment’s gross profit for the third quarter and first nine months of 2016 remained
            7        relatively unchanged compared to the same periods a year ago. Excluding unfavorable foreign currency effects of
                     4% and 5%, gross profit increased 3% and 6% for the third quarter and first nine months of 2016 primarily due to
                     increased sales volume within our North America business, benefits from our global procurement arrangements and
            8        lower LIFO expenses, as further discussed below. Additionally, gross profit for the third quarter and first nine
                     months of 2016 includes $17 million and $76 million of net cash proceeds representing our share of antitrust legal
            9        settlements against certain drug manufacturers, which were recorded as a reduction to cost of sales.
                                                                    *         *          *
       10
                               Segment Operating Profit
       11                       Distribution Solutions: Operating profit and operating profit margin for the segment increased in 2016
                     compared to the same periods a year ago primarily due to lower operating expenses. Operating profit margin for the
       12            first nine months of 2016 also benefited from a $52 million pre-tax gain from the sale of our ZEE Medical business.


       13             179.      On May 4, 2016, McKesson reported its 4Q16 financial results in its 4Q16 Form 8-K,
       14 signed by Beer, and on May 5, 2016, in its 2016 Form 10-K, signed and certified by Hammergren

       15 and Beer:

       16                                                       Quarter Ended March 31,                   Year Ended March 31,
                     (Dollars in millions)                      2016             2015                    2016            2015
       17            Total Revenues                            $46,678          $44,925                $190,884        $179,045
                       Distribution Solutions
                                                               $45,944              $44,149            $187,999            $175,976
                       Revenues
       18                 North America
                          pharmaceutical distribution          $38,719              $36,861            $158,469            $143,711
       19                 and services

       20            Gross Profit                               $2,852              $2,917              $11,416             $11,411
                       Distribution Solutions                   $2,486              $2,536               $9,948             $9,937
       21            Operating Profit                            $904                $847               $4,072               $3,485
                       Distribution Solutions                    $811                $714               $3,553               $3,047
       22            Distribution Solutions Profit
                                                                1.77%                1.62%              1.89%                1.73%
                     Margin
       23            [From May 4, 2016 Form 8-K]
                               McKesson Corporation (NYSE:MCK) today reported that revenues for the fourth quarter ended March 31,
       24            2016 were $46.7 billion, up 4% compared to $44.9 billion a year ago. On a constant currency basis, revenues
                     increased 5% over the prior year. On the basis of U.S. generally accepted accounting principles (“GAAP”), fourth-
       25            quarter earnings per diluted share from continuing operations was $1.97 compared to $1.69 a year ago. Fourth-
                     quarter Adjusted Earnings per diluted share was $2.44, down 17% compared to the prior year.
       26                      For the fiscal year, McKesson had revenues of $190.9 billion, up 7% compared to $179.0 billion a year
                     ago. On a constant currency basis, revenues increased 9% over the prior year. Full-year GAAP earnings per diluted
                     share from continuing operations was $9.84 compared to $7.54 a year ago, up 31% year-over-year. Full-year
       27            Adjusted Earnings per diluted share was $12.08, up 9% compared to the prior year.

       28                                                           *         *          *



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            1                  Distribution Solutions revenues were $45.9 billion for the quarter, up 4% on a reported basis and 5% on a
                     constant currency basis. For the full year, Distribution Solutions revenues were $188.0 billion, up 7% on a reported
                     basis and 9% on a constant currency basis, compared to the prior year.
            2
                                                                     *         *          *
            3                  [Distribution Solutions]
                               Fourth-quarter Distribution Solutions GAAP operating profit was $811 million and GAAP operating
            4        margin was 1.77%. On a constant currency basis, fourth-quarter adjusted operating profit was $970 million and
                     adjusted operating margin was 2.09%.
            5                  [Segment Operating Profit]

            6                   For the full year, Distribution Solutions GAAP operating profit was $3.6 billion and GAAP operating
                     margin was 1.89%. On a constant currency basis, full-year adjusted operating profit was $4.4 billion, up 5%
                     compared to the prior year, and adjusted operating margin was 2.28%. Distribution Solutions fourth quarter and full-
            7        year results include $161 million in pre-tax charges related to the Cost Alignment Plan.

            8                                                        *         *          *

                     Fiscal Year 2017 Outlook
            9
                               For the fiscal year ending March 31, 2017, McKesson expects $13.30 to $13.80 per diluted share, which
       10            excludes approximately 12 to 15 cents in expected charges from Adjusted Earnings related to the Cost Alignment
                     Plan.
       11                     “Our Fiscal 2017 outlook balances solid growth across our businesses and growth from capital
                     deployment, with the negative impact from customer consolidation and generic pharmaceutical pricing trends in the
       12            United States,” concluded Hammergren.

       13            Key Assumptions for Fiscal Year 2017 Outlook
                               The Fiscal 2017 outlook is based on the following key assumptions …:
       14
                                         Distribution Solutions revenue growth is expected to increase by high-single digits driven by
       15                                 market growth and acquisitions.

                                                                     *         *          *
       16
                                         We expect a nominal contribution to our Fiscal 2017 results from generic pharmaceuticals that
       17                                 increase in price.
                     [From May 5, 2016 Form 10-K]
       18            Market growth reflects growing drug utilization, which includes newly launched drugs and price increases ….

       19                                                                 *          *         *
                               Revenues increased 7% and 30% in 2016 and 2015 compared to the same periods a year ago. Excluding
       20            unfavorable foreign currency effects of 2%, revenues increased 9% in 2016. These increases were primarily driven
                     by our Distribution Solutions segment, which accounted for approximately 98% of our consolidated revenues.
       21                      Distribution Solutions

       22                      North America pharmaceutical distribution and services revenues increased over the last two years
                     primarily due to market growth, expanded business with existing customers and our mix of business. These increases
                     were partially offset by customer losses. Market growth reflects growing drug utilization, which includes newly
       23            launched drugs and price increases, partially offset by price deflation associated with brand to generic drug
                     conversions. Additionally, our 2015 revenues benefited from newly launched drugs for the treatment of Hepatitis C.
       24                                                            *         *          *

       25                      Distribution Solutions segment’s gross profit was flat in 2016 and increased in 2015. Excluding
                     unfavorable foreign currency effects of 4%, gross profit increased 4% in 2016. Gross profit margin decreased in 2016
                     primarily due to a lower sell margin within our North America distribution business driven by increased customer
       26            sales volume with some of our largest customers, partially offset by higher buy margin including benefits from our
                     global procurement arrangements, lower LIFO-related inventory charges and $76 million in cash receipts
       27            representing our share of antitrust legal settlements. Additionally, this business has been experiencing weaker generic
                     pharmaceutical pricing trends, which are expected to continue in 2017. Buy margin primarily reflects volume and
       28            timing of compensation we receive from pharmaceutical manufacturers, including the effects of price increases of



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            1         both branded and generic drugs.
                                                                     *         *          *
            2                   Segment Operating Profit

            3         Operating profit increased over the last two years primarily due to growth in our business and for 2015 due to
                      our business acquisitions. Operating profit margin for 2016 increased due to lower operating expenses as a
                      percentage of revenues, partially offset by a decline in gross profit margin. Operating profit and operating profit
            4         margin in 2016 includes $161 million of pre-tax charges associated with the Cost Alignment Plan, lower LIFO
                      charges, and a $52 million pre-tax gain on the sale of our ZEE Medical business. Operating profit margin for
            5         2015 decreased primarily due to our acquisition of Celesio and the unfavorable impact from the newly launched
                      drugs for Hepatitis C, partially offset by our other mix of business. In 2015 and 2014, operating profit and
            6         operating profit margin includes $150 million and $68 million of reserve adjustments for estimated probable
                      losses related to our controlled substance distribution claims and AWP litigation.

            7                                                        *         *          *

                      2017 Outlook
            8
                                Information regarding the Company’s 2017 outlook is contained in our Form 8-K dated May 5, 2016.
            9
                       180.      On July 27, 2016, McKesson reported its 1Q17 financial results in its 1Q17 Form 8-
       10
                K, signed by Beer, and 1Q17 Form 10-Q, signed and certified by Hammergren and Beer:
       11
                                                                  Quarter Ended June 30,
       12             (Dollars in millions)                      2016              2015
                      Total Revenues                            $49,733           $47,546
       13               Distribution Solutions
                                                                $49,009              $46,810
                        Revenues
                           North America
       14                  pharmaceutical distribution          $41,211              $39,532
                           and services
       15
                      Gross Profit                               $2,907              $2,848
       16               Distribution Solutions                   $2,513              $2,493

                      Operating Profit                            $1,096             $1,068
       17                Distribution Solutions                     $928              $910
                      Distribution Solutions Profit
       18                                                          1.89%             1.94%
                      Margin
                                Revenues for the first quarter of 2017 increased 5% compared to the same period a year ago primarily due
       19             to our Distribution Solutions segment, which accounted for approximately 99% of our consolidated revenues.
                                Distribution Solutions
       20
                                North America pharmaceutical distribution and services revenues for the first quarter of 2017 increased
                      primarily due to market growth, increased sales associated with our acquisitions of Vantage and Biologics and
       21             expanded business with existing customers. These increases were partially offset by customer losses.
                                                                     *         *          *
       22
                                 Gross profit for the first quarter of 2017 increased 2% compared to the same period a year ago due to
       23             growth in both of our operating segments: Distribution Solutions and Technology Solutions. Gross profit margin
                      for the first quarter of 2017 decreased primarily due to a decline within our Distribution Solutions segment.
       24                       Distribution Solutions
                                 Distribution Solutions segment’s gross profit for the first quarter of 2017 increased compared to the same
       25             period a year ago primarily due to increased sales volume within our North America business, benefits from our
                      global procurement arrangements, our recent acquisitions and lower LIFO expenses, as further discussed below.
       26             Additionally, gross profit for the first quarters of 2017 and 2016 included $142 million and $59 million of cash
                      receipts representing our share of antitrust legal settlements, which were recorded as a reduction to cost of sales.
       27                                                            *         *          *
                                Segment Operating Profit
       28

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            1                   Distribution Solutions: Operating profit increased for the segment in 2017 compared to the same period a
                      year ago. Operating profit margin for the first quarter of 2017 decreased primarily due to lower gross profit margin.
            2
                       181.      On October 27, 2016, McKesson reported its 2Q17 financial results in its 2Q17 Form
            3
                8-K, signed by Beer, and 2Q17 Form 10-Q, signed and certified by Hammergren and Beer:
            4
                                                               Quarter Ended September 30,            Six Months Ended September 30,
            5         (Dollars in millions)                      2016              2015                   2016             2015
                      Total Revenues                            $49,957          $48,761                $99,690          $96,307
            6           Distribution Solutions
                                                                $49,277              $48,040             $98,286             $94,850
                        Revenues
                           North America
            7              pharmaceutical distribution          $41,375              $40,603             $82,586             $80,135
                           and services
            8
                      Gross Profit                               $2,756              $2,844              $5,663               $5,692
            9           Distribution Solutions                   $2,396              $2,458              $4,909               $4,951

                      Operating Profit                             $677               $1,072             $1,773           $2,140
       10               Distribution Solutions                     $851                $926              $1,779           $1,836
                      Distribution Solutions Profit
                                                                  1.73%               1.93%              1.81%            1.94%
       11             Margin
                                 Revenues for the second quarter and first six months of 2017 increased 2% and 4% compared to the same
       12             periods a year ago primarily due to our Distribution Solutions segment, which accounted for approximately 99% of
                      our consolidated revenues.
       13                       Distribution Solutions
                               North America pharmaceutical distribution and services revenues for the second quarter and first six
       14             months of 2017 increased primarily due to market growth, increased sales associated with our acquisitions including
                      Vantage and Biologics and expanded business with existing customers. These increases were partially offset by
       15             customer losses.
                                                                     *         *          *
       16                     Gross profit and gross profit margin for the second quarter and first six months of 2017 decreased
                      compared to the same periods a year ago primarily due to a decline in our Distribution Solutions segment.
       17
                                Distribution Solutions
       18                       Distribution Solutions segment’s gross profit and gross profit margin for the second quarter and first six
                      months of 2017 decreased compared to the same periods a year ago due to weaker pharmaceutical pricing trends,
                      the competitive pricing environment and lower compensation from a branded pharmaceutical manufacturer from
       19             our U.S. Pharmaceutical distribution business. These decreases were partially offset by our acquisitions, benefits
                      from our global procurement arrangements and lower LIFO inventory charges. Gross profit for 2017 also reflects
       20             the impact of previously announced customer consolidation activity. Additionally, gross profit for the first six
                      months of 2017 and 2016 included $142 million and $59 million of cash receipts for our share of antitrust legal
       21             settlements. For the second quarters of 2017 and 2016, LIFO inventory adjustments were a credit of $43 million
                      and an expense of $91 million, and for the first six months of 2017 and 2016, expenses of $4 million and
                      $182 million.
       22
                                                                     *         *          *
       23                       Segment Operating Profit
                                 Distribution Solutions: Operating profit and operating profit margin decreased for the second quarter and
       24             first six months of 2017 compared to the same periods a year ago primarily due to lower gross profit. Operating
                      profit for the first six months of 2017 reflected higher cash receipts representing our share of antitrust legal
       25             settlements. Operating expenses for the second quarter and first six months of 2016 included a $52 million pre-tax
                      gain from the sale of our ZEE Medical business.
       26
                       182.      The financial results and the reasons given for the results in ¶¶168-181 were
       27
                materially false and misleading when made because McKesson’s financial results were materially
       28

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            1 impacted by unsustainable generic drug price hikes, including price increases driven by collusive

            2 activities. In addition, Defendants’ statements above concerning guidance were materially false and

            3 misleading when made because the guidance was unrealistic, lacked reasonable basis, and failed to

            4 account for the unsustainability of McKesson’s growth.

            5 V.       ADDITIONAL EVIDENCE OF SCIENTER
            6          A.      Defendants Signed Sarbanes-Oxley Certifications Attesting that They
                               Personally Supervised McKesson’s Controls and Procedures
            7
                       183.    Throughout the Class Period, Defendants Hammergren and Beer repeatedly certified
            8
                that they personally supervised and participated in the evaluation of McKesson’s financial controls
            9
                and procedures, and that the Company’s financial disclosures fairly and accurately presented its
       10
                financial condition. Further, McKesson’s many misleading Form 10-Q and 10-K reports were
       11
                always accompanied by earnings calls during which all of the Individual Defendants described the
       12
                favorable, but inaccurate, financial results (several examples of such calls are set forth above).
       13
                       B.      Defendants’ Compensation Structure Incentivized Fraud
       14
                       184.    During the Class Period, the Individual Defendants profited handsomely from the
       15
                scheme to inflate generic drug prices at the expense of McKesson’s investors, customers and
       16
                consumers. At the core of McKesson’s compensation structure was a McKesson-created metric, the
       17
                adjusted earnings per share (“Adjusted EPS”), that incentivized the scheme.
       18
                       185.    A significant portion of Hammergren’s and Beer’s stock and cash awards was based
       19
                on the Adjusted EPS – a measure that enabled Hammergren’s and Beer’s compensation to benefit
       20
                from fraudulent activities and be protected from the resulting negative earnings impact. The
       21
                Adjusted EPS was put into place in 2012 and allowed the Board to make upward adjustments to the
       22
                conventional accounting measure EPS. The Adjusted EPS artificially inflated the EPS by adding
       23
                back to earnings the amounts set aside for items such as litigation reserves. Reversing out from
       24
                earnings the negative impact of expenses and settlements relating to investigations or litigations
       25
                allowed Hammergren and Beer to implement the scheme to boost profits without the need to worry
       26
                about the potential litigation-related negative impact to earnings.
       27

       28

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            1         186.    After instituting the Adjusted EPS measure, the Board revised the cash awards metric

            2 under the Long Term Incentive Plan from cumulative EPS to a 3-year compound annual growth rate

            3 of the Adjusted EPS. The revised metric took effect in FY14 – from April 1, 2013 to March 31,

            4 2014.

            5         187.    McKesson’s Adjusted EPS metric affected both stock and cash awards. The Adjusted

            6 EPS determined 75% of the stock awards payout, and the Adjusted EPS 3-year growth rate

            7 determined 75% of the cash awards payout.

            8         188.    In order to maximize their benefits under the Adjusted EPS and the Adjusted EPS 3-

            9 year growth rate metric that took effect for FY14, Defendants needed a quick and dramatic earnings

       10 spike to boost McKesson’s earnings. Because McKesson’s earnings growth rate was a lackluster 3%

       11 prior to the Class Period, in order to offset the pre-Class Period earnings drag, Defendants took

       12 advantage of massive generic drug price increases resulting from collusive activities to achieve a

       13 “significant pivot” to profitability in FY14. Massive price hikes had the most immediate and

       14 significant effects on profitability. And Defendants benefited from years of the earnings growth with

       15 an ever-increasing number of collusive and price-hiked drugs during the Class Period.

       16             189.    By achieving immediate and outsized profitability, Hammergren and Beer also

       17 benefited from high multipliers applied to their target stock and cash awards. During the Class

       18 Period, McKesson’s senior executives, including Defendants, received as much as 216% of their

       19 target stock awards and 200% of their target cash awards as a result of the fraud:

       20                    Fiscal Year    Stock Award Multiplier        Cash Award Multiplier
       21                        2014              158%-216%                        200%
       22                        2015              140%-210%                        200%
       23                        2016              134%-168%                        200%
       24                        2017              108%-135%                        120%
       25

       26             190.    As a result of the generic drug price inflation scheme, Defendants reaped rewards that
       27 were multiples of their base compensation. During the Class Period, Hammergren made $64.8

       28

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            1 million from cash and stock awards, amounting to 9.6 times his base salary. Similarly, Beer made

            2 $18.3 million from cash and stock awards, 6.5 times his base salary.

            3            191.    Indeed, Hammergren was consistently one of the highest paid executives in the

            4 United States and the world. As detailed in the Company’s annual proxies, McKesson paid

            5 Hammergren in excess of $93.6 million from FY14 through FY17:

            6                                                Options                       All Other
                                  Salary     Stock Award                  Cash Awards                       Total
                                                             Awards                      Compensation
            7
                FY 2014         $1,680,000    $7,732,173     $4,401,579    $10,843,200     $375,823       $25,032,775
            8 FY 2015           $1,680,000    $7,316,951     $5,057,353    $10,422,000     $368,251       $24,844,555
                FY 2016         $1,680,000    $7,317,049     $5,057,023     $9,233,600     $361,966       $23,649,638
            9
                FY 2017         $1,680,000    $5,896,178     $5,896,024     $6,036,000     $588,397       $20,096,599
       10          Total:       $6,720,000   $28,262,351    $20,411,979   $36,534,800     $1,694,437      $93,623,567

       11                192.    Beer reaped over $27.7 million from FY14 through FY17:
       12
                                                              Options                      All Other
                                   Salary    Stock Award                  Cash Awards                        Total
       13                                                     Awards                     Compensation
                 FY 2014         $382,051     $7,770,1209    $1,270,015      $605,169      $1,602,50810    $11,629,863
       14        FY 2015         $800,000     $1,587,902     $1,096,968     $1,344,000        $11,123       $4,839,993
       15        FY 2016         $813,333     $1,659,003     $1,162,005     $2,454,213        $41,176       $6,129,730
                 FY 2017         $840,167     $1,328,150     $1,328,022     $1,554,195        $85,096       $5,135,630
       16
                      Total:    $2,835,551    $12,345,175    $4,857,010     $5,957,577     $1,739,903      $27,735,216
       17
                VI.      LOSS CAUSATION
       18
                         193.    The market for McKesson’s common stock was open, well-developed and efficient at
       19
                all relevant times. Throughout the Class Period, McKesson’s common stock traded at artificially
       20
                inflated prices as a direct result of Defendants’ materially misleading statements and omissions of
       21
                material fact, which were widely disseminated to the securities market, investment analysts, and the
       22
                investing public. Plaintiff and other members of the Class purchased or otherwise acquired
       23
                McKesson common stock relying upon the integrity of the market price for McKesson’s common
       24
                stock and market information relating to McKesson, and have been damaged thereby.
       25

       26
          9
              Beer’s 2014 stock awards included a $5.5 million restricted stock units and $1 million special
       27 restricted units granted at the inception of his employment at McKesson.
          10
       28     Beer’s other compensation included a $1,593,500 signing bonus.

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            1          194.   When the relevant truth became known and/or the materialization of the risk that had

            2 been concealed by Defendants occurred, the price of McKesson’s common stock declined

            3 immediately and precipitously as the artificial inflation was removed from the market price of the

            4 stock, causing substantial damage to Plaintiff and the Class.

            5          195.   As detailed herein, during the Class Period, Defendants made false and misleading

            6 statements and engaged in a scheme that artificially inflated McKesson’s price. Defendants:

            7 (1) falsely attributed generic drug price inflation – a significant driver of McKesson profitability

            8 growth – to nonexistent supply disruptions; (2) falsely represented that McKesson was negotiating

            9 competitive prices for its customers, particularly the independent pharmacies; (3) concealed that the

       10 Company’s generic manufacturing subsidiary, NorthStar, was part of an overarching generic

       11 pharmaceutical price-fixing conspiracy that is the focus of investigations by Congress, the DOJ, and

       12 several state Attorneys General; and (4) failed to disclose that the Company’s Class Period financial

       13 results were positively impacted by, and heavily reliant upon, collusive profits. As a result of

       14 Defendants’ false and misleading statements and omissions, McKesson’s stock traded at artificially

       15 inflated prices throughout the Class Period. McKesson’s extraction of outsized profits from ever-

       16 increasing generic drug prices was not sustainable due to increasing political pressure and scrutiny

       17 from government authorities and market participants (which constrained manufacturers’ ability to

       18 increase list prices). Eventually, these pressures caused generic drug prices to stagnate and decline.

       19 The government investigations resulted in lawsuits by the state AGs and McKesson’s customers. In

       20 addition, as McKesson’s customers realized that sky-high generic drug prices were due to artificial

       21 forces rather than the natural forces (i.e., supply disruptions) McKesson had attributed them to, they

       22 demanded significant price concessions. As this information and its impact on McKesson’s financial

       23 results entered the market through a series of partial disclosures, the price of McKesson stock

       24 significantly dropped, as the artificial inflation came out of the price over time. As a result of their

       25 purchases of McKesson stock during the Class Period, Plaintiff and other members of the Class

       26 suffered economic loss, i.e., damages, under the federal securities laws.

       27              196.   The increased governmental actions caused the collusive behavior to abate and the

       28 impact began to hit McKesson’s financial results. On January 11, 2016, McKesson announced

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            1 weaker than expected generic drug pricing trends for 3Q16 and 4Q16, and for FY17, estimating an

            2 $0.85 per diluted share year-over-year impact, with Defendants stating that “the majority of that

            3 $0.85 is being driven by generic price increase changes.” Instead of high single-digit generic drug

            4 price inflation, McKesson expected “nominal” inflation for FY17. Hammergren explained that the

            5 revised “nominal” inflation expectation was driven by “a subset of generic drug manufacturers

            6 making “a decision, for whatever reason, not to have as much price change in their portfolio as they

            7 did in first half of this year and obviously in FY15.” On this news, McKesson’s stock price declined

            8 from $182.39 per share to $163.55 per share, or 10.33%, on huge volume of 9 million shares traded.

            9 The S&P 500 Healthcare Index (identified as one of McKesson’s market/industry indices in the

       10 Company’s Form 10-K) increased 0.09%. However, Defendants continued their scheme and limited

       11 McKesson’s stock price decline by falsely stating that the Company had “limited risk” and

       12 “derisked” the FY17 estimates even with nominal inflation. McKesson’s stock price remained

       13 inflated because Defendants continued to conceal the full impact of their fraudulent scheme from

       14 investors.

       15              197.   On October 27, 2016, after the market closed, McKesson announced in its 2Q17

       16 Form 8-K that the “[s]econd-quarter results were impacted by a softer pricing environment in our

       17 U.S. Pharmaceutical business within Distribution Solutions,” with “gross profit and gross profit

       18 margin for the second quarter and first six months of 2017 decreased compared to the same periods a

       19 year ago due to weaker pharmaceutical pricing trends” and competitive pricing environment from

       20 the U.S. distribution business. The Form 8-K further stated that “[t]he company is updating its

       21 outlook from the previous range of $13.42 to $13.93 per diluted share to a new range of $12.35 to

       22 $12.85 per diluted share for the fiscal year ending March 31, 2017.” During the earnings call that

       23 evening, Beer elaborated that the Company-wide adjusted gross profit for the second quarter was

       24 down 6% driven in part by “expected weaker profit contribution from generic inflation trends” and

       25 “increased competitive customer pricing activity.” Beer stated that competitive pricing had a large

       26 negative impact on the $1.60 to $1.90 per diluted share reduction to EPS in FY17. In response to an

       27 analyst’s question regarding in “which market sub-segments are you seeing the pricing pressure the

       28

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            1 most,” Hammergren stated “the most acute area right now is in our independent segment.” The

            2 collapse of the collusive behavior had a direct impact on McKesson’s earnings.

            3         198.    On the next day, the stock closed at $124.11 per share, down 22.7% from the prior

            4 day’s close, with trading volume at 17 times that week’s average trading volume. The S&P 500 was

            5 nearly flat that day, down 0.3% from prior day’s close, and the S&P 500 Healthcare Index declined

            6 only 2.18%. McKesson’s stock price remained inflated, however, because Defendants continued to

            7 conceal the full impact of their fraudulent scheme from investors.

            8         199.    Less than a week later, on November 3, 2016, news articles came out announcing

            9 U.S. prosecutors’ upcoming charges in the generic drug price-fixing probe and widespread scrutiny

       10 on aggressive generics drug pricing. Bloomberg announced that U.S. prosecutors planned to file

       11 charges in a generic drug price-fixing probe by the end of the year. The article pointed out that the

       12 investigation was viewed as similar to the DOJ’s long-running probe into auto-parts cartels, where

       13 charges were eventually brought against 46 companies and 65 individuals. Reuters reported that

       14 McKesson was affected by the intense scrutiny on aggressive price hikes by generics manufacturers

       15 and that its profit margins had benefited from the inflated generics pricing and suffered from the

       16 subsequent pricing erosion when drug makers “reined in price hikes this year.” News of the

       17 upcoming charges and sweeping investigations caused McKesson’s stock price to decline from a

       18 close of $135.83 per share on November 2, 2016 to a close of $129.59 per share on November 3,

       19 2016, a decline of 4.59%. The S&P 500 was nearly flat that day, with a decline of 0.4%, while the

       20 S&P 500 Healthcare Index declined only 1.03%. McKesson’s stock price remained inflated,

       21 however, because Defendants continued to conceal the full impact of their fraudulent scheme from

       22 investors.

       23             200.    On January 25, 2017, after the market closed, Beer announced during McKesson’s

       24 3Q17 earnings call that “Distribution Solutions’ adjusted gross profit, excluding unusual items, was

       25 down 8% on a constant currency basis for the quarter,” driven in part by “expected weaker profit

       26 contribution from generic manufacturer inflation trends” and “increased competitive customer

       27 pricing activity we discussed last quarter.” Hammergren further revealed that “prices were

       28

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            1 ultimately set at a lower level than our initial expectations that were included in our previous

            2 guidance” in order to “retained our independent stores.”

            3          201.   Analysts reacted with disbelief, with UBS stating in its January 26, 2017 report that

            4 “McKesson’s quarter was not quite as positive as the initial headlines read, with continued pricing

            5 pressures . . . the key question remains the pacing of operating profit growth over the next 12-18

            6 months, particularly with elevated focus on drug price changes (both branded/generic).” Similarly,

            7 on the same day, Deutsche Bank noted that McKesson’s results were “disappointing once dissected,”

            8 with the earnings beat “driven entirely by a lower tax rate and a lower share count.” Further, the

            9 analyst emphasized that “[s]ell side pricing on generics was detailed to be worse than previously

       10 communicated, draining a profit pool for wholesalers that is unlikely to be refilled.”

       11              202.   McKesson’s stock price dropped 8.3% on January 26, 2017 to $138.55 per share from

       12 a closing price of $151.10 per share on January 25, 2017. The S&P 500 was flat that day, declining

       13 0.1%, while the S&P 500 Healthcare Index declined only 0.71%.

       14              203.   Each disclosure of adverse facts that removed inflation from McKesson’s stock price

       15 was connected to Defendants’ material false statements and omissions and the fraudulent conduct

       16 alleged herein. The timing and magnitude of McKesson’s price declines negate any inference that

       17 the loss suffered by Plaintiff and other Class members was caused by changed market conditions,

       18 macroeconomic or industry factors, or Company-specific facts unrelated to Defendants’ fraudulent

       19 conduct. As a direct result of Defendants’ wrongful acts and omissions, and the precipitous decline

       20 in the market value of McKesson, Plaintiff and the Class have suffered significant losses and

       21 damages.

       22 VII.         NO SAFE HARBOR
       23              204.   McKesson’s verbal “Safe Harbor” warnings accompanying its oral forward-looking

       24 statements (“FLS”) issued during the Class Period were ineffective to shield those statements from

       25 liability.

       26              205.   The Defendants are also liable for any false or misleading FLS pleaded because, at

       27 the time each FLS was made, the speaker knew the FLS was false or misleading and the FLS was

       28 authorized and/or approved by an executive officer of McKesson who knew that the FLS was false.

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            1 VIII. APPLICABILITY OF THE PRESUMPTION OF RELIANCE:
                     FRAUD ON THE MARKET
            2
                     206. Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-
            3
              on-the-market doctrine in that:
            4
                           Defendants made public misrepresentations or failed to disclose material facts during
            5               the Class Period;

            6                 the omissions and misrepresentations were material;
            7                 McKesson’s stock traded in an efficient market, was liquid and traded with moderate
                               to heavy volume during the Class Period;
            8
                              the Company’s stock was traded on the NYSE and was covered by multiple analysts;
            9
                              the misrepresentations and omissions alleged would tend to induce a reasonable
       10                      investor to misjudge the value of the Company’s stock; and
       11                     Plaintiff and members of the Class purchased, acquired and/or sold McKesson stock
                               between the time the Defendants failed to disclose or misrepresented material facts
       12                      and the time the true facts were disclosed, without knowledge of the omitted or
                               misrepresented facts.
       13
                       207.    Based upon the foregoing, Plaintiff and the members of the Class are entitled to a
       14
                presumption of reliance upon the integrity of the market.
       15
                       208.    Alternatively, Plaintiff and the members of the Class are entitled to the presumption
       16
                of reliance established by the Supreme Court in Affiliated Ute Citizens v. United States, 406 U.S. 128
       17
                (1972), as Defendants omitted material information in their Class Period statements in violation of a
       18
                duty to disclose such information, as detailed above.
       19
                IX.    PLAINTIFF’S CLASS ACTION ALLEGATIONS
       20
                       209.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil
       21
                Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise
       22
                acquired McKesson stock during the Class Period (the “Class”) and were damaged upon the
       23
                revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein and
       24
                their immediate families, the officers and directors of the Company, at all relevant times, and
       25
                members of their immediate families, and their legal representatives, heirs, successors or assigns and
       26
                any entity in which Defendants have or had a controlling interest.
       27

       28

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            1          210.   The members of the Class are so numerous that joinder of all members is

            2 impracticable. Throughout the Class Period, McKesson’s stock was actively traded on the NYSE in

            3 an efficient market. While the exact number of Class members is unknown to Plaintiff at this time

            4 and can be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds

            5 or thousands of members in the proposed Class. Record owners and other members of the Class

            6 may be identified from records maintained by McKesson or its transfer agent and may be notified of

            7 the pendency of this action by mail, using the form of notice similar to that customarily used in

            8 securities class actions.

            9          211.   Plaintiff’s claims are typical of the claims of the members of the Class as all members

       10 of the Class are similarly affected by Defendants’ wrongful conduct in violation of federal law that

       11 is complained of herein.

       12              212.   Plaintiff will fairly and adequately protect the interests of the members of the Class

       13 and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

       14 no interests antagonistic to or in conflict with those of the Class.

       15              213.   Common questions of law and fact exist as to all members of the Class and

       16 predominate over any questions solely affecting individual members of the Class. Among the

       17 questions of law and fact common to the Class are:

       18                    whether the federal securities laws were violated by Defendants’ acts as alleged
                              herein;
       19
                             whether statements made by Defendants to the investing public during the Class
       20                     Period misrepresented material facts about the business, operations and management
                              of McKesson;
       21
                             whether the Individual Defendants caused McKesson to issue false and misleading
       22                     financial statements during the Class Period;

       23                    whether Defendants acted knowingly or recklessly in issuing false and misleading
                              financial statements;
       24
                             whether the price of McKesson stock during the Class Period was artificially inflated
       25                     because of Defendants’ conduct complained of herein; and

       26                    whether the members of the Class have sustained damages and, if so, what is the
                              proper measure of damages.
       27

       28

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            1          214.     A class action is superior to all other available methods for the fair and efficient

            2 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

            3 damages suffered by individual Class members may be relatively small, the expense and burden of

            4 individual litigation make it impossible for members of the Class to individually redress the wrongs

            5 done to them. There will be no difficulty in the management of this action as a class action.

            6                                                 COUNT I
            7                          For Violation of Section 10(b) of the Exchange Act
                                            and Rule 10b-5 Against All Defendants
            8
                       215.     Plaintiff repeats and realleges each and every allegation contained above as if fully set
            9
                forth herein.
       10
                       216.     This Count is asserted against all Defendants and is based upon §10(b) of the
       11
                Exchange Act, 15 U.S.C. §78j(b), and Rule 10b-5 promulgated thereunder by the SEC.
       12
                       217.     During the Class Period, defendants engaged in a plan, scheme, conspiracy and
       13
                course of conduct, pursuant to that they knowingly or recklessly engaged in acts, transactions,
       14
                practices and courses of business which operated as a fraud and deceit upon plaintiff and the other
       15
                members of the Class; made various untrue statements of material fact and omitted to state material
       16
                facts necessary in order to make the statements made, in light of the circumstances under which they
       17
                were made, not misleading; and employed devices, schemes and artifices to defraud in connection
       18
                with the purchase and sale of securities. Such scheme was intended to, and, throughout the Class
       19
                Period, did: (i) deceive the investing public, including Plaintiff and other Class members as alleged
       20
                herein; (ii) artificially inflate and maintain the market price of McKesson stock; and (iii) cause
       21
                Plaintiff and other members of the Class to purchase or otherwise acquire McKesson stock at
       22
                artificially inflated prices. In furtherance of this unlawful scheme, plan and course of conduct,
       23
                Defendants, and each of them, took the actions set forth herein.
       24
                       218.     Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the
       25
                Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly and
       26
                annual reports, SEC filings, press releases and other statements and documents described above,
       27
                including statements made to securities analysts and the media that were designed to influence the
       28

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            1 market for McKesson stock. Such reports, filings, releases and statements were materially false and

            2 misleading in that they failed to disclose material adverse information and misrepresented the truth

            3 about McKesson’s business practices.

            4          219.    By virtue of their positions at McKesson, Defendants had actual knowledge of the

            5 materially false and misleading statements and material omissions alleged herein and intended

            6 thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

            7 acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose such

            8 facts as would reveal the materially false and misleading nature of the statements made, although

            9 such facts were readily available to Defendants. Said acts and omissions of Defendants were

       10 committed willfully or with reckless disregard for the truth. In addition, each of the Defendants

       11 knew or recklessly disregarded that material facts were being misrepresented or omitted as described

       12 above.

       13              220.    Information showing that Defendants acted knowingly or with reckless disregard for

       14 the truth is peculiarly within Defendants’ knowledge and control. As the senior managers and/or

       15 directors of McKesson, the Individual Defendants had knowledge of the details of McKesson’s

       16 internal affairs.

       17              221.    The Individual Defendants are liable both directly and indirectly for the wrongs

       18 complained of herein. Because of their positions of control and authority, the Individual Defendants

       19 were able to and did, directly or indirectly, control the content of the statements of McKesson. As

       20 officers and/or directors of a publicly held company, the Individual Defendants had a duty to

       21 disseminate timely, accurate, and truthful information with respect to McKesson’s business

       22 practices. As a result of the dissemination of the aforementioned false and misleading reports,

       23 releases and public statements, the market price of McKesson stock was artificially inflated

       24 throughout the Class Period. In ignorance of the adverse facts concerning McKesson’s business and

       25 financial condition that were concealed by Defendants, Plaintiff and the other members of the Class

       26 purchased or otherwise acquired McKesson stock at artificially inflated prices and relied upon the

       27 price of the stock, the integrity of the market for the stock and/or upon statements disseminated by

       28 Defendants, and were damaged thereby.

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            1          222.     During the Class Period, McKesson stock traded on an active and efficient market.

            2 Plaintiff and the other members of the Class, relying on the materially false and misleading

            3 statements described herein, which the Defendants made, issued or caused to be disseminated, or

            4 relying upon the integrity of the market, purchased or otherwise acquired shares of McKesson stock

            5 at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the other members

            6 of the Class known the truth, they would not have purchased or otherwise acquired said securities, or

            7 would not have purchased or otherwise acquired them at the inflated prices that were paid. At the

            8 time of the purchases and/or acquisitions by Plaintiff and the Class, the true value of McKesson

            9 stock was substantially lower than the prices paid by Plaintiff and the other members of the Class.

       10 The market price of McKesson stock declined sharply upon public disclosure of the facts alleged

       11 herein to the injury of Plaintiff and the other Class members.

       12              223.     By reason of the conduct alleged herein, Defendants knowingly or recklessly, directly

       13 or indirectly, violated §10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

       14              224.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

       15 other members of the Class suffered damages in connection with their respective purchases,

       16 acquisitions and sales of the Company’s stock during the Class Period, upon the disclosure of the

       17 facts alleged herein.

       18                                                     COUNT II
       19                              For Violation of Section 20(a) of the Exchange Act
                                                    Against All Defendants
       20
                       225.     Plaintiff repeats and realleges each and every allegation contained above as if fully set
       21
                forth herein.
       22
                       226.     During the Class Period, the Individual Defendants participated in the operation and
       23
                management of McKesson, and conducted and participated, directly and indirectly, in the conduct of
       24
                McKesson’s business affairs. Because of their senior positions, they knew the adverse non-public
       25
                information about McKesson’s business practices.
       26
                       227.     As officers and/or directors of a publicly owned company, the Individual Defendants
       27
                had a duty to disseminate accurate and truthful information with respect to McKesson’s financial
       28

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            1 condition and results of operations, and to correct promptly any public statements issued by

            2 McKesson which had become materially false or misleading.

            3          228.    Because of their positions of control and authority as senior officers, the Individual

            4 Defendants were able to, and did, control the contents of the various reports, press releases and

            5 public filings that McKesson disseminated in the marketplace during the Class Period concerning

            6 McKesson’s results and operations. Throughout the Class Period, the Individual Defendants

            7 exercised their power and authority to cause McKesson to engage in the wrongful acts complained of

            8 herein. McKesson, in turn, controlled the Individual Defendants and all of its employees.

            9 Defendants, therefore, were “controlling persons” within the meaning of §20(a) of the Exchange

       10 Act. In this capacity, they participated in the unlawful conduct alleged that artificially inflated the

       11 market price of McKesson stock.

       12              229.    By reason of the above conduct, the Defendants are liable pursuant to §20(a) of the

       13 Exchange Act.

       14                                                    COUNT III
       15                              For Violation of Section 20A of the Exchange Act
                                               Against Defendant Hammergren
       16
                       230.    Plaintiff repeats and realleges each and every allegation set forth above as if fully set
       17
                forth herein. Count III is brought pursuant to §20A of the Exchange Act against Hammergren, on
       18
                behalf of Plaintiff and members of the Class who were damaged by Hammergren’s insider trading.
       19
                       231.    As detailed herein, Hammergren was in possession of material non-public
       20
                information concerning McKesson. Hammergren took advantage of his possession of material non-
       21
                public information regarding McKesson to obtain millions of dollars in insider trading profits during
       22
                the Class Period.
       23
                       232.    Defendants Hammergren’s sales of McKesson common stock (set forth below and in
       24
                Appendix 2 hereto) were made contemporaneously with Plaintiff’s purchases of McKesson common
       25
                stock (set forth below and in Plaintiff’s certification (ECF No. 30-2)) during the Class Period.
       26
                       233.    For example, Hammergren sold the following shares of McKesson common stock for
       27
                total proceeds in excess of $38.8 million:
       28

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            1                     Date of Sale            Amount              Price
                                   11/20/15                11,346            $190.00
            2                      12/01/15               101,833            $190.06
            3                      05/10/16               101,833            $170.71

            4         234.   During the Class Period, Plaintiff purchased the following shares of McKesson

            5 common stock contemporaneously with Hammergren’s stock sales listed above:

            6                   Date of Purchase           Amount             Price
                                    11/20/15                2,820            $188.88
            7                       12/10/15                2,806            $188.91
            8                       05/16/16                  374            $172.42

            9         235.   Plaintiff and members of the Class who purchased shares of McKesson common

       10 stock contemporaneously with sales by Hammergren suffered damages because: (1) in reliance on

       11 the integrity of the market, they paid artificially inflated prices as a result of the violations of §§10(b)

       12 and 20(a) of the Exchange Act as alleged herein; and (2) they would not have purchased the

       13 securities at the prices they paid, or at all, if they had been aware that the market prices had been

       14 artificially inflated by the false and misleading statements and concealment alleged herein.

       15 X.          PRAYER FOR RELIEF

       16             WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       17             A.     Determining that the instant action may be maintained as a class action under Rule 23

       18 of the Federal Rules of Civil Procedure and certifying Plaintiff as the Class representative;

       19             B.     Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

       20 of the acts and transactions alleged herein;

       21             C.     Awarding Plaintiff and the other members of the Class prejudgment and post

       22 judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       23             D.     Awarding such other and further relief as this Court may deem just and proper.

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            1 XI.     DEMAND FOR TRIAL BY JURY
            2         Plaintiff hereby demands a trial by jury.

            3 DATED: April 9, 2019                            ROBBINS GELLER RUDMAN
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                                                              ROBBINS GELLER RUDMAN
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            9                                                 LUKE O. BROOKS
                                                              RYAN A. LLORENS
       10                                                     ANGEL P. LAU
                                                              JEFFREY J. STEIN
       11                                                     ERIKA OLIVER

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       13                                                                    s/ Luke O. Brooks
                                                                            LUKE O. BROOKS
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       17                                                     Lead Counsel for Lead Plaintiff

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            1                                      APPENDIX 1
            2
          1           Acetazolamide Tablets               43    Glyburide Tablets
        3 2           Acyclovir Oral Suspension           44    Hydroxychloro Sulfate Tablets
          3           Albuterol Sulfate Syrup             45    Ketoconazole Cream
        4 4           Allopurinol Tablets                 46    Ketoconazole Tablets
          5           Amitriptyline HCL Tablets           47    Ketoprofen Capsule
        5 6           Baclofen Tablets                    48    Ketorolac Tromethamine Tablet
          7           Benazepril Hydrochloro Tablets      49    Leflunomide Tablets
        6 8           Bumetanide Tablet                   50    Lidocaine Ointment
          9           Carbamazepine Chewable Tablets      51    Memprobamate Tablets
        7 10          Carbamazepine Tablets               52    Meperidine HCL Tablet
          11          Cefaclor SR Tablet                  53    Methadone HCL Oral Suspension
        8 12          Cephalexin Oral Suspension          54    Mexiletine Capsule
          13          Chlordiazepoxide-Clidinium Caps     55    Nadolol Tablet
        9 14          Chlorothiazide Tablet               56    Naproxen Sodium Tablets
          15          Ciprofloxacin HCL Tablet            57    Nefazodone Tablet
       10 16          Clobetasol External Cream           58    Nimodipine Capsules
          17          Clobetasol Ointment                 59    Nortriptyline HCL Capsule
       11 18          Clobetasol Prop Emol Cream          60    Nystatin Tablets
          19          Clobetasol Solution                 61    Omeprazole-Bicarb Capsules
       12 20          Clobetasol Topical Gel              62    Oxybutynin Chloride Tablet
          21          Clotrimazole Topical Solution       63    Paromomycin Capsules
       13 22          Cromolyn Sodium Inhalant Neb Sn     64    Penicillin V Potass Tablet
          23          Cyproheptadine HCL Tablet           65    Penicillin V Pottass Oral Sol
       14 24          Danazol Capsule                     66    Phenobarbital Tablets
          25          Dicloxacillin Capsule               67    Pravastatin Sodium Tablets
       15 26          Digoxin Tablets                     68    Prazosin Capsule
          27          Diltiazem HCL Tablet                69    Propranolol HCL SR Capsules
       16 28          Doxycycline Hyclate DR Tablet       70    Propranolol Hcl Tablets
          29          Doxycycline Monohydrate Tablet      71    Silver Nitrate Topical Solution
       17 30          Enalapril Tablets                   72    Sulfamethoxazole-TMP Suspension
          31          Estradiol Tablets                   73    SulfamethoxazoleTri Tablet
       18 32          Fluocinonide External Cream         74    SulfamethoxazoleTri Vials Inj
          33          Fluocinonide External Gel           75    Tetracycline HCL Capsule
       19 34          Fluocinonide External Ointment      76    Theophylline SR Tablets 300mg
          35          Fluoxetine HCL Oral Solution        77    Theophylline SR Tablets 450mg
       20 36          Flutamide Capsule                   78    Thiothixene Capsule
          37          Fosinopril Tablet                   79    Trazodone Tablet
       21 38          Gentamicin Eye Drops                80    Tretinoin External Cream
          39          Glimepiride Tablet                  81    Ursodiol Capsules
       22 40          Glipizide-Metformin Tablets         82    Verap SR Tablets
          41          Glyburide Metformin HCL Tablets     83    Verapamil SR Capsules
       23 42          Glyburide Micronized Tablet         84    Zoledronic Acid IV
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            1                                      APPENDIX 2
            2            John Hammergren’s Sales of McKesson Stock During the Class Period
            3                     Transaction              Shares
                                      Date       Price      Sold      Proceeds
            4                      5/27/2014    183.33     62,798     $11,512,757
            5                      5/28/2014    183.30     62,798     $11,510,873
                                   10/6/2014    197.36     95,800     $18,907,088
            6                      10/7/2014    195.50      4,200        $821,100
            7                     11/24/2014    209.00     10,000      $2,090,000
                                  11/24/2014    209.28     90,000     $18,835,200
            8                      12/8/2014    214.00     10,000      $2,140,000
            9                      12/8/2014    214.05      2,200        $470,910
                                  12/19/2014    214.00     10,000      $2,140,000
       10                         12/19/2014    214.05       700         $149,835
       11                           1/7/2015    214.00     77,100     $16,499,400
                                   1/22/2015    219.00       157          $34,383
       12
                                   1/23/2015    219.00      9,843      $2,155,617
       13                          1/23/2015    219.18     13,094      $2,869,943
                                   1/26/2015    219.00     12,385      $2,712,315
       14                          1/27/2015    219.02      1,321        $289,325
                                   1/28/2015    219.53     63,200     $13,874,296
       15                          5/26/2015    238.97     30,062      $7,183,916
                                   5/27/2015    238.85     30,000      $7,165,500
       16                          5/28/2015    238.22     30,000      $7,146,600
                                  10/12/2015    190.51    101,835     $19,400,586
       17                         11/20/2015    190.00     11,346      $2,155,740
       18                         11/23/2015    190.00     21,089      $4,006,910
                                  11/24/2015    190.01     24,098      $4,578,861
       19                          12/1/2015    190.06    101,833     $19,354,380
                                    1/4/2016    194.11    101,833     $19,766,804
       20                           4/4/2016    159.00     45,300      $7,202,700
                                   4/25/2016    176.81    101,833     $18,005,093
       21                          5/10/2016    170.71    101,833     $17,383,911
                                   5/23/2016    179.33     18,718      $3,356,699
       22                          5/24/2016    182.06     18,709      $3,406,161
                                   5/25/2016    183.67     18,711      $3,436,649
       23
                                    9/6/2016    184.22    100,500     $18,514,110
       24                          9/12/2016    180.77    100,500     $18,167,385
                                      Total                          $287,245,048
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            1                                    CERTIFICATE OF SERVICE

            2          I hereby certify under penalty of perjury that on April 9, 2019, I authorized the electronic

            3 filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

            4 notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List, and I

            5 hereby certify that I caused the mailing of the foregoing via the United States Postal Service to the

            6 non-CM/ECF participants indicated on the attached Manual Notice List.

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Mailing Information for a Case 3:18-cv-06525-CRB Evanston Police Pension Fund
v. McKesson Corporation et al
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